Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 1 of 94         PageID #: 6110



                        UNITED STATES DISTRICT COURT
                             DISTRICT OF MAINE


 FEDERAL ENERGY REGULATORY )
 COMMISSION,               )
                           )
          Petitioner,      )
                           )
     v.                    )                  1:16-cv-00205-JAW
                           )
 RICHARD SILKMAN, et al.,  )
                           )
          Respondents.     )


                 ORDER ON MOTIONS FOR SUMMARY JUDGMENT

        An energy consulting company and its employee and managing member

 challenge FERC’s assessment of civil penalties against them for violating FERC’s

 anti-manipulation rule, alleging that the action brought in this Court by FERC is

 time-barred under the general statute of limitations, 28 U.S.C. § 2462.       FERC

 maintains in a countervailing motion for summary judgment that its civil action was

 timely filed.

        First, the Court concludes that the Respondents did not waive their statute of

 limitations argument. Next, the Court concludes that FERC’s disgorgement order is

 not subject to a separate accrual date for purposes of the statute of limitations.

 Finally, the Court rejects the Respondents’ argument that Gabelli v. SEC, 568 U.S.

 442 (2013) and Kokesh v. SEC, 137 S. Ct. 1635 (2017) eclipsed United States v. Meyer,

 808 F.2d 912 (1st Cir. 1987). Based on Meyer, which the Court views as binding, the

 Court concludes that the FERC enforcement action is not time-barred.
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 2 of 94                        PageID #: 6111



 I.     BACKGROUND

        A.      Procedural History

                1.      Proceedings in the District of Massachusetts

        On December 2, 2013, the Federal Energy Regulatory Commission (FERC, the

 Commission) filed a petition in the District of Massachusetts for an order affirming

 its assessment orders.         Pet. for Order Affirming FERC’s Aug. 29, 2013 Orders

 Assessing Civil Penalties Against Richard Silkman and Competitive Energy Services,

 LLC (ECF No. 1) (FERC Pet.). On December 19, 2013, the Respondents filed a motion

 to dismiss, Resp’ts’ Mot. to Dismiss (ECF No. 8), and a motion to transfer to the

 District of Maine. Resp’ts’ Mot. to Transfer (ECF No. 9). On January 9, 2014, FERC

 filed oppositions to the motion to dismiss, FERC’s Opp’n to Resp’ts’ Mot. to Dismiss

 (ECF No. 18), and the motion to transfer. FERC’s Opp’n to Resp’ts’ Mot. to Transfer

 (ECF No. 19). On July 18, 2014, Judge Woodlock heard arguments on the motion to

 dismiss and supplemental briefs on procedure, as well as additional arguments

 regarding transfer to the District of Maine. Elec. Clerk’s Notes (ECF No. 43); Tr. of

 Mot. Hr’g (ECF No. 44).

        The case was effectively stayed pending resolution of related issues in the

 United States Supreme Court 1 and the United States Bankruptcy Court for the




 1       On June 4, 2014, the Respondents moved for judgment on the pleadings, arguing that FERC
 did not have jurisdiction over demand response programs such as the one at issue in this case. Resp’ts’
 Mot. for J. on the Pleadings at 1–2 (ECF No. 35) (citing Elec. Power Supply Ass’n v. FERC, 753 F.3d
 216 (D.C. Cir. 2014)). However, in FERC v. Electric Power Supply Ass’n, 136 S. Ct. 760 (2016), the
 Supreme Court held that FERC does have jurisdiction over demand response programs. Accordingly,
 the Respondents withdrew their motion for judgment on the pleadings. Resp’ts’ Suppl. Br. (ECF No.
 60).

                                                       2
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 3 of 94                        PageID #: 6112



 District of Maine. 2 By April 5, 2016, both matters were resolved, and the proceedings

 continued. On April 11, 2016, Judge Woodlock denied the Respondents’ motion to

 dismiss, FERC v. Silkman, No. 13-13054-DPW, 2016 U.S. Dist. LEXIS 48409 (D.

 Mass. April 11, 2016) (ECF No. 65) (Order on Mot. to Dismiss), and transferred the

 cases to the District of Maine. FERC v. Silkman, 177 F. Supp. 3d 683 (D. Mass. 2016)

 (ECF No. 66) (Silkman I).

                2.      Proceedings in the District of Maine

        On April 21, 2016, following transfer to the District of Maine, the Respondents

 answered FERC’s petition.           Resp’ts’ Answer (ECF No. 72).            That same day, the

 Respondents filed a motion requesting a scheduling conference and an order

 assigning the case to the complex track. Defs.’ Mot. for Scheduling Order and Conf.

 (ECF No. 73).

        On June 3, 2016, the Court held a scheduling conference. Minute Entry (ECF

 No. 84); Tr. of Proceedings (ECF No. 85). At the scheduling conference, the parties

 presented arguments concerning the procedures that should govern the Court’s de

 novo review of the Commission’s assessment orders. Tr. of Proceedings at 2:24–49:18.

 The Court ordered additional briefing from both parties. Id. at 46:6–48:7. On January

 26, 2017, the Court issued an order regarding the procedures applicable to FERC’s

 petition and assigned the case to the complex track. Order Regarding Procedures


 2       Another FERC petition was also pending before Judge Woodlock in a related case, FERC v.
 Lincoln Paper and Tissue, LLC, No. 1:13-cv-13056-DPW. On September 28, 2015, Lincoln Paper filed
 for bankruptcy. As a result, Judge Woodlock stayed the proceedings in both Lincoln and Silkman. On
 April 5, 2016, the District of Maine Bankruptcy Court ruled that the automatic bankruptcy stay did
 not apply to FERC’s district court litigation against Lincoln Paper. In re Lincoln Paper & Tissue, LLC,
 No. 15:10715, 2016 Bankr. LEXIS 3501 (U.S. Bankr. D. Me. Apr. 5, 2016). Accordingly, Judge
 Woodlock allowed the proceedings in both cases to continue. Silkman I, 177 F. Supp. 3d at 701.

                                                       3
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 4 of 94         PageID #: 6113



 Applicable to Pet. for Order Affirming Assessment of Civil Penalties (ECF No. 95).

       On February 15, 2017, the parties appeared telephonically for a conference of

 counsel before this Judge, and the Court issued an order staying the case pending a

 settlement conference. A settlement conference was held before Magistrate Judge

 Rich on March 31, 2017, but settlement was not achieved. Min. Entry (ECF No. 104).

       On February 28, 2018, the Respondents filed a Motion for Summary Judgment

 (ECF No. 133) (Resp’ts’ Mot.) along with an accompanying Statement of Fact (ECF

 No. 136) (DSMF). FERC responded in opposition on March 30, 2018, FERC’s Resp.

 in Opp. to Mot. for Summ. J. (ECF No. 140) (Pl.’s Opp’n), and filed a response to the

 Respondents’ statement of fact with a statement of additional facts that same day.

 FERC’s Resp. to Statement of Fact with Statement of Additional Facts (ECF No. 141)

 (PRDSMF; PSAMF). On April 20, 2018, the Respondents replied to FERC’s additional

 statement of fact and responded to FERC’s requests to strike made in response to the

 Respondents’ statement of fact. Defs.’ Reply to Resp. to Mot. for Summ. J. (ECF No.

 143) (Resp’ts’ Reply); Defs.’ Reply Statement of Material Fact (ECF No. 144)

 (DRPSAMF).

       Meanwhile, on February 28, 2018, FERC filed a cross-motion for partial

 summary judgment on the issue of the statute of limitations. Mot. for Partial Summ.

 J. regarding Statute of Limitations (ECF No. 134) (Pl.’s Mot.). The Respondents

 responded in opposition on March 30, 2018. Defs.’ Resp. in Opp’n to Mot. for Partial

 Summ. J. (ECF No. 138) (Resp’ts’ Opp’n). FERC replied on April 20, 2018. Reply to

 Resp. to Mot. for Partial Summ. J. (ECF No. 145) (Pl.’s Reply).



                                              4
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 5 of 94        PageID #: 6114



       On September 25, 2018, FERC filed an unopposed motion for leave to file

 supplemental authority. Mot. for Leave to File Notice of Supple. Information (ECF

 No. 152). The Court granted the motion on November 7, 2018. Order Granting Mot.

 for Leave to File Notice of Supple. Information (ECF No. 153). On November 8, 2018,

 FERC filed as supplemental authority a copy of the Fourth Circuit Court of Appeals’

 order granting interlocutory appeal in Federal Energy Regulatory Commission v.

 Powhatan Energy Fund., LLC, 286 F. Supp. 3d 751, 754 (E.D. Va. 2017).

       B.    The Parties and Relevant Entities

       FERC is an administrative agency of the United States, organized and existing

 pursuant to the Federal Power Act (FPA), 16 U.S.C. §§ 791a et seq. FERC Pet. ¶ 13.

 FERC’s Office of Enforcement (Enforcement) “initiates and executes investigations of

 possible violations of the Commission’s rules, orders, and regulations relating to

 energy market structures, activities, and participants. Office of Enforcement (OE),

 FERC, https://www.ferc.gov/about/offices/oe.asp (last visited December 18, 2017).

 Based on its investigations, Enforcement may submit reports to the Commission

 recommending that the Commission institute administrative proceedings. FERC’s

 Opp’n to Resp’ts’ Br. Concerning Disc. (ECF No. 88) (FERC’s Disc. Resp.) at 4. Once

 the Commission authorizes an administrative proceeding, Enforcement’s role shifts

 from investigator to litigator, and a “wall” goes up between the Commission and its

 Enforcement arm to prevent ex parte communication. Id.

       ISO-New England (ISO-NE) is an independent, non-profit organization that

 works to ensure the day-to-day reliable operation of New England’s bulk electric



                                             5
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 6 of 94                          PageID #: 6115



 energy generation and transmission system by overseeing the fair administration of

 the region’s wholesale energy markets. FERC Pet. ¶ 2. FERC regulates the markets

 that ISO-NE administers. Id.

         Respondent Competitive Energy Services (CES) is a limited liability company

 organized under the laws of Maine with its principal place of business in Portland,

 Maine.       Id. ¶ 15.    It provides energy consulting and other services to clients

 throughout North America. Id. ¶ 35. Respondent Richard Silkman resides in Maine

 and is an employee and managing member of CES. Id. ¶ 14.

 II.     STATEMENT OF FACTS 3

         A.      Statement        of    Facts:     Respondents’         Motion       for    Summary
                 Judgment

         FERC alleges that the Respondents’ wrongdoing occurred “from July 2007

 until February 2008.” DSMF ¶ 1; PRDSMF ¶ 1. On December 2, 2013, FERC filed a

 Petition for an Order Affirming the Federal Energy Regulatory Commission’s August

 29, 2013 Orders Assessing Civil Penalties Against Richard Silkman and Competitive




 3        Where, as here, the parties file cross-motions for summary judgment, the Court must evaluate
 each motion independently and “determine ‘whether either of the parties deserves judgment as a
 matter of law on facts that are not disputed.’” Matusevich v. Middlesex Mut. Assurance Co., 782 F.3d
 56, 59 (1st Cir. 2015) (quoting Barnes v. Fleet Nat’l Bank, N.A., 370 F.3d 164, 170 (1st Cir. 2004)). For
 cross-motions for summary judgment, the standard of review is applied to each motion separately.
 Libertarian Party of N.H. v. Gardner, 759 F. Supp. 2d 215, 212 (D.N.H. 2010), aff’d, 638 F.3d 6 (1st
 Cir. 2011). Thus, in accordance with “the conventional summary judgment praxis,” with regard to the
 Respondents’ motion for summary judgment and its supporting facts, the Court recounts the facts in
 the light most hospitable to the Respondents’ case theories consistent with record support. Gillen v.
 Fallon Ambulance Serv., Inc., 283 F.3d 11, 17 (1st Cir. 2002). In compliance with obligation, the Court
 recites supported facts as true even if FERC disputes them. Id. Likewise, with the Petitioner’s cross-
 motion for partial summary judgment and supporting facts, the Court recounts the facts in the light
 most hospitable to FERC’s case theories consistent with record support and recites supported facts as
 true even if the Respondents dispute them. Id.

                                                        6
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 7 of 94                           PageID #: 6116



 Energy Services, LLC. 4 DSMF ¶ 2; PRDSMF ¶ 2. The petition was filed at least five

 years, ten months, and two days after the wrongdoing ceased. 5 DSMF ¶ 3; PRDSMF

 ¶ 3.

         Enforcement began an inquiry in February 2008 following a telephone call

 from the ISO-NE market monitoring unit regarding certain market participants’

 conduct relating to their participation in the ISO-NE Day Ahead Load Response

 Program (DALRP). In March 2008, after receiving a written referral from ISO-NE,

 Enforcement commenced a non-public investigation pursuant to Part 1b of the

 Commission’s regulations (18 C.F.R. Part 1b) to determine whether certain market

 participants had engaged in fraudulent conduct in their participation in the DALRP.

 In November 2009, Enforcement commenced an investigation of Dr. Silkman


 4        The Respondents’ paragraph 2 states “FERC filed its complaint in federal court in this matter
 on December 2, 2013.” DSMF ¶ 2. The Petitioner interposes a qualified response, stating that FERC
 filed a petition, not a complaint. PRDSMF ¶ 2. The Court adjusted the Petitioner’s statement to
 reflect the Petitioner’s qualification.
 5        The Respondents’ paragraph 3 states “The Court may take judicial notice that the federal court
 complaint was filed at least five years, 10 months, and 2 days, after the allegedly wrongdoing ceased.”
 DSMF ¶ 3. The Petitioner interposes a qualified response, arguing that the Respondents’ paragraph
 3 should be stricken because this fact is not material or relevant to the issue on summary judgment.
 PRDSMF ¶ 3 (citing United States v. Meyer, 808 F.2d 912 (1st Cir. 1987); Silkman I, 177 F. Supp. 3d
 at 68; United States v. Worldwide Indus. Enters., Inc., 220 F. Supp. 3d 335 (E.D.N.Y. 2016)). FERC
 puts forth the same request to strike in response to seventy-four of the ninety-three statements of fact
 of the Respondents without attempting to explain why the specific statement of fact is irrelevant or
 immaterial. Resp’ts’ Reply to Additional Statement of Fact and FERC’s Reqs. to Strike (ECF No. 143)
 (Resp’ts’ Reply). See PRDSMF. Requests to strike are disfavored in summary judgment motions. D.
 ME. LOC. R. 56(e) (“Motions to strike statements of material fact are not allowed. If a party contends
 that an individual statement of fact should not be considered by the court, the party may include as
 part of the response that the statement of fact ‘should be stricken’ with a brief statement of the
 reason(s) and the authority or record citation in support”); Randall v. Potter, 366 F. Supp. 2d 120, 121
 (D. Me. 2005) (“Although the motion to strike remains available for the extraordinary case, this is one
 weapon in the strategic arsenal that is more effective when used sparingly”). The Court is decidedly
 unenthusiastic about repetitive, pro forma requests to strike filed in motions for summary judgment
 and will not address each request individually.
          The Petitioner further argues that without prejudice to the determination of its request to
 strike, FERC denies that it filed a complaint, but admits that it filed a petition, and admits to the date
 stated by the Respondents. PRDSMF ¶ 3. The Court adjusts the Respondents’ paragraph 3 to reflect
 the date the Petitioner cited.

                                                         7
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 8 of 94                     PageID #: 6117



 individually, pursuant to Part 1b of the Commission’s regulations for Dr. Silkman’s

 conduct related to the DALRP, as memorialized in a November 4, 2009 letter sent to

 Dr. Silkman’s counsel. 6 DSMF ¶ 4; PRDSMF ¶ 4.

                1.     Roles of FERC Enforcement and the Commission

        Enforcement staff, in their role as the Commission staff tasked with

 investigating potential violations of the FPA and the Commission’s regulations,

 communicated with the Commission and certain members of its advisory staff during

 the investigation of the Respondents.              The Commission initiated adversarial

 adjudicatory proceedings on July 17, 2012 when it issued Orders to Show Cause and

 Notice of Proposed Penalty (“Proposed Penalty Orders”) to each Respondent. Under

 FERC’s Separation of Functions Rule (18 C.F.R. § 385.2202), a “wall” went up

 between agency decisional staff — the Commissioners and the staff that may advise

 them — and the Enforcement staff serving a prosecutorial role in the proceedings. In

 accordance with the Commission’s rule regarding ex parte communications (18 C.F.R.

 § 385.2202), a prohibition on ex parte communications between decisional staff and

 Enforcement prosecutorial staff also went into effect at that time. Pursuant to the

 Commission’s Separation of Functions Rule and ex parte rule, following issuance of

 the Proposed Penalty Orders, the Commission issued a notice in each proceeding on




 6       The Respondents’ paragraph 4 states, “FERC’s Office of Enforcement . . . began its
 investigation of Defendants in February 2008.” See Compl. ¶ 52 (ECF No. 1). The Petitioner denies
 the Respondents’ paragraph 4, offering a more detailed timeline of the inquiry, non-public
 investigation, and subsequent public information. PRDSMF ¶ 4. Though the Court does not view the
 Petitioner’s paragraph 4 as directly contradicting the Respondents’ paragraph 4, the Court includes
 the Petitioner’s paragraph 4 as it provides detail and context.

                                                     8
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 9 of 94                         PageID #: 6118



 July 26, 2012 identifying decisional and non-decisional staff. 7 DSMF ¶ 5; PRDSMF

 ¶ 5.

         Over the course of the investigation of the Respondents, Enforcement

 communicated in writing and orally with the FERC Commissioners and their staff

 concerning the investigation outside the presence of the Respondents and their

 counsel. 8    DSMF ¶ 6; PRDSMF ¶ 6.                  During the investigation, Enforcement

 considered FERC and the FERC Commissioners to be their client.                           DSMF ¶ 7;

 PRDSMF ¶ 7.         Enforcement’s communications with the FERC Commissioners and

 their staff concerning the investigation of the Respondents have not been disclosed to

 the Respondents. 9 DSMF ¶ 8; PRDSMF ¶ 8.


 7       The Respondents’ paragraph 5 states “FERC Enforcement did not set up any form of a ‘Chinese
 wall’ with any other entity within FERC, including the FERC Commissioners and their staff, after it
 began its investigation.” DSMF, Attach. 1., FERC Dep. (ECF No. 136-1) at 79-80 (FERC Dep.). The
 Petitioner clarifies the Respondents’ paragraph 5 in a series of qualifications and denials regarding
 the communication procedure at various stages of the FERC investigation and adjudication process.
 PRDSMF ¶ 5. The Court included the Petitioner’s clarifications but declines to include the
 Respondents’ denials as to the various implications of the Respondents’ statements.
 8       The Petitioner denies what it views as the implications of the Respondents’ paragraph 6.
 PRDSMF ¶ 6. The Court does not view these implications as facts but as argument and declines to
 include them.
 9       The Petitioner denies the Respondents’ paragraph 8, stating that “communications between
 Enforcement staff and the Commission during an investigation under Part 1b of the Commission’s
 regulations are properly characterized as “ex parte” because “[t]here are no parties, as that term is
 used in adjudicative proceedings, in an investigation.” See PSMF (ECF No. 135); Decl. of Att’y Demetra
 Anas (ECF No. 137) (Anas Decl.), and 18 C.F.R. § 1b.11 (2008)). The Court agrees with the Petitioner
 that the term “ex parte” could be misleading in this context, and the Court removed the phrase from
 the Respondents’ paragraph 8.
         The Petitioner objects to the inclusion of the Brann Declaration as inadmissible under Federal
 Rules of Civil Procedure 56(c)(2) and (c)(4), arguing first that the Declaration is an “impermissible
 attempt to offer in the guise of ‘fact’ an opinion as to the ultimate issue presented to the court.” See
 PRDSMF ¶ 9 (citing DSMF (ECF No. 136), Attach. 3, Brann Decl. (ECF No. 136-3) (Brann Decl.)). The
 Petitioner cites Lamarche v. Metropolitan Life Insurance Company in support of its contention. 236
 F. Supp. 2d 34, 42 n.9 (D. Me. 2002). The Court is aware of the distinction between fact and argument,
 and, as FERC has pointed out, an attorney representing a party may not present an argument as fact
 with the intention of forcing the Court to accept a contested legal argument as a proffered fact. The
 Court will enforce the distinction.
         Second, the Petitioner argues that the Brann Declaration should be excluded because Attorney
 Brann did not disclose himself as a fact witness. PRDSMF ¶ 9. The Court views the Brann Declaration

                                                        9
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 10 of 94                          PageID #: 6119



                 2.      Notice and Disclosure to the Respondents

         In this litigation, FERC disclosed the identities of people with “relevant

 knowledge” who had been interviewed as part of the investigation, and who had not

 been disclosed to the Respondents prior to the time FERC issued the Orders

 Assessing Penalties. 10 DSMF ¶ 87; PRDSMF ¶ 87. FERC also disclosed documents

 that it claims were part of the administrative record which had not been disclosed to

 the Respondents prior to the time FERC issued the Orders Assessing Penalties. 11



 as a vehicle for presenting uncontested facts to the Court for the purposes of the motion. His statement
 in paragraph 4, for example, that he was never permitted to conduct any discovery on behalf of the
 Respondents, is presumably a statement of uncontested fact, which involves the conduct of the
 litigation based on Attorney Brann’s role as counsel for the Respondents, not as a witness to the facts
 underlying the dispute. Either Attorney Brann was or was not allowed to engage in discovery on
 behalf of his clients. If the Petitioner contends that Attorney Brann’s assertion is erroneous,
 Respondent would have an undoubted right to contest those asserted facts. But it appears that the
 Petitioner is contending not that the Attorney Brann statement is false, only that he may not make it.
          The alternative would be for Attorney Brann to file a request for admission, which-if true-
 Petitioner would have to admit. If Attorney Brann had moved to be allowed to file a request for
 admission, the Court would likely have granted it. See FED. R. CIV. P. 56(d). In this sense, Attorney
 Brann’s sworn declaration is simply another way of placing uncontested facts before the Court for
 purposes of the motion. Indeed, as Respondents point out, when Petitioner thought it advantageous
 to place facts underlying the process before the Court, it supported its facts with an attorney affidavit,
 an irony Respondents did not hesitate to point out. PSAFM ¶ 2; DRSAMF ¶ 2 (“Proving that irony is
 no stranger to the law, FERC’s sole support for this allegation is a declaration from counsel, Demetra
 Anas, as to the procedure employed in the investigation”). The Court overrules the Petitioner’s
 objection and denies Petitioner’s request to be allowed to depose Attorney Brann.
          Third, the Petitioner argues that the Brann Declaration attempts to offer “facts” for summary
 judgment not found in the Respondent’s Statement of Material Facts. The Court will not consider a
 statement in the Brann Declaration but not in the Respondents’ Statement of Material Facts.
 10       The Respondents’ paragraph 87 states: “In this litigation, FERC disclosed the identities of
 people with ‘relevant knowledge’ who had been interviewed as part of the investigation, and who had
 not been disclosed to the Respondents prior to the time FERC issued the Orders Assessing Penalties.”
 DSMF ¶ 87. The Petitioner denies the statement as unsupported by the cited record, because the only
 cited support for the statement is paragraph 37 of the Brann Declaration, which refers only to the fact
 that FERC had interviewed individuals from Constellation and ISO-NE who were unfamiliar to
 Attorney Brann. Brann Decl. ¶ 37. The Court finds that cited record supports the Respondents’
 paragraph 87.
          The Petitioner also denies the Respondents’ paragraph 87 based on the argument that the
 Respondents interacted with the individuals FERC interviewed, and therefore the Respondents were
 aware of their identities. The Court views this denial as non-responsive to the Respondent’s statement
 and overrules the denial.
 11       The Petitioner denies the Respondents’ paragraph 88 as “mischaracterizing the Notice of
 Filing of the Administrative Record” because the Notice of Filing contained not only the contents of

                                                        10
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 11 of 94                        PageID #: 6120



 DSMF ¶ 88; PRDSMF ¶ 88. FERC disclosed additional documents that appear to

 have been obtained as part of the investigation which had not been disclosed to the

 Respondents prior to the time FERC issued the Orders Assessing Penalties and which

 were not included in what FERC claims were part of the administrative record. 12

 DSMF ¶ 89; PRDSMF ¶ 89.

                        a.      Depositions

        Under FERC’s regulations, the Respondents were not notified in advance of

 depositions conducted by Enforcement during its investigation, other than the

 deposition of Dr. Silkman. 13 DSMF ¶ 9; PRDSMF ¶ 9. Other than the deposition of

 Dr. Silkman, the Respondents and their counsel were also not allowed to attend the

 depositions conducted by Enforcement during its investigation, pursuant to FERC’s

 regulations. The Commission’s regulations require the sequestration of witnesses

 during testimony taken in an investigation, and all information and documents

 received during an investigation, as well as the existence of an investigation, is

 treated as confidential, non-public information. Disclosure of information during an

 investigation is permitted only at the Commission’s direction or authorization, or as

 is otherwise required to be disclosed. 14 DSMF ¶ 10; PRDSMF ¶ 10.



 the administrative record, but also additional materials “for the convenience of the Court and the
 Parties.” PRDSMF ¶ 88 (citing Notice of Submission of Administrative R. (ECF No. 26) (Notice of
 Administrative R). The Court views the Petitioner’s denial as not directly responsive to the
 Respondents’ statement and overrules it.
 12      The Petitioner admits the Respondents’ paragraph 89, but “denies the suggestion . . . that such
 documents were improperly not included in the administrative record.” PRDSMF ¶ 89. The Court
 overrules the denial because a denial of an inference is not a fact. See infra note 57.
 13      The Court finds the Respondents’ paragraph 9 adequately supported by the record citation and
 overrules the Petitioner’s denial.
 14      The Petitioner offers the following qualification to the Respondents’ paragraph 10:


                                                      11
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 12 of 94                        PageID #: 6121



        The Respondents and their counsel were not given copies of the depositions

 conducted by Enforcement (other than the deposition of Dr. Silkman) until after their

 depositions had been taken—sometimes over a year later—and then only after

 Respondents’ counsel pressed Enforcement to provide such copies. 15 DSMF ¶ 11;

 PRDSMF ¶ 11.          Under FERC’s regulations, deponents and their counsel in the

 investigation were instructed by Enforcement not to give copies of their deposition

 transcripts to the Respondents or their counsel; deponents and their counsel were

 instructed regarding the testimony of witnesses in accordance with the requirements

 of section 1b.16 of the Commission’s regulations, requiring sequestration of

 witnesses. 16 DSMF ¶ 12; PRDSMF ¶ 12.

        In this litigation concerning events that occurred in 2007 and 2008, fact

 witnesses repeatedly testified in their 2017 depositions that they did not remember

 or did not recall in response to over forty questions asked during their depositions,


         Under the Commission’s regulations, Respondents were not entitled to attend the
         taking of testimony from third party witnesses. The Commission’s regulations
         require the sequestration of witnesses during testimony taken in an investigation,
         and all information and documents received during an investigation, as well as the
         existence of an investigation, is treated as confidential, non-public information.
         Disclosure of information during an investigation is permitted only at the
         Commission’s direction or authorization, or as is otherwise required to be disclosed.

 PRDSMF ¶ 10. The Court included the Petitioner’s qualification as it provides detail and context to
 the Respondents’ statement.
 15       The Petitioner admits the Respondents’ paragraph 11 in part, but also interposes the same
 qualification to the Respondents’ paragraph 11 as it put forth in response to paragraph 10. As the
 Court has already included the qualification with regard to paragraph 10, it declines to repeat it in
 paragraph 11.
 16        The Petitioner interposes, in part, the same qualified response to the Respondents’ paragraph
 12 as it put forth in its qualification to paragraph 10 and paragraph 11. As the Court already included
 the qualification in paragraph 10, it declines to repeat it in paragraph 12. The Petitioner further
 states in its qualified response: “Deponents and their counsel in the investigation were instructed
 regarding the testimony of witnesses in accordance with the requirements of section 1b.16 of the
 Commission’s regulations, requiring sequestration of witnesses.” PRDSMF ¶ 12. The Court has
 included the Petitioner’s qualification because it adds relevant context to Respondents’ paragraph 12.

                                                      12
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 13 of 94                         PageID #: 6122



 and for several witnesses, for over eighty questions asked during their depositions,

 although some witnesses’ lack of memory was resolved by follow-up questions or the

 use of exhibits to refresh their recollections. 17 DSMF ¶ 90; PRDSMF ¶ 90.

         Enforcement requested Dr. Silkman to come to Washington, D.C. for his two-

 day deposition in February 2009. 18 DSMF ¶ 13; PRDSMF ¶ 13. At the conclusion of

 Dr. Silkman’s deposition on February 27, 2009, Enforcement instructed Dr. Silkman

 not to share a copy of his deposition transcript with anyone else, including Mark

 Isaacson, who was a member and managing partner of CES during the relevant

 period; Enforcement also instructed Dr. Silkman that if he felt the need to share the

 transcript with anyone else, to contact Enforcement and they would discuss it. 19



 17       The Petitioner admits “that the witnesses identified in the Peters Declaration claimed to not
 recall answers to some of the questions asked during their depositions” but “denies the suggestion . . .
 that the number of times witnesses claimed a lack of recall accurately reflects an equal number of
 unresolved answers or that each claimed lack of memory was due solely to the passage of time.”
 PRDSMF ¶ 90. The Petitioner then demonstrates testimony surrounding each example of a witness
 failing to remember offered by the Respondents, which shows that in each case, refreshing the
 witness’s recollection resulted in the witness’s ability to recall the answer to the question. Id.
          The Court finds that the Respondents’ paragraph 90 may be misleading in the light of the
 surrounding testimony, which provides additional context, and the Court amends the Respondents’
 paragraph 90 accordingly.
 18       The Petitioner argues that the Respondents’ paragraph 13 is improper as it cites the Brann
 Declaration. The Court concludes that the Brann Declaration is proper record evidence for the
 assertion in paragraph 13. See supra n.9.
          The Petitioner also denies the statement, arguing that the FERC Enforcement staff did not
 issue a subpoena, but merely “requested” Dr. Silkman’s appearance. PRDSMF ¶ 13. The Petitioner
 also maintains that Dr. Silkman never asked FERC to pay his travel expenses. Id. (citing PDSMF ¶
 2; Aff. of Att’y Demetra Anas ¶ 13 (ECF No. 142) (Anas Resp. Aff.). The dispute is factual, and as the
 Court is required to view the facts in the light most favorable to the non-movant, the Court accepts
 the Petitioner’s denial as a qualification and amends the statement.
 19       The Petitioner interposes a two-part qualification to the Respondents’ paragraph 14, first
 noting that the FERC regulations require the sequestration of witnesses and second, stating that
 FERC Enforcement told Dr. Silkman that the transcript was not to be shared, but if Dr. Silkman felt
 the need to share it, he should contact FERC Enforcement to discuss it. PRDSMF ¶ 14. The Court
 included the Petitioner’s initial qualification with regard to paragraph 12 and declines to include it
 here. The Court also finds that the Respondents’ statement may be misleading without including the
 second part of the Petitioner’s qualification and has amended the Respondents’ paragraph 14
 accordingly.

                                                       13
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 14 of 94                       PageID #: 6123



 DSMF ¶ 14; PRDSMF ¶ 14. Dr. Silkman was instructed by Enforcement not to share

 the questions or answers that were given during the deposition with anyone else;

 Enforcement issued these instructions to Dr. Silkman in accordance with applicable

 regulations, 18 C.F.R. § 1b.12, 1b.16. 20 DSMF ¶ 15; PRDSMF ¶ 15. In accordance

 with applicable regulations, Enforcement also instructed him not to disclose

 questions or answers that were given in the course of the deposition to anyone from

 Rumford Paper Company (Rumford). 21 DSMF ¶ 16; PRDSMF ¶ 16.

                        b.      Document Requests

        Enforcement does not have to obtain approval from a FERC administrative law

 judge or any other independent entity or decisionmaker concerning the scope of data

 requests or its investigation.         DSMF ¶ 21; PRDSMF ¶ 21.                 Despite numerous

 requests, in accordance with the confidentiality provisions in the Commission’s

 regulations, Enforcement did not provide the Respondents all the information it

 obtained during its investigation from Rumford, Constellation NewEnergy, Inc.

 (Constellation), and ISO-NE. DSMF ¶ 22; PRDSMF ¶ 22. However, during the

 investigation, Enforcement staff provided the Respondents with copies of all

 materials Enforcement staff cited in the preliminary findings letters to CES and Dr.



 20      The Petitioner interposes a qualified response, arguing again that Dr. Silkman was instructed
 according to the FERC regulations regarding the sequestration of witnesses. PRDSMF ¶ 15. The
 Court amended paragraph 15 to reflect that this qualification applies as well to paragraph 15.
 21      The Petitioner denies the Respondents’ paragraph 16, arguing that the cited record does not
 support the statement, but instead states that Silkman “was instructed by FERC Enforcement not to
 communicate with anyone from Rumford, or to provide them with any information” and that he was
 told that the regulations “require you not to disclose the questions or answers that were given during
 the course of this deposition.” PRDSMF ¶ 16 (citing Anas Resp. Aff., Attach. 4, Ex. Dep. Test. Tr. Of
 Richard Silkman (ECF No. 136-4) at 430:2-10. The Court accepts the Petitioner’s qualification and
 amends the Respondents’ paragraph 16 to reflect the cited record. The Court also added the
 Petitioner’s qualification that Enforcement’s instructions to Dr. Silkman were pursuant to regulation.

                                                      14
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 15 of 94                       PageID #: 6124



 Silkman except publicly-available information already in the Respondents’

 possession.      Id.     During the investigation, Enforcement staff provided the

 Respondents with all potentially exculpatory information regarding the Respondents

 in its investigative files.       Id.    On July 17, 2012, the date of issuance of the

 Commission’s Proposed Penalty Orders, Enforcement provided CES and Dr. Silkman

 copies of all documents cited in the Enforcement Staff Reports attached to the

 Proposed Penalty Orders except those documents already in Respondents’ possession

 or publicly available. 22 Id.

        Pursuant to FERC regulations, Enforcement did not give the Respondents

 advance or contemporaneous notice of any document requests or interrogatories

 (“data requests”) that Enforcement served upon third parties during the

 investigation. 23 DSMF ¶ 17; PRDSMF ¶ 17. However, Dr. Silkman and CES entered

 into a joint defense agreement with Rumford Paper Company (Rumford) and drafted

 responses for Rumford to Enforcement data requests. Id. The Respondents were not




 22      The Petitioner admits the Respondents’ paragraph 22 but then appears to interpose
 qualifications. The Court treats the Petitioner’s response as a qualification and amends Respondents’
 paragraph 22 to include the detail and context the Petitioner offered. The Petitioner otherwise denies
 the Respondents’ paragraph 22 as unsupported by the cited record, presumably because of its earlier
 argument that the Brann Declaration is inadmissible. The Court overrules the denial. See supra note
 9.
 23      The Petitioner interposes a qualified response to the Respondents’ paragraph 17, noting that
 the lack of advance or contemporaneous notice given to the Respondents of document requests or
 interrogatories served by FERC Enforcement on third parties was pursuant to FERC regulations
 because the Respondents were the subjects of the investigation. PRDSMF ¶ 17. The Court amended
 the Respondents’ paragraph 17 accordingly.
         The Petitioner also states that “CES entered into a joint defense agreement with Rumford
 Paper Company effective March 19, 2018, and Silkman and CES drafted responses for Rumford to
 data requests served by Enforcement staff on Rumford during the investigation.” Id. Viewing the
 facts in the light most favorable to the Petitioner, the Court included its assertion that the
 Respondents had access to discovery Enforcement served on Rumford and assisted Rumford in
 preparing responses.

                                                      15
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 16 of 94                         PageID #: 6125



 entitled to object to data requests served by Enforcement upon third parties during

 the investigation. DSMF ¶ 18; PRDSMF ¶ 18. According to FERC regulations,

 Enforcement did not give the Respondents contemporaneous notice of third party

 responses to any data requests served by Enforcement upon third parties during the

 investigation. 24 DSMF ¶ 19; PRDSMF ¶ 19. However, Dr. Silkman and CES entered

 into a joint defense agreement with Rumford Paper Company (Rumford) and drafted

 responses for Rumford to Enforcement data requests. Id. Enforcement determined

 what data requests to submit as part of its investigation, determined when the

 responses were due in the first instance, which could be in as little as one week,

 determined whether to grant enlargements of time, and determined whether the

 responses were adequate. 25 DSMF ¶ 20; PRDSMF ¶ 20.

                         c.     Preliminary Findings

         On November 23, 2009, Enforcement provided CES with a 32-page letter,

 which included 179 footnotes, titled “Preliminary Findings Letter,” and initially gave

 CES three weeks to respond, which Enforcement later extended to January 8, 2010. 26


 24       The Petitioner interposes a qualified response, putting forth the same arguments as it did in
 response to the Respondents’ paragraph 18. PRDSMF ¶ 19. The Court amended the Respondents’
 paragraph 19 to reflect the context that the Petitioner acted in accordance with FERC regulations. For
 the same reason set forth above, the Court amended Respondents’ paragraph 19 with regard to a joint
 defense agreement. See supra note 18.
 25       The Petitioner denies the Respondents’ paragraph 20 in part, arguing that the statement is
 unsupported by the record citation in part, but it is unclear which part it denies, since it also admits
 each clause of Respondents’ paragraph 20. The Court finds that the Respondents’ paragraph 20 is
 supported by their record citation, and the denial is overruled. The Petitioner also argues that the
 Brann Declaration is improper and should be stricken. The Court denies the request to strike. See
 supra note 9. The Court amended Respondents’ paragraph 20 to clarify that Petitioner’s deadline
 determinations were done in the first instance and were subject to Enforcement’s enlargement.
 26       The Petitioner denies the Respondents’ paragraph 23, noting that a letter titled “Preliminary
 Findings Letter” was dated November 23, 2009, not November 21, 2009. PRDSMF ¶ 23; DSMF,
 Attach. 8, FERC Dep. Ex. 19 (ECF No. 136-8). The Court amended Respondents’ paragraph 23 to
 reflect the date of November 23, 2009, as demonstrated by FERC Exhibit 18.

                                                       16
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 17 of 94                          PageID #: 6126



 DSMF ¶ 23; PRDSMF ¶ 23. Prior to the time that CES was directed to respond to

 Enforcement’s preliminary findings and analysis, Enforcement did not provide all the

 materials obtained in its investigation but claimed it had provided the materials that

 it had relied upon in making its preliminary findings and analysis. 27 DSMF ¶ 24;

 PRDSMF ¶ 24.          Enforcement staff agreed to provide all documents referenced in

 Enforcement staff’s November 23, 2009 Preliminary Findings Letter to CES that

 were not either (a) publicly available or (b) already within Respondents’ possession.” 28

 DMSF ¶ 25; PRDSMF ¶ 25.

         On January 8, 2010, CES provided its response to the preliminary findings and

 conclusions in a thirty page, single-spaced letter, asserting that Enforcement had not




         The Petitioner further denies the Respondents’ use of quotation marks around the word
 “preliminary” to the extent that it suggests that the conclusions of Enforcement staff were not
 preliminary, which the Petitioner argues is not supported by record evidence. PRDSMF ¶ 23. The
 Court accepts the denial and removed the quotation marks from “preliminary” in the Respondents’
 paragraph 23 and in subsequent paragraphs to which the Petitioner has made the same objection.
         The Petitioner further states that it admits the remainder of Respondents’ paragraph 23, but
 then puts forth a qualification, stating that “Enforcement staff later provided CES with additional
 time, until January 8, 2010, for CES to respond to the letter.” PRDSMF ¶ 23. To ensure that the
 Respondents’ statement is not misleading, the Court amended the statement to include the Petitioner’s
 qualification.
 27      In response to the Respondents’ paragraph 24, the Petitioner “denies the statement that
 Enforcement staff ‘claimed’ to have ‘provided the materials it “relied upon” in its ‘preliminary’ findings
 and analysis because Enforcement staff in fact agreed to provide, and provided, all such materials that
 it had not provided.” PRDSMF ¶ 24. The Court views the Respondents’ use of the word “claim” in
 their statement in a manner consistent with Petitioner’s position, namely reflective of the fact that the
 Petitioner stated that it had provided all materials it relied upon in its preliminary findings and
 analysis. The Court, therefore, overrules the Petitioner’s denial.
         The Petitioner further denies the Respondents’ statement because of quotation marks around
 the word “preliminary.” The Court removed the punctuation. See supra note 26.
 28      The Petitioner admits the Respondents’ paragraph 25 in part but denies the statement that
 “Enforcement agreed to disclose some, but not all of the cited materials, provided that they were not
 shared with Defendants’ co-counsel or anyone at CES other than Dr. Silkman.” DSMF ¶ 25, citing
 Brann Decl. ¶¶ 13-14. The Petitioner argues that “Enforcement staff agreed to provide all documents
 referenced in Enforcement staff’s November 23, 2009 Preliminary Findings Letter to CES that were
 not either (a) publicly available or (b) already within Respondents’ possession.” PRDSMF ¶ 25. The
 Court views the dispute as factual and is required to view the facts in the light most favorable to the
 non-moving party. The Court accepts the Petitioner’s denial and amends the statement accordingly.

                                                        17
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 18 of 94                          PageID #: 6127



 provided exculpatory evidence in its possession, including copies of depositions that

 Enforcement had taken outside the presence of the Respondents and counsel, and

 that Enforcement had seriously misstated the factual record in order to reach its

 preliminary findings and conclusions. 29 DSMF ¶ 26; PRDSMF ¶ 26.

         On April 19, 2010, Enforcement provided its preliminary findings and analyses

 concerning Dr. Silkman in a twenty-nine-page letter with 176 footnotes, and initially

 gave Mr. Silkman two weeks to respond. DSMF ¶ 27; PRDSMF ¶ 27. Enforcement

 staff later extended the response date an additional seventeen days, until May 20,

 2010. 30 Id. Enforcement’s preliminary findings and analyses concerning Dr. Silkman

 were virtually identical to Enforcement’s preliminary findings and analyses

 concerning CES and did not directly respond to any factual or legal argument in the

 thirty-page response CES previously submitted. 31                  DSMF ¶ 28; PRDSMF ¶ 28.



 29       The Petitioner admits the Respondents’ paragraph 26 in part but interposes a qualified
 response to the Respondents’ statement regarding the word-count of the CES letter, stating that it is
 unaware of the word-count of the document since it was not sent to the Petitioner in its original Word
 format. PRDSMF ¶ 26. Even though the Court wonders about whether the actual number of words
 in a thirty-page letter is worth quibbling about, the Court is required to view contested facts in the
 light most favorable to the Petitioner and for purposes of this recitation, it excludes the asserted word-
 count.
          The Petitioner further denies the Respondents’ statement because of quotation marks around
 the word “preliminary.” The Court removed the punctuation. See supra note 26.
 30       The Petitioner admits the Respondents’ paragraph 27 in part, but interposes a qualification,
 stating: “The letter was substantively similar to the Petitionary Findings Letter that Enforcement
 staff sent to CES via its counsel in November 2009, and to which counsel had responded via a 30-page
 letter. Enforcement staff later extended the response date by an additional 17 days, until May 20,
 2010.” PRDSMF ¶ 27. The Court views the first sentence of the Petitioner’s qualification as not
 directly related to the Respondents’ statement and declines to include it. The Court amended the
 Respondents’ paragraph 27 to include the second sentence of the Petitioner’s qualification to ensure
 that the statement is not misleading.
 31       The Petitioner interposes a qualified response to the Respondents’ paragraph 28, admitting
 that its “preliminary findings with respect to Silkman were substantively similar to its preliminary
 findings with respect to CES, because Silkman was CES’s managing member and took the lead on its
 behalf on planning and perpetuating fraud in the DALRP, thereby resulting in similar facts underlying
 the respective roles of Silkman and CES in the fraud.” PRDSMF ¶ 28 (citing Anas Decl; Anas Decl.,
 Attach. 40, Order Assessing Civil Penalty Against CES (ECF No. 137-40) (Order Assessing Civil

                                                        18
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 19 of 94                        PageID #: 6128



 FERC’s corporate designee was not aware of any substantive fact or substantive

 conclusion that was changed in light of the thirty-page response CES previously

 submitted. 32 DSMF ¶ 29; PRDSMF ¶ 29. FERC’s corporate designee was not aware

 of any substantive conclusion of Enforcement’s preliminary findings and analyses

 concerning Dr. Silkman that was changed in light of the thirty-page response CES

 previously submitted. 33 DSMF ¶ 30; PRDSMF ¶ 30.

        On April 26, 2010, Enforcement informed Respondents for the first time that

 Rumford’s “enrolling participant,” Constellation, had changed its response to a data

 request concerning a meeting between Constellation and Respondents. DSMF ¶ 31;

 PRDSMF ¶ 31. Constellation had changed its answer from an answer that had

 originally been exculpatory for the Respondents to an answer now inculpatory, which

 attempted to deflect responsibility from Constellation to the Respondents. 34 DSMF




 Penalty Against CES); Anas Decl., Attach 41, Order Assessing Civil Penalty Against Richard Silkman
 (ECF No. 137-41) (Order Assessing Civil Penalty Against Silkman). The Court finds that the record
 citation does not adequately support the Petitioner’s conclusion and declines to include the
 qualification.
          The Petitioner further denies the Respondents’ statement because of quotation marks around
 the word “preliminary.” The Court removed the punctuation. See supra note 26.
 32       The Respondents’ paragraph 29 states “FERC’s corporate designee was not aware of any
 factual assertion in FERC Enforcement’s “preliminary” findings and analyses concerning Dr. Silkman
 that was changed in light of the 30-page response previously submitted by CES.” DSMF ¶ 29 (citing
 FERC Dep. 171-72). The Petitioner offers a qualified response, clarifying what was stated during the
 FERC 30(b)(6)’s testimony. The Court finds that the Petitioner’s qualification accurately reflects what
 was stated during the deposition and amends the Respondents’ paragraph 29.
          The Petitioner further denies the Respondents’ statement because of quotation marks around
 the word “preliminary.” The Court removed the punctuation. See supra note 26.
 33       The Petitioner denies the Respondents’ statement because of quotation marks around the word
 “preliminary.” The Court removed the punctuation. See supra note 26.
 34       The Respondents’ paragraph 32 states: “In the view of Defendant’s counsel, this information
 should have been disclosed much earlier because Constellation had changed its answer 180 degrees
 from an answer that originally had been exculpatory for Respondents to an answer that was now
 inculpatory, which attempted to deflect responsibility from Constellation to Respondents, and that the
 original Constellation data response eviscerated FERC Enforcement’s theory of this case.” DSMF ¶
 32 (citing Brann Decl. ¶ 20).

                                                      19
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 20 of 94                        PageID #: 6129



 ¶ 32; PRDSMF ¶ 32.

        On April 29, 2010, Enforcement proposed to disclose what it deemed to be

 additional relevant depositions, affidavits, and data responses of Constellation to Dr.

 Silkman and Mark Isaacson of CES, and to Respondents’ counsel, provided that they

 agreed not to disclose the information to anyone else. 35 DSMF ¶ 33; PRDSMF ¶ 33.

 On May 20, 2010, Dr. Silkman responded to Enforcement’s preliminary findings and

 analyses concerning Dr. Silkman in a thirty-four-page, single-spaced letter. DSMF ¶

 34; PRDSMF ¶ 34.

                        d.      Settlement Negotiations

        In May 2010, pursuant to Commission regulations, Enforcement had a closed

 meeting with a quorum of the FERC Commissioners outside the presence of the

 Respondents and their counsel in which Enforcement’s investigation of the

 Respondents was discussed. 36 DSMF ¶ 35; PRDSMF ¶ 35. On November 15, 2010,


          The Petitioner denies the Respondents’ paragraph 32, stating that “the statements and
 assertions of ‘fact’ in the Brann Declaration and in Respondents’ SMF ¶ 32 as unsupported by
 admissible record evidence.” The Court agrees with the Petitioner that portions of the Respondents’
 paragraph 32 put forth legal arguments in the guise of statements of fact. Also, the views of
 Respondents’ counsel about the timing of disclosure are not material to the undisputed facts
 undergirding the resolution of this motion. The Court grants the Petitioner’s denial and removes the
 impermissible legal argument from the Respondents’ paragraph 32.
 35       The Petitioner interposes a qualification to the Respondents’ paragraph 33, reciting the
 contents of the April 29, 2010 letter Enforcement staff sent to defense counsel. PRDSMF ¶ 33. The
 Court does not find the majority of the Petitioner’s extensive qualification to conform with Local Rule
 56(b), which requires that “[e]ach fact asserted in the statement shall be simply and directly stated”,
 nor is it necessary to provide context to the Respondents’ paragraph 33. The Petitioner further states
 that “Respondents’ counsel could have asked that other signatories be added to the letter.” PRDSMF
 ¶ 33. This statement is not supported by the cited record, and the Court declines to amend the
 Respondents’ paragraph 33 to include it.
 36       The Petitioner interposes a qualified response to the Respondents’ paragraph 35, stating: “The
 testimony of the FERC 30(b)(6) witness cited as support for Respondents’ SMF ¶35 was that: (a) closed
 meetings occur pursuant to the Commission’s regulations and those regulations define what
 constitutes a closed meeting (see 18 C.F.R. § 375.201); (b) a number of enforcement investigations were
 discussed during the May 2010 closed meeting, including Enforcement’s various DALRP
 investigations; and (c) the CES and Silkman investigations were among the topics discussed.”

                                                      20
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 21 of 94                          PageID #: 6130



 Enforcement served additional data requests on CES, initially giving CES two weeks

 to respond. 37 DSMF ¶ 36; PRDSMF ¶ 36. Other than considering Dr. Silkman’s

 response to the data requests and sending a new data request, FERC’s corporate

 designee was either not aware of or unable to reveal anything else that Enforcement

 did as part of its investigation between May and November 2010 without violating

 attorney-client privilege. 38 DSMF ¶ 37; PRDSMF ¶ 37. Whether to do anything

 during that period, as well as during the entire investigation, was up to Enforcement.

 DSMF ¶ 38; PRDSMF ¶ 38.

         Between November 2010 and March 2013, i.e., both before and after FERC

 issued its Orders to Show Cause in July 2012, Enforcement communicated with

 FERC Commissioners and their staff outside the presence of the Respondents or their

 counsel concerning a possible settlement with Rumford regarding Rumford’s

 participation in the DALRP. 39 DSMF ¶ 39; PRDSMF ¶ 39. In this action, FERC


 PRDSMF ¶ 35. The Court amended the Respondents’ paragraph 35 to include the portions of the
 Petitioner’s qualifications necessary for context.
 37      The Petitioner interposes a qualified response to the Respondents’ paragraph 36, first noting
 that the date that the second set of data requests was served on CES was November 15, 2010, not
 November 20, 2010. PRDSMF ¶ 36. The remainder of the qualification is not directly responsive to
 the Respondents’ paragraph 36, and the Court declines to include it.
 38      The Petitioner denies the Respondents’ paragraph 37 as unsupported by the cited record,
 noting that the FERC witness “was instructed by counsel not to answer the question in any way that
 violates privilege,” and noting that the witness stated, in response to the question, “between the time
 Dr. Silkman responded one thing Enforcement staff was doing was considering the response of Dr.
 Silkman; and the other thing that I know they did is sent this data request.” PRDSMF ¶ 37 (citing
 Anas Aff., Attach. 1, Ex. Dep. Test. Tr. of Jeremy Medovoy, October 18, 2017 (ECF No. 137-1)). The
 Court amended the Respondents’ paragraph 37 accordingly.
 39      The Petitioner admits the Respondents’ paragraph 39 but denies the statement with regard to
 several potential implications. First, the Petitioner denies the implication “that these communications
 should have been prohibited by a wall or characterized as ‘ex parte’ because ‘there are no parties. . . in
 an investigation.” PRDSMF ¶ 39. The Petitioner also denies the suggestion that “communications
 between. . . Commissioners or their advisory staff and Enforcement staff regarding investigative
 matters are inappropriate prior to the commencement or an adjudicatory adversarial proceeding . . .
 because prior to the commencement of an . . . order to show cause proceeding, Enforcement staff, in its
 role as Commission staff tasked with investigating potential violations of the FPA and the

                                                        21
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 22 of 94                         PageID #: 6131



 withheld the communications between Enforcement and FERC Commissioners and

 their staff outside the presence of the Respondents or their counsel concerning a

 possible settlement with Rumford between November 2010 and March 2013 on the

 grounds of attorney-client privilege, among other reasons. DSMF ¶ 40; PRDSMF ¶

 40.     FERC produced to the Respondents a privilege log describing those

 communications pursuant to Magistrate Judge Nivison’s September 8, 2017 Order on

 Discovery Issues (ECF No. 117). 40 Id. The same lawyers from Enforcement who

 communicated between November 2010 and March 2013 with the FERC

 Commissioners and their staff outside the presence of the Respondents or their

 counsel concerning a possible settlement with Rumford were conducting the

 investigation of the Respondents. DSMF ¶ 41; PRDSMF ¶ 41.

        In February 2011, Enforcement made a settlement proposal orally to

 Respondents’ counsel at a meeting in Washington, D.C. DSMF ¶ 42; PRDSMF ¶ 42.

 On March 11, 2011, the Respondents requested seven categories of material not




 Commission’s regulations, are permitted under the Commission’s regulations to communicate with the
 Commission and certain of its advisory staff during an investigation.” Id. The Petitioner also “denies
 the implication that Enforcement staff engaged in prohibited ex parte communications with the
 Commission regarding a potential settlement with Rumford after formal adjudicatory proceedings
 involving Rumford” began. Id.
         The Court has not read, and will not read, any of the implications outlined by the Petitioner
 with regard to the Respondents’ paragraph 39. The Petitioner further notes that on September 6,
 2012, Enforcement staff . . . obtained a written waiver from Rumford of the protections afforded under
 the Separation of Function Rule. . . and the ex parte rule. . . to consult with the Commission . . . for
 purposes of exploring potential settlement. . .” Id. The Court does not view this statement as directly
 responsive to the Respondents’ statement because it concerns Rumford and Rumford’s defense counsel,
 not the Respondents’ or Respondents’ counsel.
 40      The Petitioner admits the Respondents’ paragraph 40, but then denies certain implications
 from the facts it admitted. PRDSMF ¶ 40. The Court includes the Petitioner’s qualification regarding
 the production of a privilege log regarding these communications as it provides context to the
 Respondents’ statement. The Petitioner also denies any implication made by the Respondents’
 regarding ex parte or improper communications, which the Court notes.

                                                       22
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 23 of 94                          PageID #: 6132



 previously disclosed in order to respond to Enforcement’s settlement proposal,

 including a deposition of Rumford’s expert; all communications with and data

 provided by Constellation; all communications with and data provided by ISO-NE;

 all other information considered, evaluated, or relied upon by FERC to assess the

 claims against the Respondents; and the methodology behind its settlement proposal.

 DSMF ¶ 43; PRDSMF ¶ 43. On March 31, 2011, Enforcement responded to the

 Respondents’ request, declining to produce such additional information because it

 “does not believe that further disclosures of non-public investigative information are

 warranted,” DSMF, Attach 1., FERC Dep. Ex. 18, (ECF No. 136-16), given the

 Commission’s disclosure policies, the fact that the Commission already provided CES

 and Dr. Silkman copies of all documents the Commission relied upon for their

 preliminary conclusions, and that the Commission had already provided CES and Dr.

 Silkman all potentially exculpatory material consistent with longstanding

 Commission practice. DSMF ¶ 44; PRDSMF ¶ 44. Additionally, in a letter sent to

 Respondents’ counsel on May 9, 2011, Enforcement staff provided a detailed

 explanation of its calculation of the proposed penalties against CES and Dr. Silkman

 that formed the basis of its settlement proposal. 41 Id. Enforcement determines

 whether to provide information in the possession of Enforcement staff to the subject

 of an investigation based on the law, the Commission’s regulations, policy statements,

 and statutes governing the confidentiality of information gathered during


 41      The Petitioner interposes a qualified response to the Respondents’ paragraph 44, detailing
 additional reasons it stated in its response to the Respondents’ request for additional material to assist
 them in settlement calculations. PRDSMF ¶ 44. To ensure that the Respondents’ paragraph 44 is
 placed within context, the Court amended the statement to include the Petitioner’s qualifications.

                                                        23
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 24 of 94                        PageID #: 6133



 investigations. 42 DSMF ¶ 45; PRDSMF ¶ 45.

        On April 26, 2011, the Respondents submitted an eight-page response to

 FERC’s oral settlement proposal. DSMF ¶ 46; PRDSMF ¶ 46. On May 9, 2011,

 Enforcement rejected the Respondents’ settlement proposal, did not make a counter-

 proposal, and initially gave the Respondents two days to submit a revised settlement

 proposal. DSMF ¶ 47; PRDSMF ¶ 47. On May 9, 2011, Enforcement staff sent an

 email and attached letter to Respondents’ counsel, which stated “[w]e carefully

 considered your response, but disagree with your analysis,” and provided an

 explanation of the Commission’s Penalty Guidelines and Enforcement’s calculations

 of the proposed penalties articulated during the February 2011 settlement

 conference. 43 Id. The Respondents’ counsel stated in an email to Enforcement staff

 on May 9, 2011 that he would be meeting with his clients on May 11, and that he

 anticipated getting back to Enforcement staff on May 12. Id. Enforcement staff

 responded by email and agreed to delay any further action until after the close of

 business on May 12, 2011. Id. On May 12, 2011, the Respondents responded to

 Enforcement’s settlement letter but did not make a revised settlement proposal or



 42       The Respondents’ paragraph 45 states “In determining whether to provide information in the
 possession of FERC Enforcement that the subject of an investigation claims to need, it is up to FERC
 Enforcement whether or not to turn over that information, subject to any FERC regulation or other
 statute that prohibits disclosure.” DSMF ¶ 45. The Petitioner interposes a qualified response,
 clarifying that FERC Enforcement’s decision to disclose “is based on the law, the Commission’s
 regulations and Policy Statement on Disclosure of Exculpatory Materials, 129 FERC ¶ 61,248 (2009),
 and statutes governing the confidentiality of information gathered during investigations.” PRDSMF
 ¶ 45. The Court amended the Respondents’ paragraph 45 to include the additional sources FERC
 Enforcement uses to determine whether to disclose information.
 43       In its response to Respondents’ paragraph 47, the Petitioner clarified the circumstances under
 which it rejected the Respondents’ counteroffer and under which the deadline for a further response
 from the Petitioner was due. PRDSMF ¶ 47. The Court included these additional details to provide
 context.

                                                      24
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 25 of 94                      PageID #: 6134



 accept Enforcement’s prior unchanged settlement demand. DSMF ¶ 48; PRDSMF ¶

 48. On May 13, 2011, Enforcement responded to the Respondents’ settlement letter,

 stating: “[i]t appears at this time that we will be unable to reach a settlement

 regarding this matter.” 44        DSMF ¶ 49; PRDSMF ¶ 49.                   In the same letter,

 Enforcement informed the Respondents that their “preliminary conclusions have not

 materially changed” and it intended to recommend that FERC issue Orders to Show

 Cause but allowed the Respondents to submit a response to Enforcement. DSMF ¶

 51; PRDSMF ¶ 51.

        On June 27, 2011, CES and Dr. Silkman submitted a joint seventy-nine-page

 response to Enforcement’s 1b.19 Letters. DSMF ¶ 52; PRDSMF ¶ 52. As required

 by 18 C.F.R. § 1b.19, Enforcement submitted the Respondents’ response to the

 Commission together with Enforcement staff’s report and recommendation that the

 Commission initiate adversarial on-the-record order-to-show-cause proceedings

 against the Respondents. In their 1b.19 response, which Enforcement staff provided

 to the Commission, the Respondents restated the settlement positions they asserted

 in the April 26, 2011 letter. 45 DSMF ¶ 50; PRDSMF ¶ 50.


 44      The Petitioner interposes a qualified response to Respondents’ paragraph, stating several
 other statements contained in FERC’s response letter. The Court does not find that these statements
 are proper qualifications, but instead are an attempt to reframe the Respondents’ statement with more
 detail than is necessary under Local Rule 56(b). See supra note 30.
 45      The Respondents’ paragraph 50 states: “There is no entry on FERC’s privilege log that
 indicates that FERC Enforcement ever conveyed the Defendants’ settlement proposal, or Defendants’
 communications concerning settlement, to the FERC Commissioners or their staff. DSMF ¶ 50, citing
 FERC Dep.; DSMF, Attach. 4, Dep. Test, Tr. of Richard Silkman, February 27, 2009 (ECF No. 136-4)
 (Silkman Dep.). The Petitioner denies the Respondents’ paragraph 50 as unsupported by the cited
 record material.
         The Court finds that the record citation does not support the Respondents’ paragraph 50 and
 affirms the Petitioner’s denial. In denying the Respondents’ paragraph 50, the Petitioner notes that
 the Respondents’ 79-page response to FERC Enforcement’s May 13, 2011 letters, which restated the
 Respondents’ settlement positions asserted in the April 26, 2011 letter, were shared with the

                                                     25
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 26 of 94                      PageID #: 6135



                        e.      Orders to Show Cause

        On February 16, 2012, Enforcement submitted drafts of FERC’s Orders to

 Show Cause and Enforcement’s Reports concerning the Respondents to FERC

 Chairman Wellinghoff’s Chief of Staff, which have been withheld in this litigation on

 the grounds of attorney-client privilege, among other reasons. 46                   DSMF ¶ 53;

 PRDSMF ¶ 53. Enforcement did not provide its reports to the Respondents when

 Enforcement submitted them to the FERC Commissioners and did not disclose what

 specific evidence it provided the FERC Commissioners. DSMF ¶ 54; PRDSMF ¶ 54.

 There is no entry on FERC’s privilege log that indicates that when Enforcement

 submitted the draft Orders to Show Cause and Enforcement’s Reports concerning the

 Respondents to the FERC Commissioners and their staff, but Enforcement conveyed

 to the FERC Commissioners or their staff the Respondents’ seventy-nine-page

 response concerning Enforcement’s intention to recommend that FERC issue Orders

 to Show Cause. 47 DSMF ¶ 55; PRDSMF ¶ 55.

        Between February 16, 2012, when Enforcement submitted drafts of FERC’s




 Commission as required by 18 C.F.R. §1b.19. PRDSMF ¶ 50. The Court included this statement for
 context.
 46       The Petitioner interposes a qualified response to the Respondents’ paragraph 53, noting that
 “draft orders to show cause and Enforcement’s Staff Reports were submitted by Enforcement staff to
 Chairman Wellinghoff’s Chief of Staff, not to the Commission.” PRDSMF ¶ 53 (citing Silkman Dep. at
 16). The Court accepts the qualification and amended the Respondents’ paragraph 53.
 47      The Respondents’ paragraph 55 states “[t]here is no entry on FERC’s privilege log that
 indicates that when FERC Enforcement submitted the draft Orders to Show Cause and FERC
 Enforcement’s Reports concerning the Respondents to the FERC Commissioners and their staff, it also
 conveyed to the FERC Commissioners or their staff Defendants’ 79-page response concerning FERC
 Enforcement’s intention to ‘recommend’ that FERC issue Orders to Show Cause.” DSMF ¶ 55. The
 Petitioner admits the Respondents’ statement but denies “the implication that the absence of an entry
 on a log of email communications means that Enforcement did not provide Respondents’ 1b.19
 response to the commission.” PRDSMF ¶ 55. The Court included this fact offered by the Petitioner to
 provide further context to the Respondents’ paragraph 55.

                                                     26
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 27 of 94                    PageID #: 6136



 Orders to Show Cause and Enforcement’s Reports concerning the Respondents to the

 Chairman Wellinghoff’s Chief of Staff, and July 17, 2012, when FERC issued the

 Orders to Show Cause and Reports, there were written communications between

 Enforcement and the Commission and the FERC Office of the Secretary outside the

 presence of the Respondents and their counsel that have been withheld in this

 litigation on the grounds of attorney-client privilege, among other reasons. 48 DSMF

 ¶ 56; PRDSMF ¶ 56. The FERC corporate designee was instructed not to answer

 whether he knew if the FERC Commissioners made any changes to the draft Orders

 or Reports submitted by Enforcement to them. 49 DSMF ¶ 57; PRDSMF ¶ 57.

         On July 17, 2012, FERC issued a four-page Order to Show Cause against Dr.

 Silkman, which attached Enforcement’s thirty-one-page report that “describes the

 background of [Enforcement’s] investigation, findings and analysis, and proposed

 sanctions.” DSMF ¶ 58; PRDSMF ¶ 58. FERC initially gave the Respondents thirty

 days to respond to the Order to Show Cause, and to “elect (a) administrative hearing

 before an ALJ at the Commission [‘Option 1’] or (b) if the Commission finds a

 violation, an immediate penalty assessment by the Commission which a United

 States district court is authorized to review de novo [‘Option 2’].” Id. On the same



 48     The Petitioner denies the Respondents’ paragraph 56 on two bases: (1) That the reports were
 submitted to Chairman Wellinghoff’s Chief of Staff, not to the Commission, and (2) that the record
 does not support that there were eighteen written communications between FERC Enforcement and
 the Commission. PRDSMF ¶ 56. The Court affirms the Petitioner’s denial and amended the
 Respondents’ paragraph 56 to reflect the content of the cited record.
 49     The Respondents’ paragraph 57 states: “The FERC Corporate Designee was instructed not to
 answer whether the FERC Commissioners made any changes to the draft Orders or Reports submitted
 by FERC Enforcement to them.” DSMF ¶ 57. The Petitioner denies the Respondents’ statement as
 unsupported by the cited record, stating that the FERC designee was asked “Do you know if the
 commission made any changes to the draft that was submitted by enforcement staff?” PRDSMF ¶57.
 The Court affirms the denial and amends the Respondents’ paragraph 57 accordingly.

                                                    27
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 28 of 94         PageID #: 6137



 day, FERC issued a four-page Order to Show Cause against CES, which attached

 Enforcement’s   thirty-one-page    Report   that   “describes   the   background    of

 [Enforcement’s] investigation, findings and analysis, and proposed sanctions.” DSMF

 ¶ 59; PRDSMF ¶ 59.

       FERC initially gave the Respondents thirty days to respond to the Orders to

 Show Cause, and to “elect (a) administrative hearing before an ALJ at the

 Commission [‘Option 1’] or (b) if the Commission finds a violation, an immediate

 penalty assessment by the Commission which a United States district court is

 authorized to review de novo [‘Option 2’]. DSMF ¶ 59; PRDSMF ¶ 59. Neither FERC

 nor Enforcement ever made statements to the Respondents concerning the two

 options other than what was contained in the Orders to Show Cause. DSMF ¶ 60;

 PRDSMF ¶ 60. In other words, neither FERC nor Enforcement ever stated to the

 Respondents that they could only get discovery or a hearing if they selected Option 1,

 or that Option 2 was an “informal adjudication,” an “administrative penalty

 assessment process,” or a “show cause proceeding” being conducted by FERC. Id.

       At the same time, the statutes and regulations applying to contested on-the-

 record show cause proceedings are publicly available and were available to the

 Respondents. Id. The Proposed Penalty Orders expressly stated that Respondents

 could “elect (a) an administrative hearing before an ALJ at the Commission or (b) if

 the Commission finds a violation, an immediate penalty assessment by the

 Commission which a United States district court is authorized to review de novo.” Id.

 That a proceeding before the Commission would be different than a proceeding before



                                              28
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 29 of 94                         PageID #: 6138



 an ALJ is apparent both from the language of the Proposed Penalty Orders issued to

 Respondents on July 17, 2012 (“if the Commission finds a violation, an immediate

 penalty assessment” by a Commission “order assessing a penalty”) and the governing

 statute, which provides for a “prompt assessment” by Commission “order” if a

 violation is found without mention of discovery or a live hearing. 50 Id.

         On July 27, 2012, Enforcement provided the Respondents with additional

 information “specifically referenced” in Enforcement’s Report and Recommendation

 to FERC that had not been previously provided to the Respondents. DSMF ¶ 61;

 PRDSMF ¶ 61. That same day, the Respondents filed a written election of option

 two—to have an immediate penalty assessment by FERC if it found a violation—

 which a district court could then review de novo. DSMF ¶ 62; PRDSMF ¶ 62.

         On September 14, 2012, the Respondents submitted their written response to

 the Orders to Show Cause. 51 DSMF ¶ 63; PRDSMF ¶ 63. On November 13, 2012,

 Enforcement filed a reply with FERC to the Respondents’ response to the Orders to

 Show Cause, the last filing before FERC issued the Orders Assessing Penalties. 52


 50      The Petitioner denies the Respondents’ paragraph 60, arguing that the statement is
 unsupported by admissible record evidence and is contradicted by other admissible record evidence.
 PRDSMF ¶ 60. The Court finds that the Respondents’ citation to the Brann Declaration supports its
 statement. See supra note 9. The Court includes the relevant supplemental information offered by
 the Petitioner, because the dispute is factual in nature, and the Court must view the facts in the light
 most favorable to the non-movant.
 51      The Petitioner admits the Respondents’ paragraph 63 but denies that Exhibit 40, the record
 citation offered by the Respondents, supports the statement, and instead points to Exhibit 39 for
 support. PRDSMF ¶ 63 (citing Order Assessing Civil Penalty Against CES; Order Assessing Civil
 Penalty Against Richard Silkman). The Court, after reviewing the two exhibits as well as the
 testimony of the FERC designee, finds that the Respondents’ statement is supported by Exhibit 39,
 not Exhibit 40.
 52      The Petitioner admits the Respondents’ paragraph 64 but denies that Exhibit 41, the record
 citation offered by the Respondents, supports the statement, and instead points to Exhibit 40 for
 support. PRDSMF ¶ 64. The Court, after reviewing the two exhibits as well as the testimony of the
 FERC designee, finds that the Respondents’ statement is supported by Exhibit 40.

                                                       29
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 30 of 94                      PageID #: 6139



 DSMF ¶ 64; PRDSMF ¶ 64. On November 14, 2012, Enforcement provided the

 Respondents with additional information “specifically referenced” in Enforcement’s

 Reply that had not been previously provided to the Respondents.                      DSMF ¶ 65;

 PRDSMF ¶ 65.

        Other than these written submissions, there were no communications to or

 from FERC and the Respondents after FERC issued the Orders to Show Cause until

 FERC issued its Orders Assessing Penalties. DSMF ¶ 66; PRDSMF ¶ 66. Other than

 making its written declaration of Option 2 and submitting a written response to the

 Orders to Show Cause, the Respondents did not participate in any proceeding after

 FERC issued the Orders to Show Cause. 53 DSMF ¶ 67; PRDSMF ¶ 67. After FERC

 issued Orders to Show Cause, the Respondents were not automatically entitled to

 obtain or conduct discovery; however, the Respondents could have made a request for

 discovery to the Commission via motion, pursuant to the Commission’s Rules of

 Practice and Procedure, 18. C.F.R. Part 385. 54 DSMF ¶ 68; PRDSMF ¶ 68. During

 the investigation and the Order to Show Cause Proceedings, the Respondents did not

 take any depositions, although defense counsel was permitted to ask questions of Dr.


 53       The Petitioner admits the Respondents paragraph 67 but “denies that the Commission’s
 proceedings are “alleged” proceedings because, under the Commission’s regulations, issuance of a
 Proposed Penalty Order commences a ‘contested on-the-record proceeding’ known as a “show cause
 proceeding,” subject to the Commission’s Rules of Practice and Procedure.” PRDSMF ¶ 67. The Court
 affirms the Petitioner’s denial and removes the word “alleged” from the Respondents’ paragraph 67,
 as it is not supported by the record, and is argument, not fact.
 54       The Petitioner denies the Respondents’ paragraph 68, stating: “[u]nder the Commission’s
 regulations, the Respondents could have made a request for discovery to the Commission via motion.”
 PRDSMF ¶ 68. The Petitioner “further specifically denies that Respondents ‘were not permitted’ to
 obtain or conduct any discovery after the Proposed Penalty Issues were issued because Respondents
 did not make any request via motion. . ..” Id. This is a factual dispute between the parties, and the
 Court must view the evidence in the light most favorable to the non-movant. The Court, therefore,
 amended the Respondents’ paragraph 68 to conform to its obligation to view contested facts in the
 light most favorable to the Petitioner.

                                                     30
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 31 of 94                       PageID #: 6140



 Silkman when Enforcement took his deposition. 55 DSMF ¶ 84; PRDSMF ¶ 84. FERC

 and Enforcement did not conduct additional fact-finding after FERC issued the

 Orders to Show Cause. 56 DSMF ¶ 69; PRDSMF ¶ 69. Subsequently, the Commission

 conducted additional fact-finding after FERC issued Orders to Show Cause cited by

 FERC in the Orders Assessing Penalties. 57 Id. There was no live hearing, as opposed

 to a paper hearing, conducted before the FERC Commissioners or a decisionmaker

 who in the Respondents’ view was neutral and impartial either before or after FERC

 issued Orders to Show Cause concerning the merits of the allegations against the

 Respondents. 58 DSMF ¶ 70; PRDSMF ¶ 70. The Respondents were not permitted to


 55      The Petitioner admits that the Respondents did not take any depositions during the
 investigation or the order-to-show-cause proceedings but denies that the Respondents did not take any
 depositions during this litigation, and states that defense counsel “deposed multiple witnesses during
 discovery in this litigation.” PRDSMF ¶ 84 (citing FERC Dep; DSMF, Attach. 25, Alley Dep. (ECF No.
 136-25); DSMF, Attach. 26, Butte Dep. (ECF No. 136-26); DSMF, Attach. 27, Fuller Dep. (ECF No. 136-
 27)). The Court amended the Respondents’ paragraph 84 to clarify the period during which the
 Respondents did not take depositions.
 56      The Respondents’ paragraph 69 states in part that “[t]he Defendants are not aware of any
 additional fact-finding conducted by FERC Enforcement or FERC after FERC issued the Orders to
 Show Cause.” DSMF ¶ 69. The Petitioner admitted this assertion, PRDSMF ¶ 69, so the Court
 amended it from one of the Respondents’ belief to one of fact.
 57       In Respondents’ paragraph 69, the Respondents also stated that “Defendants are not aware
 of any additional fact-finding conducted by them (namely Enforcement or FERC) after FERC issued
 Orders to Show Cause that was cited by FERC in the Orders Assessing Penalties.” DSMF ¶ 69. The
 Petitioner denies, however, that the Respondents were not aware that “the Commission engaged in
 fact finding after the Commission issued the Proposed Penalty Orders because the Commission’s
 August 29, 2013 Assessment Orders reflect that the Commission made findings of fact based on the
 record evidence presented to it by the parties in their written submissions during the on-the-record
 adjudicatory show cause proceedings.” Id. The Court views the dispute as factual in nature and is
 required to view the evidence in the light most favorable to the Respondents. The Petitioner’s denial
 of the Respondents’ paragraph 69 is affirmed and the statement is amended accordingly. The Court
 altered the statement from one that describes what the Respondents knew or did not know to one of
 fact.
 58      The Petitioner “admits that the Respondents did not receive a live hearing (as opposed to a
 paper hearing) during the adjudicative order-to show-cause proceedings” but denies “that there was
 no hearing before a ‘neutral impartial decision-maker’” as unsupported by the cited record. PRDSMF
 ¶ 70. The Court altered the Respondents’ paragraph 70 to include the reference to paper hearing
 because it is required to view contested facts in the light most favorable to the nonmovant. The Court
 amended the Respondents’ paragraph 70 to acknowledge that whether the decisionmaker was neutral
 and impartial is a contested conclusion, and the Court altered paragraph 70 to confirm that the
 Respondents’ position is that the decisionmaker was neither neutral nor impartial.

                                                      31
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 32 of 94                          PageID #: 6141



 meet ex parte with the FERC Commissioners and their staff concerning the merits of

 the claims asserted against Respondents after the commencement of the order-to-

 show-cause proceedings as the Commission’s regulations prohibit any party to a

 contested on-the-record proceeding, including an order-to-show-cause proceeding,

 from engaging in ex parte contacts with the Commission. 59 DSMF ¶ 71; PRDSMF ¶

 71.

         In their written submissions, the Respondents could only cite evidence from

 the investigation that had been developed by Enforcement to prosecute the case

 against the Respondents and that had been disclosed by Enforcement, and could only

 cite answers to deposition questions asked by Enforcement outside the presence of

 the Respondents or their counsel or witnesses who had incentive to deflect

 responsibility from themselves to the Respondents. 60 DSMF ¶ 72; PRDSMF ¶ 72. 61

                         f.      Orders Assessing Penalties


 59       The Petitioner denies that the Respondents were not permitted to meet with the FERC
 Commissioners and their staff at any time, “because no regulation prohibited Respondents from
 making a written request during the Enforcement investigation . . ..” PRDSMF ¶ 71. The Petitioner
 also denies the statement “as to the time period covered by the adjudicatory order-to-show-cause
 proceedings” but does not offer specific record support for this denial. Id. The Petitioner further states
 that FERC regulations “prohibit any party to a contested on-the-record proceeding . . . from engaging
 in ex parte contacts with the commission”, and that FERC regulations allow “a party to a contested-
 on-the-record proceeding . . . to file a motion for relief to toe Commission at any time during the
 proceeding.” Id. The Court views the dispute over the Respondents’ paragraph 71 as factual and
 must view the facts in the light most favorable to the Respondents. The Petitioner’s denial is affirmed,
 and the Respondents’ statement is accordingly amended.
 60       The Petitioner denies the Respondents’ paragraph 72 “because no rules of evidence governed
 the order-to-show-cause proceedings” and “because the Commission’s Rules of Practice and Procedure
 governing adjudicatory proceedings before the Commission . . . specifically provide that a Respondents’
 answer must include ‘documents that support the facts in the answer in possession of, or otherwise
 attainable by Respondents, including, but not limited to, contracts and affidavits.” PRDSMF ¶ 72
 (citing 18 C.F.R. § 385.215(c)(4)(2012)). The Petitioner further notes that the Respondents never made
 a request via motion for discovery during the proceedings. PRDSMF ¶ 72. The Court views the
 Petitioner’s denial as not directly responsive to the Respondents’ statement. The denial is overruled.
 61       The Respondents’ paragraph 73 states “Defendants perceived that they received less process
 after FERC issued its Orders to Show Cause than they received before that time.” DSMF ¶ 73. The

                                                        32
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 33 of 94                          PageID #: 6142



         On August 29, 2013, FERC issued Orders Assessing Penalties against the

 Respondents. DSMF ¶ 74; PRDSMF ¶ 74.                     FERC had control over its docket and

 could decide how long to take to issue a decision, and thus it was within its control

 whether to take over a year from July 17, 2012, when FERC issued the Orders to

 Show Cause, until August 29, 2013, when FERC issued the Orders Assessing

 Penalties. DSMF ¶ 75; PRDSMF ¶ 75.                  During that period, the Respondents and

 Enforcement each moved for an enlargement of time of approximately thirty days,

 and each extension was granted by the Commission. 62 Id. Other than requesting

 and receiving additional time to respond to Enforcement’s Preliminary Findings and

 Proposed Penalty Orders, the Respondents did not have any control or input over

 when FERC issued its Orders Assessing Penalties, or when FERC issued its earlier

 Orders to Show Cause, or when Enforcement issued its earlier preliminary findings

 and conclusions, or when Enforcement recommended to FERC that it issue its Orders

 to Show Cause. 63 DSMF ¶ 76; PRDSMF ¶ 76.


 Petitioner denies the Respondents’ paragraph 73 “because Petitioner has no way to know what
 Respondents’ ‘perceived’ . . .” and because defense counsel states in his declaration what he perceived,
 not what the Respondents perceived. PRDSMF ¶ 73. What the Defendants or their lawyer perceived
 about the extent of due process afforded them at varying times is neither material nor relevant to the
 legal issues before the Court. Although due process is flexible, it cannot turn on the perceptions of the
 litigants or their attorneys, but on what is legally required. Whether the Respondents in fact received
 more or less due process during various phases is a question of fact, not of perception. The Court
 declines to include the Respondents’ paragraph 73.
 62        The Petitioner interposes a qualified response to the Respondents’ paragraph 75, noting that
 both FERC Enforcement and the Respondents filed motions for enlargement of time during this period.
 To ensure that the Respondents’ statement is not misleading, the Court amended it to include the
 Petitioner’s qualification in part. The Petitioner also details other considerations of the Commission’s
 workload in its qualification, which the Court views as not directly responsive to the Respondents’
 paragraph 75 and the Court declines to include.
 63       In response to the Respondents’ paragraph 76, the Petitioner interposes a qualification, stating
 that the Respondents “requested and received additional time to respond to Enforcement’s Preliminary
 Findings and requested and received additional time to respond to the Commission’s Proposed Penalty
 Orders . . .” PRDSMF ¶ 76. The Court amended the Respondents’ paragraph 76 to include the
 qualification.

                                                        33
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 34 of 94                          PageID #: 6143



         Enforcement did not provide the Respondents with all the information it

 obtained as part of its investigation of the Respondents before FERC issued the

 Orders Assessing Penalties. 64 DSMF ¶ 77; PRDSMF ¶ 77. Although the Respondents

 could have requested discovery, the Respondents did not have the right to conduct

 discovery at any point prior to the time FERC issued the Orders Assessing

 Penalties. 65 DSMF ¶ 78; PRDSMF ¶ 78. Although the Respondents could have

 requested discovery, the Respondents also did not have the right to serve document

 requests on FERC or to compel Enforcement to disclose what it had obtained as part

 of its investigation at any time before FERC issued the Orders Assessing Penalties.66

 DSMF ¶ 79; PRDSMF ¶ 79. Both before and after FERC issued its Orders to Show

 Cause, the Respondents did not serve any interrogatories on FERC. 67 DSMF ¶ 80;

 PRDSMF ¶ 80.          Although the Respondents could have requested discovery, the

 Respondents did not have the right to serve interrogatories on FERC at any time




 64      The Petitioner admits the Respondents’ paragraph 77 “but denies the suggestion that
 Petitioner did not provide relevant or material information to Respondents at all relevant times.”
 PRDSMF ¶ 77. The Petitioner’s qualification is not factual but argument about proper inferences from
 the facts. The Court declines to include it.
 65      The Petitioner admits the Respondents’ paragraph 78 in part but “denies the suggestion that
 Respondents could not have requested such discovery, as the Commission’s Rules of Practice and
 Procedure permit parties to contested . . . proceedings . . . to file motions for relief to the Commission
 at any time during the proceedings. . .” PRDSMF ¶ 78. To make the record accurate, the Court
 included the Petitioner’s statement that the Respondents could have requested discovery, even though
 the Respondents correctly state that they did not have the right to discovery.
 66      In response to the Respondents’ paragraph 79, the Petitioner “denies the suggestion that the
 Respondents’ could not have requested such discovery.” PRDSMF ¶ 79. As with paragraph 78, to
 make the record accurate, the Court amended the Respondents’ paragraph 79 to reflect that they could
 have requested discovery, even though they did not have the right to discovery.
 67      In response to the Respondents’ paragraph 80, the Petitioner “denies the suggestion” that the
 Respondents’ could not have requested such discovery. PRDSMF ¶ 80. The Court just clarified that
 the Respondents could have requested discovery. DSMF ¶¶ 78-79; PRDSMF ¶¶ 78-79. The only
 asserted fact here is that the Respondents did not actually serve any interrogatories on Petitioner.
 The Court overrules the Petitioner’s qualified response.

                                                        34
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 35 of 94                        PageID #: 6144



 before FERC issued the Orders Assessing Penalties. 68 DSMF ¶ 81; PRDSMF ¶ 81.

 Although the Respondents could have requested discovery, they did not have the right

 to serve third party subpoenas at any time before FERC issued the Orders Assessing

 Penalties. 69 DSMF ¶ 82; PRDSMF ¶ 82. Although the Respondents could have

 requested discovery, the Respondents did not have the right to compel the production

 or preservation of any documents from any third parties at any time before FERC

 issued the Orders Assessing Penalties. 70               DSMF ¶ 83; PRDSMF ¶ 83.                   The

 Respondents did not have the right to notice testimony of any third-party witness at

 any time before FERC issued the Orders Assessing Penalties. 71                        DSMF ¶ 85;

 PRDSMF ¶ 85.          Although the Respondents could have requested discovery, the

 Respondents did not have the right to compel testimony or an interview with any

 third-party witness before FERC issued the Orders Assessing Penalties. 72 DSMF ¶



 68       The Petitioner puts forth the same response to the Respondents’ paragraph 81 as it does to the
 Respondents’ paragraphs 78 and 79. For the reasons stated above, the Court amends the Respondents’
 paragraph 81 to reflect the fact that they could have requested discovery but did not have a right to
 discovery. See supra note 66-67.
 69       See supra note 66-67.
 70       See supra note 66-67.
 71       The Petitioner denies the Respondents’ paragraph 85 as unsupported by the cited record
 materials, because it argues that the Brann Declaration is inadmissible, and that Petitioner’s response
 to RFA ¶ 51, cited in support of the Respondents’ statement, states that the Respondents “did not have
 the right to notice or take testimony of any witness during Enforcement’s investigation under Part 1b
 of the Commission’s regulations, and that the Commission’s regulations do not provide discovery as a
 matter of right during order-to-show-cause proceedings.” PRDSMF ¶ 85 (citing DSMF, Attach. 2,
 FERC FRA Resp. (ECF No. 136-2)).
          The Court finds the Respondents’ paragraph 85 adequately supported by the cited record and
 overrules the Petitioner’s denial. See supra note 9. Unlike the Petitioner’s other responses, here the
 Petitioner does not claim that the Respondents could have requested permission to notice the
 testimony of third party witnesses. PRDSMF ¶ 85. Instead it states that the Respondents do not cite
 any statutes or regulations that would have prohibited them from doing so. The Court overrules the
 Petitioner’s denial because Respondents’ paragraph 85 is adequately supported by the record and the
 Petitioner’s denial is not.
 72       The Petitioner admits that “the Commission’s regulations do not provide discovery as a matter
 of right during order-to-show-cause proceedings . . . but denies the suggestion that Respondents could
 not have requested such discovery . . . as the Commission’s Rules of Practice and Procedure permit

                                                      35
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 36 of 94                          PageID #: 6145



 86; PRDSMF ¶ 86.

         In or around February 2009, Enforcement staff requested the testimony of Dr.

 Richard Silkman in its investigations of certain DALRP participants. PSAMF ¶ 2;

 DRPSAMF ¶ 2. Enforcement staff could have compelled Dr. Silkman’s testimony

 only after (a) receiving the Commission’s authorization to convert its investigation to

 formal status under 18 C.F.R. § 1b.5, (b) issuing a subpoena for Dr. Silkman’s

 testimony, and (c) if Dr. Silkman refused to comply with the subpoena, successfully

 seeking to have the subpoena enforced by a federal judge, 18 C.F.R. § 1b.15, none of

 which FERC Enforcement staff did in this instance. Id. The Commission was neither

 asked to pay, nor paid, Dr. Silkman’s travel expenses in appearing to testify. Id.

 FERC Enforcement set the location for the deposition in Washington, D.C., rather

 than Maine, and then informed Dr. Silkman’s counsel on several occasions that the

 Defendants’ “cooperation” would be taken into account in determining how to

 proceed. 73 Id.

         The Respondents produced in discovery in this litigation a joint defense

 agreement entered into between CES and Rumford effective March 19, 2009,

 concerning FERC’s investigation of Rumford’s participation in the ISO-NE DALRP.

 PSAMF ¶ 3; DRPSAMF ¶ 3.

         Dr. Silkman provided draft answers to Rumford or its counsel to data requests




 parties . . . to file motions for relief . . .” PRDSMF ¶ 86. Consistent with its prior rulings, the Court
 amends the Respondents’ paragraph 86. See supra note 66-67.
 73      The Respondents interpose a qualified response to the Petitioner’s paragraph 2, providing
 further details surrounding Dr. Silkman’s deposition. The Court amended the Petitioner’s statement
 to include this additional context.

                                                        36
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 37 of 94                      PageID #: 6146



 served on Rumford by Enforcement staff during Enforcement’s investigation of

 Rumford’s participation in the DALRP. 74 PSAMF ¶ 4; DRPSAMF ¶ 4.

        Although the Respondents question whether the so-called preliminary findings

 were in fact preliminary, Enforcement staff sent a Preliminary Findings Letter to

 CES on November 23, 2009, explaining Enforcement’s preliminary conclusion that

 CES had committed fraud in violation of the Commission’s Anti-Manipulation Rule,

 as well as the factual and legal bases for this conclusion. 75 PSAMF ¶ 5; DRPSAMF

 ¶ 5. In the letter, Enforcement staff initially asked for a response within three weeks

 from the date of the letter.         Id.   Enforcement staff subsequently provided CES

 additional time, until January 8, 2012, to respond to the November 23, 2009

 Preliminary Findings Letter to CES. Id.

        Again, although the Respondents question whether the so-called preliminary

 findings were in fact preliminary, Enforcement staff sent a Preliminary Findings

 Letter to Dr. Silkman on April 19, 2010, explaining Enforcement’s preliminary

 conclusion that Dr. Silkman had committed fraud in violation of the Commission’s

 Anti-Manipulation Rule, as well as the factual and legal bases for this conclusion.

 PSAMF ¶ 6; DRPSAMF ¶ 6. In the letter, Enforcement staff initially asked for a

 response by May 3, 2010. Enforcement staff subsequently provided Dr. Silkman with

 additional time, until May 20, 2010, to respond to the April 19, 2010 Preliminary



 74      The Respondents pose a qualification to the Petitioner’s statement, stating that Dr. Silkman
 responded to some, but not all, of the data requests, but they fail to provide a record citation. The
 Court declines to include the qualification.
 75      The Respondents admit that Petitioner labeled the letter a Preliminary Findings Letter, but
 they deny that the findings were in fact preliminary. PSAMF ¶ 5; DRPSAMF ¶ 5. The Court qualified
 the Petitioner’s additional paragraph 5 to reflect the Respondents’ skepticism.

                                                     37
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 38 of 94                      PageID #: 6147



 Findings Letter to Dr. Silkman. Id.

        As stated in the May 2008 Policy Statement on Enforcement, the purpose of

 preliminary findings issued by Enforcement staff is to allow the subject of an

 investigation to understand Enforcement staff’s position and to provide an

 opportunity for the subject to respond with argument or evidence if it believes

 Enforcement staff’s position is incorrect, thereby allowing Enforcement staff to

 change its position before reaching its final conclusions should they be persuaded by

 the subject’s response. 76 PSAMF ¶ 7; DRPSAMF ¶ 7.

        On April 29, 2010, Enforcement staff sent Respondents’ counsel a letter that

 was later countersigned by the Respondents and their counsel, which, in part, stated:

 (a) “Staff believes that disclosure of certain documents will facilitate CES’s

 understating of the investigation and Constellation NewEnergy, Inc.’s (CNE)

 purported knowledge of Rumford’s baseline period generation curtailment,” (b)

 “However, all of the information was obtained as part of a non-public investigation

 and the information is confidential in nature under section 1b.9 of the Commission’s

 regulations. 18 C.F.R. § 1b.9 (2009),” (c), “CNE also believes that the information

 includes non-public and confidential commercial information,” (d) “Nevertheless,

 Enforcement has obtained permission from CNE and counsel to Ms. Amy Richard,

 Mr. Peter Kelly-Detwiler, and Mr. Bruce McLeish to release relevant portions of all



 76      The Respondents interpose a qualification, reciting verbatim the entire Revised Policy
 Statement on Enforcement (ECF No. 137-6). DRPSAMF ¶ 7. The Petitioner’s statement provides an
 accurate summary of the Policy Statement, and the Respondents have not explained why any word
 differences between Petitioner’s additional paragraph 7 and the quoted Policy Statement matter. The
 Court declines to accept the Respondents’ qualification and deems Petitioner’s additional paragraph 7
 admitted.

                                                     38
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 39 of 94                       PageID #: 6148



 deposition transcripts and affidavits of CNE employees as well as other narrative

 data request responses from CNE involving CNE’s knowledge of Rumford’s

 operations, subject to the restrictions in this letter,” and (e),

        In order to maintain the non-public nature of this investigation and the
        materials obtained as part of the investigation, we will require CES to agree
        that these documents, and this letter, will be used only by the CES attorneys
        working on this matter, and, for purposes of review, shown only to fellow
        signatories to the attachment.

 PSAMF ¶ 8; DRPSAMF ¶ 8. The letter contained signature lines for Dr. Silkman,

 Mark Isaacson, Attorney Brann, and any Brann & Isaacson attorneys or employees

 working on the matter.          Id.   Respondents’ counsel could have asked that other

 signatories be added to the letter. Id. The letter stated that both the documents and

 the letter “will be used only by the CES attorneys working on this matter,” and that

 “[a]t no time shall CES or the other signatories to the attachment permit further

 dissemination of these documents, including to any other subject of the investigation.

 Id. The letter only came after the Respondents specifically requested that principals

 of CES and co-counsel be permitted to see the materials FERC had initially forbidden

 them to see. 77 Id.

        On November 15, 2010, Enforcement staff served a second set of data requests

 on CES via counsel for CES. The second set of data requests consisted of five request

 items and asked for a response by November 29, 2010. PSAMF ¶ 9; DRPSAMF ¶ 9.

 CES, through counsel, provided a four-page written response to the second set of data

 request on November 29, 2010. Id. In addition, certain attachments to the response


 77     The Respondents interpose a qualified response to the Petitioner’s statement of additional
 material fact ¶ 8, which the Court included to supply additional context to the April 29, 2010 letter.

                                                      39
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 40 of 94                          PageID #: 6149



 were sent on disk and received by Enforcement staff on December 1, 2010. Id.

         The Commission issued an Order to Show Cause and Notice of Proposed

 Penalty to Rumford on July 17, 2012 and commenced a proceeding against Rumford. 78

 PSAMF ¶ 10; DRPSAMF ¶ 10. In accordance with the Commission’s Separation of

 Function Rule, 18 C.F.R. § 385.2202, and the Commission’s ex parte rule, 18 C.F.R. §

 385.2201, following issuance of the Order to Show Cause and Notice of Proposed

 Penalty to Rumford, the Commission issued a notice in the docketed proceeding on

 July 26, 2012 identifying decisional and non-decisional staff.                        PSAMF ¶ 11;

 DRPSAMF ¶ 11.

         On September 6, 2012, Enforcement staff who participated in the investigation

 of Rumford and received a settlement offer from Rumford obtained a written waiver

 from Rumford of the provisions of 18 C.F.R. § 385.2202 and 18 C.F.R. § 385.2201 to

 consult with the Commission and Commission decisional staff for purposes of

 exploring potential settlement with Rumford. 79                PSAMF ¶ 12; DRPSAMF ¶ 12.

 Enforcement staff neither asked for or received waivers from Respondents to engage

 in what Respondents view as ex parte discussions with the FERC Commissioners

 regarding Rumford’s DALRP participation, an issue that the Respondents view as

 being at the heart of the pending claims against them. Id.


 78      In response to the Petitioner’s statement of additional material fact ¶ 10, the Respondents
 interpose a qualification, noting that “[t]he referenced exhibit does not refer to a ‘docketed show cause
 proceeding’ or even a ‘show cause proceeding.” DRPSAMF ¶ 10. The Court agrees that the phrase is
 not included in the record citation and omits it from the Petitioner’s statement.
 79      The Respondents interpose a qualified response to the Petitioner’s statement of additional
 material fact ¶ 12, noting that “[w]hether or not FERC Enforcement received a waiver from Rumford,
 it neither asked for nor received any such waiver from CES or Silkman to continue to engage in ex
 parte discussions with the FERC Commissioner’s regarding Rumford’s DALRP participation.”
 DRPSAMF ¶ 12. The Court amended Petitioner’s additional paragraph 12 to reflect this fact.

                                                        40
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 41 of 94                          PageID #: 6150



         Although Respondents believe otherwise, consistent with the Commission’s

 Policy Statement on Disclosure of Exculpatory Materials, 129 FERC ¶ 61,248 (2009),

 Enforcement staff provides subjects of Enforcement investigations under Part 1b of

 the Commission’s regulations with all potentially exculpatory materials obtained

 during Enforcement’s investigation. 80 PSAMF ¶ 13; DRPSAMF ¶ 13.

         Enforcement staff submitted to the Commission in paper form Enforcement’s

 Staff Report and Recommendations together with Respondents’ joint seventy-nine-

 page written response provided by Respondents to Enforcement staff pursuant to 18

 C.F.R. § 1b.19. 81 PSAMF ¶ 14; DRPSAMF ¶ 14.

         B.      Statement of Facts: FERC’s Partial Motion for Summary
                 Judgment

                 1.      Organization, Powers, and Rulemaking Authority

         The Commission is an administrative agency of the United States, organized

 and existing as an independent, bipartisan Commission. PSMF ¶ 1; DRPSMF ¶ 1.

 A majority of the Commission determines its actions, with three members of the

 Commission constituting a quorum for the transaction of business. 82 PSMF ¶ 2;



 80       The Respondents deny the Petitioner’s statement of additional material fact paragraph 13,
 citing other statements of material fact. The Court noted the Respondents’ skepticism but is required
 to view contested facts in the light most favorable to the nonmovant.
 81       The Respondents request to strike the Petitioner’s additional statement of material fact
 because its only cited record support is Attorney Anas’ declaration. The Court resolved this dispute
 and will not strike the affidavit or the Petitioner’s statement of additional fact ¶ 14. See supra note 9.
 With regard to the Respondents’ qualification, the Court considers the dispute an issue of fact, and
 must view disputed facts in the light most favorable to the non-moving party. The Court, therefore,
 declines to include the Respondents’ qualification.
 82       The Respondents interpose a qualification to the Petitioner’s statement, noting that the
 “characterization that the Commission ‘acts through orders’ is not supported by the record citations.”
 DRPSMF ¶ 2. The cited record states that “Actions of the Commission shall be determined by a
 majority vote of the members present.” Anas Decl., Attach. 45, Exhibit 42 U.S.C. § 7171 (2016) (ECF
 No. 137-45). The Court changed the Petitioner’s statement to track the cited statutory language.

                                                        41
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 42 of 94                     PageID #: 6151



 DRPSMF ¶ 2. The Federal Power Act (FPA) §§ 307 et seq. authorizes the Commission

 to conduct investigations. PSMF ¶ 3; DRPSMF ¶ 3. Section 307(a) provides that

 “[t]he Commission may permit any person, electric utility, transmitting utility, or

 other entity to file with it a statement in writing under oath or otherwise, as it shall

 determine, as to any or all facts and circumstances concerning a matter which may

 be the subject of investigation.” PSMF ¶ 4; DRPSMF ¶ 4. FPA § 307(b) provides that:

        For the purpose of any investigation or any other proceeding under this
        Act, any member of the Commission, or any officer designated by it, is
        empowered to administer oaths and affirmations, subpoena witnesses,
        compel their attendance, take evidence, and require the production of
        any books, papers, correspondence, memoranda, contracts, agreements,
        or other records which the Commission finds relevant or material to the
        inquiry.

 PSMF ¶ 5; DRPSMF ¶ 5. Section 308 authorizes the Commission to conduct hearings

 but does not require the Commission to do so, and no hearing was conducted in this

 case. 83 PSMF ¶ 6; DRPSMF ¶ 6.

        Congress described the Commission’s authority:

        In carrying out any of its functions, the Commission shall have the
        powers authorized by the law under which such function is exercised to
        hold hearings, sign and issue subpoenas, and receive evidence at any
        place in the United States it may designate The Commission may, by
        one or more of its members or by such agents as it may designate,
        conduct any hearing or other injury necessary or appropriate to its
        functions, except that nothing in this subsection shall be deemed to
        supersede the provisions of section 556 of title 5 relating to hearing
        examiners.

 42 U.S.C. §7171(g) (2012). PSMF ¶ 7; DRPSMF ¶ 7.

 83      Petitioner’s paragraph 6 merely states: “FPA § 308 authorizes the Commission to conduct
 hearings.” PSMF ¶ 6. The Respondents interpose a qualified response to the Petitioner’s paragraph
 6, noting that “[w]hile FPA § 308 authorizes the Commission to conduct hearings, it does not require
 the Commission to conduct hearings, and no hearing was conducted in this case.” DRPSMF ¶ 6. The
 Court included the qualification to provide context for this case.

                                                     42
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 43 of 94                       PageID #: 6152




        FPA § 308(b) requires that:

        All hearings, investigations, and proceedings under this Act shall be
        governed by rules of practice and procedure to be adopted by the
        Commission, and in the conduct thereof the technical rules of evidence
        need not be applied. No informality in any hearing, investigation, or
        proceeding or in any manner of taking testimony shall invalidate any
        order, decision, rule, or regulation issued under the authority of this
        chapter. 84

 16 U.S.C. § 825g(b) (2012). PSMF ¶ 8; DRPSMF ¶ 8.

        FPA § 309 further grants the Commission:

        The power to perform any and all acts, and to prescribe, issue, make,
        amend, and rescind such orders, rules, and regulations as it may find
        necessary or appropriate to carry out the provisions of this chapter.
        Among other things, such rules and regulations may define accounting,
        technical, and trade terms used in this Act; and may prescribe the form
        or forms of all statements, declarations, applications, and reports to be
        filed with the Commission, the information they contain, and the time
        within which they shall be filed. Unless a different date is specified
        therein, rules and regulations of the Commission shall be effective thirty
        days after publication in the manner which the Commission shall
        prescribe. Orders of the Commission shall be effective on the date and
        in the manner which the Commission shall prescribe. 85

 16 U.S.C. § 825h (2012). PSMF ¶ 9; DRPSMF ¶ 9.

        Congress provided the Commission with the authority to establish rules and

 procedures:

        The Commission is authorized to establish such procedural and
        administrative rules as are necessary to the exercise of its functions.
        Until changed by the Commission, any procedural and administrative
        rules applicable to particular functions over which the Commission has

 84      The Respondents interpose a qualified response to the Petitioner’s paragraph 8, noting that
 the record citation uses the term “chapter” instead of “Act.” See Anas Aff., Attach. 47, Exhibit 17
 U.S.C. § 825g (ECF No. 137-47). The Court amended the Petitioner’s paragraph 8 accordingly.
 85      The Respondents interpose the same qualified response to the Petitioner’s paragraph 9 as they
 did to paragraph 8, noting that the record citation uses the term “chapter” instead of “Act.” See Anas
 Aff., Attach. 47, Exhibit 17 U.S.C. § 825g (ECF No. 137-47). The Court amended the Petitioner’s
 paragraph 9 accordingly.

                                                      43
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 44 of 94                      PageID #: 6153



        jurisdiction shall continue in effect with respect to such particular
        functions.

 42 U.S.C. § 7171. PSMF ¶ 10; DRPSMF ¶ 10. The Commission codified Rules

 Relating to Investigations at 18 C.F.R. Part 1b and Rules of Practice and Procedure

 at 18 C.F.R. Part 385. PSMF ¶ 11; DRPSMF ¶ 11.

                2.      Civil Penalty Authority

        FPA § 316A authorizes the Commission to levy civil penalties for violations of

 Part II of the Act—which includes the prohibition of energy market manipulation, §

 222, 16 U.S.C. § 824v(a)—or “of any rule or order thereunder.” 16 U.S.C. § 825o-1

 (2012). 86 PSMF ¶ 12; DRPSMF ¶ 12. The FPA requires that the Commission assess

 such penalties, after “notice and opportunity for public hearing, in accordance with

 the same provisions as are applicable under section 823b(d) in the case of civil

 penalties assessed under section 823b.” 87 PSMF ¶ 13; DRPSMF ¶ 13. FPA § 31(d)

 sets out two applicable provisions, or paths that the proceeding can take at the

 election of the respondent: (1) the “default” procedure enunciated in § 31(d)(2), under

 which the Commission shall provide a hearing before an ALJ, or (2) an alternative

 process under § 31(d)(3), whereby the Commission shall assess a penalty, and then

 institute an action in the appropriate U.S. district court for an order of affirmance,

 during which resulting proceeding the district court is able to review de novo the law




 86      The Respondents again interpose a qualified response noting that the record citation uses the
 term “chapter” instead of “Act”. Again, the Court made the change.
 87      The Respondents interpose a qualification to the Petitioner’s paragraph 13, noting that the
 record citation references section 823b(d), not section 31. The Court agrees that the Respondents’
 qualification is correct and amended the statement accordingly.

                                                     44
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 45 of 94                       PageID #: 6154



 and facts involved. 88 16 U.S.C. § 823b(d)(1) (2012). PSMF ¶ 14; DRPSMF ¶ 14.

 Regardless of whether a respondent elects the procedures under § 31(d)(2) or under §

 31(d)(3), the Commission is required by statute to assess a penalty “by order.” 16

 U.S.C. §§ 823b(d)(2)(A) & 823b(d)(3)(A). PSMF ¶ 15; DRPSMF ¶ 15.

        When assessing and imposing penalties, the Commission must consider and

 apply statutorily-prescribed criteria, namely, “the seriousness of the violation and the

 efforts of such person to remedy the violation in a timely manner.” 89 PSMF ¶ 16

 (quoting 16 U.S.C. § 825o-1(b)(2012)); DRPSMF ¶ 16. If a civil penalty has not been

 paid within 60 calendar days after an order assessing the civil penalty has been made

 under § 31(d)(3)(A), “the Commission shall institute an action in the appropriate

 district court of the United States for an order affirming the assessment of the civil

 penalty. The court shall have authority to review de novo the law and the facts

 involved, and shall have jurisdiction to enter a judgment enforcing, modifying, and

 enforcing as so modified, or setting aside in whole or in [p]art such assessment.” 90

 PSMF ¶ 17 (quoting 16 U.S.C. § 823b(d)(3)(B)); DRPSMF ¶ 17. Pursuant to the FPA,

 this Court has authority to “review de novo the law and the facts involved and . . .




 88      The Respondents interpose a qualified response to the Petitioner’s paragraph 14, replacing the
 phrase “an alternative process under FPA section 31(d)(3) that affirmatively foregoes the ALJ hearing”
 with a more accurate description of the record citation. DRPSMF ¶ 14. The Court finds the language
 in Petitioner’s paragraph 14 to be unsupported by its record citation and amended the statement to
 include the Respondents’ qualification.
 89      The Respondents interpose a qualification to the Petitioner’s paragraph 16, stating that
 “[a]lthough the cited statute requires FERC to consider such statutorily-prescribed criteria,
 Defendants dispute that FERC actually did so.” DRPSAMF ¶ 16. The Respondents offer no record
 support for this contention, and the Court declines to include the qualification.
 90      The Respondents offer a qualification to the Petitioner’s paragraph 17, providing the
 remainder of the relevant provision. DRPSAMF ¶ 17. The Court declines to include as the Petitioner’s
 paragraph 18 includes the remainder of the provision.

                                                      45
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 46 of 94          PageID #: 6155



 jurisdiction to enter a judgment enforcing, modifying, and enforcing as so modified,

 or setting aside in whole or in [p]art, such assessment.” Id. PSMF ¶ 18 (quoting 16

 U.S.C. § 823b(d)(3)(B)(2012)); DRPSMF ¶ 18.

              3.     Commission Regulations Regarding Investigations

       The Commission’s rules relating to investigations are set forth in Part 1b of

 the Commission’s regulations.      PSMF ¶ 19; DRPSMF ¶ 19.            Enforcement is

 authorized to initiate and conduct investigations relating to any matter subject to the

 Commission’s jurisdiction. PSMF ¶ 20 (citing 18 C.F.R. § 1b.3 (2008) & 18 C.F.R. §

 375.311 (2008)); DRPSMF ¶ 20.        Section 1b.7 of the Commission’s regulations

 provides:

       Where it appears that there has been or may be a violation of any of the
       provisions of the acts administered by the Commission or the rules,
       opinions or orders thereunder, the Commission may institute
       administrative proceedings, initiate injunctive proceedings in the
       courts, refer matters, where appropriate, to the other governmental
       authorities, or take other appropriate action.

 PSMF ¶ 21 (quoting 18 C.F.R. § 1b.7 (2012)); DRPSMF ¶ 21. All information and

 documents received during an investigation, as well as the existence of an

 investigation, are treated by regulation as non-public and confidential, “except to the

 extent that (a) the Commission directs or authorizes the public disclosure of the

 investigation; (b) the information or documents are made a matter of public record

 during the course of an adjudicatory proceeding; or (c) disclosure is required by the

 Freedom of Information Act, 5 U.S.C. 552.” PSMF ¶ 22 (quoting 18 C.F.R. § 1b.9

 (2008)); DRPSMF ¶ 22.

       The Commission’s regulations provide: “There are no parties, as that term is

                                              46
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 47 of 94                       PageID #: 6156



 used in adjudicative proceedings, in an investigation under this part and no person

 may intervene or participate as a matter of right in any investigation under this part.”

 PSMF ¶ 23 (quoting 18 C.F.R. § 1b.11 (2008)); DRPSMF ¶ 23. Section 1b.16 of the

 Commission’s regulations addresses the rights of witnesses during an investigation.

 Id.   This section provides that a witness or subject of an investigation may be

 accompanied, represented, and advised by counsel.                    Id.    However, 18 C.F.R.

 §1b.16(c)(4) states:

        The Investigating Officer shall take all necessary action to regulate the
        course of the proceeding to avoid delay and prevent or restrain
        obstructionist or contumacious conduct or contemptuous language. Such
        officer may report to the Commission any instances where an attorney
        or representative has refused to comply with his directions, or has
        engaged in obstructionist or contumacious conduct or has used
        contemptuous language in the course of the proceeding. The
        Commission may thereupon take such further action as the
        circumstances may warrant, including suspension or disbarment of
        counsel from further appearance or practice before it, in accordance with
        § 385.2101 of this chapter, or exclusion from further participation in the
        particular investigation.

 18 C.F.R. § 1b.16 also requires the sequestration of witnesses during an investigation.

 It further states that “[n]o witness or the counsel accompanying any such witness

 shall be permitted to be present during the examination of any other witness called

 in such proceeding.” 91 PSMF ¶ 24; DRPSMF ¶ 24.

        The Commission’s regulations provide that “[a]ny person may, at any time

 during the course of an investigation, submit documents, statements of facts or




 91      The Respondents interpose a qualified response to the Petitioner’s paragraph 24, noting
 limitations on the right of a witness to have counsel present set forth in the regulation cited by the
 Petitioners. DRPSMF ¶ 24. The Court included the additional language of the regulation to provide
 additional detail on FERC’s procedures regarding the right to counsel.

                                                      47
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 48 of 94                       PageID #: 6157



 memoranda of law for the purpose of explaining said person’s position or furnishing

 evidence which said person considers relevant regarding the matters under

 investigation.” PSMF ¶ 25; DRPSMF ¶ 25. The Commission noted in a May 2008

 Policy Statement on Enforcement that the Commission’s regulations allow the

 subject of an investigation to submit, in writing, any information or evidence directly

 to the Commissioners themselves at any time during the investigation. PSMF ¶ 26;

 DRPSMF ¶ 26. Neither the policy statement nor the rule regarding investigations

 places a page limit on such submissions nor requires any rules of evidence to apply.

 Id.

        If Enforcement preliminarily concludes that a subject committed a violation,

 Enforcement’s practice pursuant to official Commission policy is to inform the subject

 of its preliminary conclusions, including both the relevant facts and legal theories,

 explain the evidence on which it relied, and invite the subject to respond. 92 PSMF ¶

 27; DRPSMF ¶ 27. If Enforcement determines to recommend to the Commission that

 an entity be made the subject of a proceedings governed by part 385 of this chapter,

 or that an entity be made a defendant in a civil action to be brought by the

 Commission, Enforcement shall, unless extraordinary circumstances make prompt

 Commission review necessary in order to prevent detriment to the public interest or

 irreparable harm, notify the entity that Enforcement intends to make such a



 92      The Respondents interpose a qualification to the Petitioner’s paragraph 27, highlighting the
 following additional language of the Revised Policy Statement on Enforcement, 123 FERC ¶ 61,156 at
 P 32 (2008): “If staff reaches the conclusion that a violation occurred that warrants sanctions, staff
 shares with the subject of the investigation its views, including both the relevant facts and legal
 theories.” DRPSMF ¶ 27. The Court amended the Petitioner’s paragraph 27 to include the language
 of the Policy Statement not already paraphrased in the Petitioner’s statement.

                                                      48
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 49 of 94                           PageID #: 6158



 recommendation. 93          PSMF ¶ 28; DRPSMF ¶ 28.                   As provided by § 1b.19, an

 enforcement subject may submit its own statement to Enforcement, in the form of a

 non-public response to the 1b.19 Letter, which “may consist of a statement of fact,

 argument, and/or memorandum of law, with such supporting documentation as the

 entity chooses.” PSAMF ¶ 29 (quoting 18 C.F.R. § 1b.19 (2011)); DRPSAMF ¶ 29.

 Enforcement is required to submit the subject’s statement, if timely made, to the

 Commission together with Enforcement’s recommendation. Id. Such statements

 from Enforcement subjects have no page limits and are subject to no rules of

 evidence. 94 Id.

                 4.      Commission Regulations Regarding Proceedings

         Sections 201 through 218 of Part 385 apply, inter alia, to any “pleading” or

 “order to show cause.” 18 C.F.R. § 385.201. PSMF ¶ 30; DRPSMF ¶ 30. Under the

 Commission’s regulations, issuance of an Order to Show Cause commences a

 contested on-the-record proceeding, known as a “show cause proceeding,” which is



 93      The Petitioner’s paragraph 28 states: “If Enforcement and the subject are unable to reach a
 settlement, Enforcement will provide the subject, pursuant to 18 C.F.R. § 1b.19, with a notice (“1b.19
 Letter”) of its intent to recommend to the Commission that the Commission initiate contested on-the-
 record show cause proceedings pursuant to the Commission’s rules for hearings set forth in 18 C.F.R.
 § Part 385.” PSAMF ¶ 28 (citing 18 C.F.R. § 1b.19 (2011)).
         The Respondents deny the Petitioner’s paragraph 28, stating that “The referenced citation
 merely refers to providing notice if the ‘investigating officer’ intends ‘to recommend to the Commission
 that an entity be made the subject of a proceeding governed by part 385 of this chapter,’ which, in turn,
 is a regulation governing ex parte communications when an order to show cause has issued. The
 referenced citation does not refer to ‘contested on-the-record show cause proceedings.’”
         Rather than become enmeshed in the parties’ semantic arguments, the Court quoted the exact
 language of 18 C.F.R. § 1b.19 in place of the parties’ disputed paraphrasing.

 94      The Respondents interpose a qualified response to the Petitioner’s paragraph 29, arguing that
 “[a]lthough Enforcement is required to submit the subject’s statement to the Commission, together
 with Enforcement’s recommendation, there is no reference to such submission on FERC’s privilege log
 provided in this litigation.” The Respondents’ qualification is not directly responsive to the Petitioner’s
 paragraph 28 and the Court declines to include the qualification.

                                                         49
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 50 of 94                         PageID #: 6159



 subject to the Commission’s Rules of Practice and Procedure. 95 PSMF ¶ 31; DRPSMF

 ¶ 31. The Commission’s regulations provide that the statement of matters set forth

 in an order to show cause “is tentative and sets forth issues to be considered by the

 Commission.” PSMF ¶ 32 (citing 18 C.F.R. § 385.209(b)(2012)); DRPSMF ¶ 32.

        Upon the initiation of a show cause proceeding, the Commission’s Separation

 of Functions Rule requires that “no officer, employee, or agent assigned to work upon




 95       The Petitioner’s paragraph 31 reads: “Under the Commission’s regulations, issuance of an
 Order to Show Cause and Notice of Proposed Penalty (‘Proposed Penalty Order’) commences a
 ‘contested on-the-record proceeding,’ known as a ‘show cause proceeding,’ which is subject to the
 Commission’s Rules of Practice and Procedure (18 C.F.R. Part 385).” PSAMF ¶ 31.
          In support of this paragraph, the Petitioner cites Attorney Anas’ February 28, 2018 sworn
 declaration at paragraph 12 and the attached exhibit CCC, which in turn attached 18 C.F.R. §§
 385.201-385.218 (2012). Id. The Petitioner says that § 385.209(a)(2) authorizes the Commission to
 initiate “a proceeding . . . by issuing an order to show cause.” Id. Citing exhibit DDD, which in turn
 attached 18 C.F.R. §§ 385.2201, the Petitioner says the regulations define “any proceeding initiated
 by the Commission on its own motion . . . or any proceeding arising from an investigation under part
 1b of this chapter beginning from the time the Commission initiates a proceeding governed by part
 385 of this chapter” as a “contested on-the-record proceeding.” Id. DRPSAMF ¶ 29. Section
 385.2201(c)(1)(i) defines “contested on-the-record” proceeding to mean (with an exception), “any
 proceeding before the Commission to which there is a right to intervene and in which an intervenor
 disputes any material issue, any proceeding initiated pursuant to rule 206 by the filing of a complaint
 with the Commission, any proceeding initiated by the Commission on its own motion or in response to
 a filing, or any proceeding arising from an investigation under part 1b of this chapter beginning from
 the time the Commission initiates a proceeding governed by part 385 of this chapter.” Anas Decl.
 Attach. 56 (18 C.F.R. § 385.2201).
          The Respondents interpose a qualification to the Petitioner’s paragraph 31, stating that “[t]he
 referenced regulations do not use the phrase ‘show cause proceeding’ or ‘proposed penalty order.’ The
 Respondents go on to say that although Part 385 uses the phrase ‘contested on-the-record proceeding,’
 that is only contained in the section pertaining to ‘Rules governing off-the-record communications. .
 ..’” DRPSMF ¶ 31.

          The Court understands that the Respondents’ qualification is a means to drive home its point
 about the alleged inadequacy of the FERC process, but in the context of statements of material fact, it
 is hyper-technical at best. Section 385.209(a)(2) states that “[t]he Commission may initiate a
 proceeding against a person by issuing an order to show cause.” It would hardly come as a surprise
 that such a proceeding would be known as a “show cause proceeding.” Section 385.2201(c)(1)(i)’s
 definition of a “contested ‘on-the record’” proceeding expressly includes “any proceeding arising from
 an investigation under part 1b of this chapter beginning from the time the Commission initiates a
 proceeding governed by part 385 of this chapter.” Nor would it come as a surprise that the
 Commission’s order to show cause letter that it issued under part 1b would be known as a proposed
 penalty order.
         The Court overrules the Respondents’ objections to Petitioner’s paragraph 31.

                                                       50
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 51 of 94                       PageID #: 6160



 the proceeding or to assist in the trial thereof, in that or any factually related

 proceeding, shall participate or advise as to the findings, conclusion or decision,

 except as a witness or counsel in public proceedings.” 96 PSMF ¶ 33 (18 C.F.R. §

 3985.2202 (2012)); DRPSMF ¶ 33. Upon the initiation of a show cause proceeding,

 the Commission’s ex parte rule prohibits any off-the-record communications between

 (i) Commissioners and the staff that may advise them (decisional staff) and (ii)

 Enforcement prosecutorial staff involved in the investigation or show cause

 proceeding. PSMF ¶ 34 (citing 18 C.F.R. § 385.2201(c)(1)(i) (2012)); DRPSMF ¶ 34.

 However, the rule does not on its face preclude Enforcement from communicating

 with the Commission regarding related matters, which, in this case, included the

 settlement negotiations with Rumford concerning its participation in the DALRP,

 which is the subject of this action. 97          Id.    Nor does the rule prohibit ex parte



 96       The Respondents interpose a qualified response to the Petitioner’s paragraph 33, noting that
 the language “order-to-show-cause proceeding” is not in the regulation cited by the Petitioner.
 DRPSMF ¶ 33. The Petitioner states that the cited regulation applies to “any proceeding arising from
 an investigation under part 1b of this chapter beginning from the time the Commission initiates a
 proceeding governed by part 385 of this chapter.” Id. The Petitioner has also noted that a “show cause
 proceeding” is subject to the Commission’s Rules of Practice and Procedure, 18 C.F.R. Part 385.
 DRPSMF ¶ 31. The Court overrules the Respondents’ qualified response. See supra note 95.
 97       The Respondents interpose the same qualification to the Petitioner’s paragraph 34 as they did
 to the Petitioner’s paragraph 33. The Court declines to include the qualification. See supra note 95.
          The Respondents further argue that the referenced regulation does not “preclude Enforcement
 from continuing to engage in ex parte communications with the Commission concerning any related
 matters, which, in this case, included the settlement negotiations with the company that Defendants
 advised, Rumford, concerning its participation in the program that is the very subject of this
 litigation.” DRPSMF ¶ 34. The Respondents’ position skirts making a legal, not factual argument
 about the correct meaning of the regulation. Rather than adopt Respondents’ language, the Court has
 stated the undeniable, namely that the regulation does not on its face restrict Enforcement from
 communicating the status of such settlement negotiations with the Commission. The regulation does
 not address whether Commission practice forbids or allows such communication.
          The Respondents also contend that the referenced regulation “does not seem to prohibit ex
 parte communications, as long as they are put ‘on the record,’ and it does not prohibit FERC from
 making the record ‘non-public.’ Id. (citing Fed. Energy Regulatory Comm'n v. Barclays Bank PLC, 247
 F. Supp. 3d 1118, 1137 n.38 (E.D. Cal. 2017)). Despite some misgivings because the issue seems to be
 more one of law than fact, the Court included this further qualification because the authority for the

                                                        51
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 52 of 94                        PageID #: 6161



 communications, so long as they are put “on the record,” or prohibit FERC from

 making the record “non-public.” Id.

        A person who is ordered to show cause is required under the Commission’s

 regulations to submit a formal answer. 98                 PSMF ¶ 35; DRPSMF ¶ 35.                 The

 Commission’s regulations require that an answer “[a]dmit or deny, specifically and

 in detail, each material allegation” and “[s]et forth every defense relied on” “to the

 extent practicable.” 99 PSMF ¶ 36; DRPSMF ¶ 36. The failure to submit an answer

 can give rise to a default judgment or summary disposition. PSMF ¶ 37; DRPSMF ¶

 37. An answer must also include “documents that support the facts in the answer in

 possession of, or otherwise attainable by, the respondent, including, but not limited

 to, contracts and affidavits.” PSMF ¶ 38; DRPSMF ¶ 38. Under the Commission’s

 Rules of Practice and Procedure, a party to a contested on-the-record proceeding may

 file a motion for relief to the Commission at any time during the proceeding. 100 PSMF

 ¶ 39; DRPSMF ¶ 39.


 district court’s conclusion is a regulation and the parties have been presenting the meaning of
 regulations through their statements of fact. See Barclays Bank, 247 F. Supp. 3d at 1137 n.38 (citing
 18 C.F.R. § 375.205(a)(10)).
 98       The Respondents interpose a qualified response to the Petitioner’s paragraph 35, stating that
 “the referenced regulation does not refer to a ‘formal’ answer.” DRPSMF ¶ 35. Again, the Respondents’
 quibble is hyper-technical. Section 385.209(c) says that “[a] person who is ordered to show cause must
 answer in accordance with Rule 213.” A fair reading of Rule 213 is that an answer is a responsive
 pleading. See 18 C.F.R. § 385.213(a)(1-4). Like Federal Rule of Civil Procedure 12(a)(1)(A), the
 apparent objective of § 385.209(c) is to require the responding party to file a formal response and the
 failure to do so, as Respondents later acknowledge, could subject the responding party to default. See
 PSMF ¶ 37; DRPSAMF ¶ 37. The Court rejects the Respondents’ qualified response.
 99       The Respondents interpose a qualification to the Petitioner’s paragraph 36, noting that the
 regulation’s requirements of the Respondents are “to the extent practicable.” DRPSMF ¶ 36. The
 Court included the qualification.
 100      The Respondents interpose a qualified response to the Petitioner’s paragraph 39, noting that
 the referenced regulation “does not refer to a ‘contested-on-the-record proceeding.’” DRPSMF ¶ 39
 (citing § 385.201). Section 385.201, however, refers to “any . . . order to show cause.” However, as
 noted earlier, the order to show cause may lead to a “contested on-the-record” proceeding. See supra
 note 95. The Court rejects the Respondents’ qualified response.

                                                      52
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 53 of 94                          PageID #: 6162



                 5.      Enforcement’s Investigation of Respondents

         Following a referral from ISO-NE’s market monitoring unit, in March 2008,

 Enforcement commenced a non-public investigation pursuant to Part 1b of the

 Commission’s regulations to determine whether certain market participants had

 engaged in fraudulent conduct in their participation in ISO-NE’s DALRP. 101 PSMF

 ¶ 40; DRPSMF ¶ 40. Enforcement notified CES by letter dated August 1, 2009 that

 it commenced a non-public investigation of CES pursuant to Part 1b of the

 Commission’s regulations concerning CES’s conduct related to the DALRP. PSMF ¶

 41; DRPSMF ¶ 41. On February 26 and 27, 2009, Enforcement took investigative

 testimony of Dr. Richard Silkman as a witness in the investigation. PSMF ¶ 42;

 DRPSMF ¶ 42.

         In November 2009, Enforcement commenced an investigation of Dr. Silkman,

 individually, pursuant to Part 1b of the Commission’s regulations of Dr. Silkman’s

 conduct related to the DALRP, as memorialized in a November 4, 2009 letter sent to

 Dr. Silkman’s counsel. 102 PSMF ¶ 43; DRPSMF ¶ 43. After CES and Dr. Silkman

 were identified as subjects of the investigation, Enforcement served data requests




 101      The Respondents interpose a qualified response to the Petitioner’s paragraph 40, citing the
 Complaint as stating that FERC began its investigation of the Respondents in February 2008.
 DRPSMF ¶ 40. The Respondents also state that “the referenced referral did not refer to Defendants.”
 Id. The Petitioner’s record citation supports its statement, which references “certain market
 participants,” not the Respondents. PRSMF ¶ 40 (citing FERC Test. 67:22-68:9, 77:6-9. The Court
 rejects the Respondents’ qualified response.
 102      In response to the Petitioner’s paragraph 43, the Respondents offer a qualification, noting that
 the Complaint states that FERC began its investigation of the Respondents in February 2008.
 DRPSMF ¶ 43. The testimony cited by the Petitioner indicates that FERC first commenced an
 investigation of CES, and then later, in November of 2009, “commence[d] an investigation or include[d]
 Dr. Silkman in its DALRP investigations.” FERC Test. 158:7-13. The Court, therefore, rejects the
 Respondents’ qualified response.

                                                        53
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 54 of 94                        PageID #: 6163



 (the equivalent of interrogatories, requests for admission, and requests for production

 of documents) on CES and Dr. Silkman. PSMF ¶ 44; DRPSMF ¶ 44.

        On November 23, 2009, Enforcement staff sent CES a Preliminary Findings

 Letter explaining Enforcement’s preliminary conclusion that CES had committed

 fraud in violation of the Commission’s Anti-Manipulation Rule, 16 U.S.C. § 824v and

 18 C.F.R. § 1c.2 (Anti-Manipulation Rule), as well as the factual and legal bases for

 this conclusion. 103 PSMF ¶ 45; DRPSMF ¶ 45. On December 1, 2009, Enforcement

 staff sent CES copies of the documents cited in the Preliminary Findings Letter to

 CES except publicly-available information and information already in the possession

 of CES. 104 PSMF ¶ 46; DRPSMF ¶ 46.

        On January 8, 2010, CES submitted a response to the Preliminary Findings

 Letter to CES. PSMF ¶ 47; DPRSMF ¶ 47. CES was not required to comply with

 any page limit nor any rules of evidence in drafting this response. Id. The response

 was thirty pages, single-spaced. Id.




 103   The Respondents admit the conclusion of Enforcement but deny the accuracy of the conclusion.
 DRPSMF ¶ 45. The Court does not accept Petitioner’s paragraph 45 for its truth, and it overrules the
 Respondents’ denial.
 104   The Respondents interpose a qualified response to the Petitioner’s paragraph 46:

        Enforcement staff sent CES copies of the documents bates stamped as CNE0023813,
        ISO-NE generated load profiles and five-minute data for Rumford Paper Company; the
        document bates stamped as RUM0000926-946; and Rumford Data Responses 35, 36,
        36(d), and 36(e). Additionally, Enforcement contacted ACE-Federal Reporters, Inc.
        and authorized it to release the transcript of the deposition of Bruce McLeish to CES
        upon its request.

 PSMF ¶ 46. The exhibit cited by the Petitioners, a letter to Attorney Brann from Nicole Brisker, states
 “OE has provided, via electronic mail, the documents referenced in those letters . . .” and lists the
 documents provided. The Court omitted the word “all” from the Petitioner’s statement, as that word
 is not used in the record citation. The Court finds, however, that it is not necessary to list the
 documents provided because sufficient detail is provided in the Petitioner’s paragraph 46.

                                                      54
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 55 of 94                      PageID #: 6164



        On April 19, 2012, Enforcement staff sent Dr. Silkman a Preliminary Findings

 Letter explaining Enforcement’s preliminary conclusion that Dr. Silkman had

 committed fraud in violation of the Anti-Manipulation Rule, as well as the factual

 and legal bases for this conclusion. 105 PSMF ¶ 48; DRPSMF ¶ 48. At the time

 Enforcement staff sent Dr. Silkman the Preliminary Findings Letter, Dr. Silkman’s

 counsel possessed all non-public materials cited in the Preliminary Findings Letter,

 the same materials as those cited in the Preliminary Findings Letter to CES and

 provided to Dr. Silkman’s counsel on December 1, 2009, with the exception of the

 testimony transcript of witness Amy Richard; the Richard transcript was provided

 eleven days later along with other investigatory documentation.                      PSMF ¶ 49;

 DRPSMF ¶ 49.

        On April 30, 2010, Enforcement staff provided counsel for the Respondents,

 Peter Brann, with the testimony transcript of Amy Richard and additional, non-

 public information related to Enforcement’s investigation of the activities of CES and

 Dr. Silkman in the DALRP. 106 PSMF ¶ 50; DRPSMF ¶ 50.                     On May 20, 2010, Dr.

 Silkman submitted a response to the Preliminary Findings Letter to Silkman. PSMF

 ¶ 51; DRPSMF ¶ 51. Dr. Silkman was not required to comply with any page limit

 nor any rules of evidence in drafting this response. Id. The response was thirty-four



 105     The Respondents admit the conclusion of Enforcement but deny the accuracy of the conclusion.
 DRPSMF ¶ 48. The Court does not accept paragraph 48 for its truth, and it overrules the denial.
 106     The Respondents interpose a qualified response to the Petitioner’s paragraph 50, stating that
 Enforcement staff provided “certain non-public materials related to” Enforcement’s investigation of
 CES and Dr. Silkman. DRPSMF ¶ 50. The Court agrees that the Petitioner’s assertion that
 Enforcement provided “information that Staff believed might assist his understanding of the matter,
 as well as documents that may be relevant to CES and Silkman’s defenses” is not supported by the
 record. PRSMF ¶ 50. The Court adjusted the statement to reflect the language in the cited record.

                                                     55
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 56 of 94                        PageID #: 6165



 pages, single-spaced. Id.

        After Enforcement obtained authority to initiate settlement discussions, the

 Commission issued Notices of Alleged Violation to the Respondents on January 25,

 2011. PSMF ¶ 52; DRPSMF ¶ 52. The Notices of Alleged Violation were issued

 pursuant to Commission practice memorialized in an Order Authorizing Secretary to

 Issue Staff’s Preliminary Notice of Violation. 107 Id.

        As provided by the Commission’s procedures, Enforcement Staff engaged in

 settlement discussions with CES and Dr. Silkman in 2011. PSMF ¶ 53; DRPSMF ¶

 53. In February, Enforcement made an oral settlement proposal to CES and Dr.

 Silkman at a meeting in Washington D.C. Id. CES and Dr. Silkman requested

 additional, previously undisclosed information to evaluate the proposal, but the

 request was denied, and they provided a response in April. Id. In May, FERC

 rejected the Respondents’ responsive proposal, and asked the Respondents to submit

 a revised proposal. Id. The Defendants responded but declined to submit a revised

 proposal. 108 Id.

        On May 13, 2011, Enforcement staff sent 1b.19 Letters to CES and Dr.




 107      The Respondents put forth a qualification to the Petitioner’s paragraph 52, arguing that
 “although the Notices were issued pursuant to the cited Order, the Order announced a change in policy,
 it is not accurate to refer to it as memorializing “Commission practice.” DRPSAMF ¶ 52. The Court
 finds that the Order Authorizing Secretary to Issue Staff’s Preliminary Notice of Violations did
 memorialize Commission practice in announcing a change of policy, and the Court declines to include
 the qualification. Anas Decl., Attach 7., Ex. Order Authorizing Secretary to Issue Staff’s Preliminary
 Not. of Violations (ECF No. 137-7).
 108      Petitioner’s paragraph 53 refers generally to Enforcement engaging in settlement discussions
 with CES and Dr. Silkman until May 2011. PSMF ¶ 54.
          The Respondents interpose a qualified response to the Petitioner’s paragraph 53, detailing the
 settlement negotiations. DRPSMF ¶ 53. The Court amended the Petitioner’s statement to include
 these details.

                                                      56
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 57 of 94                         PageID #: 6166



 Silkman. PSMF ¶ 54; DRPSMF ¶ 54.                  Enforcement explained in the 1b.19 Letters

 that its final conclusions after considering the Respondents’ responses to the

 Preliminary Findings Letters were not materially different than its preliminary

 conclusions, that it intended to recommend that the Commission issue an Order to

 Show Cause why Dr. Silkman “should not be made the subject of a public proceeding

 for enforcement of 18 C.F.R. § 1c.2 (2011) and pay a civil penalty,” and that it invited

 each Respondent to “submit a non-public response to this notice” by a date specified

 therein. 109 Id. On June 27, 2011, CES and Dr. Silkman submitted a joint seventy-

 nine-page response to Enforcement’s 1b.19 Letters. CES and Dr. Silkman were not

 required to comply with any page limit nor any rules of evidence in drafting this

 response. PSMF ¶ 55; DRPSMF ¶ 55.

        Having concluded that CES and Dr. Silkman engaged in fraudulent behavior

 in violation of the Anti-Manipulation Rule, Enforcement prepared reports and

 recommendations (OE Staff Reports) to the Commission recommending that the

 Commission initiate proceedings under 18 C.F.R. § 385.209 by issuing Proposed

 Penalty Orders to each Respondent. As required by 18 C.F.R § 1b.19, Enforcement

 submitted the OE Staff Reports to the Commission along with the Respondents’ joint

 seventy-nine-page response to the 1b.19 Letters. 110             PSMF ¶ 56; DRPSMF ¶ 56.


 109      The Respondents interpose a qualification to the Petitioner’s paragraph 54, noting that the
 Letters stated that Enforcement would “recommend that the Commission ‘issue an Order to Show
 Cause why [CES/Silkman] should not be made the subject of a public proceeding for enforcement of 18
 C.F.R. §1c.2(2011) and pay a civil penalty.” DRPSMF ¶ 54. The Court agrees that the 1b.19 Letters
 reflect the language the Respondents quoted and amended the Petitioner’s statement accordingly.
 110      In response to the Petitioner’s paragraph 56, the Respondents interpose a qualification, noting
 that the phrase “adversarial on-the-record proceedings” does not appear in the cited material.
 DRPSMF ¶ 56. The Court disagrees. In support of paragraph 56, Petitioner cited 18 C.F.R. § 385.209.
 Section 385.209 authorizes the Commission to “initiate a proceeding against a person by issuing an

                                                       57
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 58 of 94                         PageID #: 6167



                 6.     Show Cause Proceedings Before the Commission

         On July 17, 2012, the Commission initiated adversarial on-the-record

 proceedings under 18 C.F.R § 385.209 by issuing Proposed Penalty Orders under

 Docket Nos. IN12-12-000 (CES) and IN12-13-000 (Dr. Silkman). 111 PSMF ¶ 57;

 DRPSMF ¶ 57. On July 17, 2012, CES and Dr. Silkman were provided copies of

 information specifically referenced in the OE Staff Reports attached to the Proposed

 Penalty Orders. PSMF ¶ 58; DRPSMF ¶ 58. CES and Dr. Silkman were not provided

 with documents already in their possession or publicly available. 112 Id.

         In accordance with the Commission’s Separation of Function Rule, 18 C.F.R. §

 385.2202, and the Commission’s ex parte rule, 18 C.F.R. § 385.2201, following

 issuance of the Proposed Penalty Orders, the Commission issued a notice in each


 order to show cause.” In the Court’s view, a proceeding against a person is an adversarial proceeding.
 Also, the Court previously discussed its conclusion that the Commission proceeding on an order to
 show cause is a contested on-the-record proceeding. See supra fn 95 (citing 385.2201(c)(1)(i)’s
 definition of a “contested on-the record proceeding”). If there is a difference between a contested on-
 the-record proceeding and an adversarial on-the-record proceeding, it is too subtle to be meaningful in
 the context of this dispositive motion. The Court overrules the Respondents’ qualified response.
         The Respondents also note that “there is no indication on the privilege log that Enforcement
 submitted the Defendants’ 79-page response to the 1b.19 Letters to FERC. Id. The record material
 cited by the Petitioner, namely the sworn declaration of Attorney Anas, provides a sufficient basis for
 the Petitioner’s statement. The Court rejects the second part of the Respondents’ qualification.
 111      The Respondents interpose a qualification to the Petitioner’s paragraph 57, stating that
 “[n]either the Commission’s Rules of Practice and Procedure nor the referenced orders refer to
 “proposed penalty orders.” DRPSMF ¶ 57. The orders are titled “Orders to Show Cause and Notice of
 Proposed Penalty Orders.” PSMF ¶ 57 (citing Anas Aff., Attach. 24, Proposed Penalty Order issued to
 CES (ECF No. 137-24) (CES Proposed Penalty Order); id., Attach. 25, Proposed Penalty Order Issued
 to Silkman, ECF No. 137-45) (Silkman Proposed Penalty Order). The Court declines to include the
 Respondents’ qualification. In addition, the Petitioner is using the abbreviation the Respondents
 themselves use in DSMF ¶ 5. The Court will not address this qualification again as it is repeated in
 several of the Respondents’ responses.
 112      The Respondents interpose a qualified response to the Petitioner’s paragraph 58, noting that
 the cited letters state that “Enforcement provided Respondents with what it claimed was ‘information
 specifically referenced’ in the OE Staff Reports.” DRPSMF ¶ 58 (citing Anas Aff., Attach. 20, Ex. Letter
 from Gabriel Sterling to Mr. Brann, July 17, 2012 (ECF No. 137-20); id., Attach. 21, Ex. Letter from
 Gabriel Sterling to Mr. Brann, July 17, 2012 (ECF No. 137-21). The Court agrees that the Petitioner’s
 statement “all documents cited in the OE Staff Reports” is not supported by the record, and the Court
 amended the statement to include the language in the letters referenced.

                                                       58
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 59 of 94                       PageID #: 6168



 proceeding on July 26, 2012 identifying decisional and non-decisional staff. 113                   114


 PSMF ¶ 59; DRPSMF ¶ 59. The Proposed Penalty Orders provided a summary of

 Enforcement’s allegations against CES and Dr. Silkman and attached the OE Staff

 Reports. PSMF ¶ 61; DRPSMF ¶ 61. The OE Staff Reports attached to the Proposed

 Penalty Orders alleged that the fraudulent conduct by CES and Dr. Silkman occurred

 from July 2007 through early February 2008. 115 PSMF ¶ 62; DRPSMF ¶ 62.

        Pursuant to the Commission’s Rules of Practice and Procedure, the Proposed

 Penalty Orders directed CES/Dr. Silkman each to file an answer with the

 Commission showing cause (i) why it/he should not be found to have violated the Anti-

 Manipulation Rule and (ii) why it/he should not be assessed the proposed penalties.

 PSMF ¶ 63; DRPSMF ¶ 63. In accordance with the Commission’s Rules of Practice

 and Procedure, the Proposed Penalty Orders directed that the answers provide “a

 clear and concise statement regarding any disputed factual issues and any law upon

 which [it/he] relies. PSMF ¶ 64; DRPSMF ¶ 64. The Commission further ordered

 that, “[i]n any answer, Respondent should address any matter, legal, factual or



 113     The Respondents offer a qualified response to the Petitioner’s paragraph 59, stating that the
 cited materials do not refer to “proposed penalty orders.” DRPSMF ¶ 59 (citing Anas Aff., Attach. 26,
 Ex. Notice of Designation of Commission Staff as Non-Decisional issued in Docket No. IN12-12000,
 July 26, 2012 (ECF No. 137-26); id., Attach. 27, Ex. Notice of Designation of Commission Staff as Non-
 Decisional issued in Docket No. IN12-13-000 (Richard Silkman), July 26, 2012 (ECF No. 137-27). The
 Court declines to include the qualification. See supra note 111.
 114     The Petitioner’s paragraph 60 states, “The Proposed Penalty Orders provided the statutorily-
 required notice of proposed penalties under FPA §§31(d)(1), 16 U.S.C. § 823b(d)(1), and 316A(b), 16
 U.S.C.§ 825o-1.” PSMF ¶ 60. The Respondents interpose a qualified response, arguing that “[w]hether
 the notices complied with the referenced statutes is a legal and not factual question.” DRPSMF ¶ 60.
 The Court agrees with the Respondents and has not included the Petitioner’s paragraph 60 in this
 statement of facts.
 115     The Respondents admit “that the OE staff reports make those allegations” but “den[y] that the
 allegations were correct.” DRPSMF ¶ 62. The Petitioner’s paragraph 61 is clearly framed as an
 allegation, not a fact. The Court overrules the denial.

                                                      59
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 60 of 94                       PageID #: 6169



 procedural, that [it/he] would urge in the Commission’s consideration of this matter.”

 PSMF ¶ 65; DRPSMF ¶ 65. As required by the Commission’s Rules of Practice and

 Procedure, the Proposed Penalty Orders directed that each answer, “to the extent

 practicable, admit or deny, specifically and in detail, each material allegation

 contained in the OE Staff Report and “set forth every defense relied upon.” 116 PSMF

 ¶ 66; DRPSMF ¶ 66.

        The Proposed Penalty Orders provided notice to the Respondents, as required

 by FPA § 31(d)(1), 16 U.S.C. § 823b(d)(1), that they had the option under the FPA to

 choose between either (a) an administrative hearing before an ALJ at the Commission

 prior to the assessment of a penalty under § 31(d)(2), § 823b(d)(2) or (b), an

 assessment by the Commission under § 31(d)(3), § 823b(d)(3) “if the Commission finds

 a violation.” 117 PSMF ¶ 67; DRPSMF ¶ 67.

        On July 27, 2012, CES and Dr. Silkman filed an unopposed motion for an

 enlargement of time seeking an extension under September 14, 2012, to respond to

 the Orders to Show Cause, in which each Respondent also elected the procedures of

 § 31(d)(3).” 118 PSMF ¶ 68; DRPSMF ¶ 68. On August 13, 2012, the Commission


 116     The Respondents interpose a qualification to the Petitioner’s paragraph 66, noting that the
 Proposed Penalty Orders include the phrase “to the extent practicable.” DRPSMF ¶ 66 (citing CES
 Proposed Penalty Order; Silkman Proposed Penalty Order). The Court included the phrase in the
 Petitioner’s paragraph 65 to ensure the statement is complete and not misleading.
 117     The Respondents interpose a qualified response to the Petitioner’s paragraph 67, reciting a
 longer passage from the Proposed Penalty Order. The Court does not find that the Petitioner’s
 statement would benefit from the inclusion of such details, as the Respondents have not stated what
 they find Petitioner’s paragraph 67 to be misleading or lacking context. The Court declines to include
 the qualification.
 118     The Petitioner’s paragraph 68 states that the motion for an enlargement of time was filed by
 CES and Dr. Silkman “to respond to the allegations in the OE Staff Reports attached to the Proposed
 Penalty Orders. . .” PSAMF ¶ 68. The Respondents interpose a qualification, stating that the request
 for enlargement of time “was sought to respond to the Orders to Show Cause.” DRPSAMF ¶ 68 (citing
 Anas Aff., Attach. 28, Ex. CES and Silkman’s Notice of Extension of Time issued in Docket No. IN12-

                                                      60
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 61 of 94                          PageID #: 6170



 issued a Notice of Extension of Time in each proceeding, allowing CES and Dr.

 Silkman until September 14, 2012, to respond to the allegations in the OE Staff

 Reports. PSMF ¶ 69; DRPSMF ¶ 69. On September 14, 2012, CES and Dr. Silkman

 filed a joint ninety-eight-page answer, including attachments, in opposition to

 Enforcement’s allegations and the proposed penalties, arguing that the evidence

 gathered during Enforcement’s investigation did not support a finding that they

 committed fraud. PSMF ¶ 70; DRPSMF ¶ 70. This filing was not subject to any page

 limit or any rules of evidence. 119 Id.

         The CES/Dr. Silkman Answer did not assert a defense based on the statute of

 limitations. 120 PSMF ¶ 71; DRPSMF ¶ 71. Neither during the investigation nor

 during either show cause proceeding, did CES or Dr. Silkman assert a statute of

 limitations defense in a filing submitted to the Commission. PSMF ¶ 72; DRPSMF ¶

 72. CES and Dr. Silkman did not file any amended pleading or motion pursuant to

 18 C.F.R. § 385.212 at any time during the pendency of the show cause proceedings



 12-000 (CES) and IN12-13-000 (Richard Silkman), ECF No. 137-28. Although the Court is unclear
 why the difference is significant, the Court agrees that the record citation references an enlargement
 of time to respond to the Orders to Show Cause and amended the Petitioner’s statement accordingly.
 119      The Respondents interpose a qualification to the Petitioner’s paragraph 70, stating that the
 answer, inclusive of attachments, totaled 98 pages. DRPSMF ¶ 70. The Court included the
 qualification.
 120      The Respondents respond to the Petitioner’s paragraph 71 with a two-part qualification, noting
 that the Answer is only required to assert legal defenses “to the extent practicable.” DRPSMF ¶ 71
 (citing 18 C.F.R. § 385.213(c)(2)(ii)). As the Court incorporated this qualification into the Petitioner’s
 paragraph 66, it declines to repeat it here.
          The Respondents also argue that “[t]he statute of limitations had not expired at the time the
 Answer was filed. The statute of limitations applies only to “an action, suit, or proceeding for the
 enforcement of any civil fine, penalty, or forfeiture, 28 U.S.C.§ 2462, none of which applies to FERC’s
 procedures in this matter.” DRPSMF ¶ 71. The Court considers this part of the qualification as not
 directly responsive to the Petitioner’s statement and combining legal argument and fact, as evidenced
 by the lack of record support put forth by the Respondents. The Court declines to include the second
 portion of the Respondents’ qualification to paragraph 71 and declines to include the same
 qualification in response to subsequent statements.

                                                        61
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 62 of 94                       PageID #: 6171



 seeking relief based on the statute of limitations. PSMF ¶ 73; DRPSMF ¶ 73.

        On September 21, 2012, pursuant to the Commission’s Rules of Practice and

 Procedure, Enforcement litigation staff filed an unopposed motion for extension of

 time requesting that it be granted an additional thirty days, until November 13, 2012,

 to file its reply to the CES/Dr. Silkman Answer in each proceeding. PSMF ¶ 74;

 DRPSMF ¶ 74. On September 26, 2012, the Commission issued a Notice of Extension

 of Time in each proceeding allowing Enforcement litigation staff until November 13,

 2012 to file its reply in each proceeding. PSMF ¶ 75; DRPSMF ¶ 75. On November

 13, 2012, Enforcement litigation staff filed a reply in each proceeding explaining why

 Respondents’ evidence and arguments did not rebut Enforcement’s evidence. PSMF

 ¶ 76; DRPSMF ¶ 76.

        On August 29, 2013, the Commission issued separate Orders Assessing Civil

 Penalties (Assessment Orders) Against CES and Silkman. PSMF ¶ 77; DRPSMF ¶

 77. The Assessment Orders are each more than forty pages in length, and contain

 sections setting forth the Commission’s “Findings of Fact,” “Determination of

 Violation,” and “Civil Penalty Determination.” PSMF ¶ 78; DRPSMF ¶ 78. The

 Assessment Orders set forth the Commission’s evaluation of the legal and factual

 defenses raised by CES and Dr. Silkman in the Answer, the allegations in the OE

 Staff Reports, and other evidence in the record, such as Dr. Silkman’s investigative

 testimony and Dr. Silkman’s data responses. 121 PSMF ¶ 79; DRPSMF ¶ 79.

        Among other things, the Assessment Orders show that the Commission found


 121     The Respondents interpose a qualified response to the Petitioner’s paragraph 78, stating “[i]t
 is unclear what “record” is intended by this statement. The Court rejects the qualification.

                                                      62
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 63 of 94                   PageID #: 6172



 that Dr. Silkman, as a representative of CES, devised and implemented a scheme to

 inflate Rumford paper mill’s baseline during initial baseline measurement for

 participation in the DALRP and thereby obtain payment for electricity load

 reductions that were not actually provided and were never intended to be provided.

 PSMF ¶ 80; DRPSMF ¶ 80. 122 The Assessment Orders reflect the Commission’s

 further finding that CES and Dr. Silkman’s scheme constituted a fraudulent scheme

 or artifice in violation of the Anti-Manipulation Rule. Id. The Assessment Orders

 reflect the Commission’s further finding that CES and Dr. Silkman’s scheme

 constituted a fraudulent scheme or artifice in violation of the Anti-Manipulation

 Rule.    PSMF ¶ 81; DRPSMF ¶ 81.               The Assessment Orders also reflect the

 Commission’s finding that CES and Dr. Silkman acted with scienter. PSMF ¶ 82;

 DRPSMF ¶ 82. The Assessment Orders imposed a $7,500,000 civil penalty against

 CES and a $1,250,000 civil penalty against Dr. Silkman. Id. The Assessment against

 CES also ordered CES to pay disgorgement of $166,841.13, plus interest. PSMF ¶

 83; DRPSMF ¶ 83.

         In assessing and imposing civil penalties for the violations, the FPA required

 the Commission to consider and apply the following statutory criteria: “the

 seriousness of the violation and the efforts of such person to remedy the violation in

 a timely manner.” PSMF ¶ 84 (quoting 16 U.S.C. § 825o-1(b)); DRPSMF ¶ 84. With

 respect to CES, the Assessment Order states that the Commission considered and



 122     The Respondents admit that the Commission found such facts but deny the accuracy of the
 statement. The Court overrules the denial and overrules subsequent denials to the extent they are
 not based on a record citation.

                                                   63
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 64 of 94         PageID #: 6173



 applied these statutory criteria and Penalty Guidelines applicable to organizations

 that it has adopted to shape its application of the statutorily-prescribed criteria.

 PSMF ¶ 85; DRPSMF ¶ 85. With respect to Dr. Silkman, who, as a natural person,

 is not subject to the Commission’s Penalty Guidelines, the Assessment Order states

 that the Commission considered and applied the statutory criteria, and evaluated five

 factors it had previously articulated and applied in assessing penalties against

 individuals to shape the statutorily-required criteria: (1) the seriousness of the

 offense; (2) commitment to compliance; (3) self-reporting; (4) cooperation; and (5)

 reliance on Enforcement staff guidance. PSMF ¶ 86; DRPSMF ¶ 86.

       The Commission’s Assessment Orders reflect that the Commission found the

 civil penalties to be statutorily authorized under the FPA and appropriate in these

 cases. PSMF ¶ 87; DRPSMF ¶ 87. With respect to CES, the Commission concluded,

 “[b]ased on the foregoing factors, the pleadings in this case and the OE Staff Report,

 the Commission finds that a civil penalty of $7,500,000 and disgorgement of $166,841,

 plus interest, is fair and reasonable under the circumstances.” PSMF ¶ 88; DRPSMF

 ¶ 88. With respect to Dr. Silkman, the Commission concluded, “[b]ased on the

 foregoing factors, the pleadings in this case and the OE Staff Report, the Commission

 finds that there is a need to deter the fraudulent conduct at issue and that a civil

 penalty of $1,250,000 is fair and reasonable under the circumstances.” PSMF ¶ 89;

 DRPSMF ¶ 89.

       On March 22, 2013, the Commission entered an Order Approving Stipulation

 and Consent Agreement, which approved a stipulation and consent agreement



                                              64
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 65 of 94                        PageID #: 6174



 between Enforcement and Rumford that resolved Enforcement’s investigation into

 whether Rumford engaged in fraudulent conduct in violation of the Anti-

 Manipulation Rule in its participation in the DALRP. PSMF ¶ 90; DRPSMF ¶ 90.

 The Order reflects that Rumford agreed to a disgorgement of $2,836,419.08 and a

 $10,000,000 civil penalty. PSMF ¶ 91; DRPSMF ¶ 91. The Order reflects that

 Rumford agreed to satisfy the disgorgement and civil penalty obligations by a

 payment of $3,036,419.08, and, given the fact that Rumford was in bankruptcy,

 Enforcement agreed that this payment was acceptable satisfaction of Rumford’s

 disgorgement and civil penalty obligations.               PSMF ¶ 92; DRPSMF ¶ 92.                 The

 Commission’s Order directed Rumford to pay an amount of $2,836,419.08 (the

 amount of the disgorgement) from the settlement payment to ISO-NE within ten

 business days of the effective date of the agreement, and further directed ISO-NE “to

 allocate the $2,836,419.08 pro rata to network load [rate payers] during the

 applicable period.” 123 PSMF ¶ 93; DRPSMF ¶ 93.

        Section 307(n) does not provide any reciprocal right or ability for the subjects

 of a Commission investigation to “subpoena witnesses, compel their attendance, take

 evidence, and require the production of any books, papers, correspondence,

 memoranda, contracts, agreements, or other records.” DSAMF ¶ 1 (quoting 16 U.S.C.

 § 825(b)); PRDSAMF ¶ 1. However, under the Commission’s Rules of Practice and

 Procedure, a party to a show cause proceeding may file a motion for relief with the


 123     The Respondents interpose the following qualification to the Petitioner’s paragraph 93: “[t]he
 effective date of the Agreement was subject to, inter alia, approval of the Agreement and authorization
 of the Bankruptcy Court.” DRPSMF ¶ 93. The Court finds the qualification non-responsive to the
 Petitioner’s statement and declines to include it.

                                                      65
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 66 of 94                      PageID #: 6175



 Commission at any time during the proceeding.” 124 DSAMF ¶ 1; PRDSAMF ¶ 1.

 Section 1b.16, concerning the rights of witnesses, does not prohibit witnesses or

 counsel from speaking with other persons or counsel outside the examination, but

 requires the sequestration of witnesses during testimony taken in an investigation.

 DSAMF ¶ 2; PRDSAMF ¶ 2.                  Other Commission regulations provide that all

 information and documents received during an investigation and the existence of the

 investigation are treated as confidential, non-public information. Id. Disclosure of

 information during an investigation is permitted only at the Commission’s direction

 or authorization, or as is otherwise required to be disclosed. 125 Id.

        Following his deposition, Dr. Silkman was instructed by FERC Enforcement

 not to communicate with his business partner, Mark Isaacson, with Rumford

 personnel, or anyone else regarding the questions or answers from his deposition nor

 to share a copy of his deposition transcript. DSAMF ¶ 3; PRDSAMF ¶ 3. Enforcement

 staff informed Dr. Silkman that if he felt the need to share information regarding the

 contents of the deposition to anyone else, he should contact Enforcement staff and




 124     The Petitioner admits the contents of DSAMF ¶ 1, but “otherwise denies” the statement
 “because respondents to an order-to-show-cause proceeding who were the subjects of an enforcement
 investigation have the ability to request discovery via motion under the . . . FPA.” Even though
 Petitioner’s denial would be properly framed as a qualification, the Court has interpreted the denial
 as a qualification, and incorporated its contents into the Respondents’ additional material fact
 paragraph 1.
 125     Respondents’ additional statement of material fact paragraph 2 stated: “Section 1b16,
 concerning the ‘Rights of witnesses,’ does not prohibit witnesses or counsel from speaking with other
 persons or counsel outside the examination.” DSAMF ¶ 2.
         The Petitioner interposes a qualification, noting additional regulations regarding
 sequestration of witnesses and confidentiality of information and documents during an investigation.
 PRDSAMF ¶ 2. The Court included the qualification to provide additional context to the Respondents’
 statement and to make sure the paragraph is complete and not misleading.

                                                     66
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 67 of 94                         PageID #: 6176



 they would discuss it. 126 Id.

         FERC Enforcement also instructed other deponents in the investigation not to

 share copies of their deposition transcripts with the Respondents or their counsel. 127

 DSAMF ¶ 4; PRDSAMF ¶ 4. Under the Commission’s regulations, Respondents were

 not entitled to attend the taking of testimony from third party witnesses when

 Enforcement was engaged in investigative fact-finding or to receive copies of their

 testimony. Id. The Commission’s regulations require the sequestration of witnesses

 during testimony taken in an investigation, and all information and documents

 received during an investigation, as well as the existence of an investigation, is

 treated as confidential, non-public information. Id. Disclosure of information during

 an investigation is permitted only at the Commission’s direction or authorization, or

 as is otherwise required to be disclosed. Id. Deponents and their counsel in the

 investigation were instructed regarding the testimony of witnesses in accordance

 with the requirements of §§ 1b.12 and 1b.16 of the Commission’s regulations,

 requiring sequestration of witnesses during testimony, and in accordance with the

 Commission’s regulations regarding confidentiality of investigations. Id.



 126     Respondents’ additional statement of material fact paragraph 3 is reflected verbatim in the
 preceding sentence.
         In response, the Petitioner interposes a qualified response, stating the Commission’s
 regulations regarding sequestration of witnesses. DSAMF ¶ 3. The Court declines to include this
 portion of the qualification as it has already included similar facts regarding regulations in DSAMF
 paragraph 2. However, the Petitioners also put forth the qualification that if Dr. Silkman felt the need
 to share the deposition with anyone else, he should contact Enforcement staff for discussion.
 PRDSAMF ¶ 3. The Court included this qualification to ensure the Respondents’ additional material
 fact paragraph 3 is complete and not misleading.
 127     The Petitioner interposes a qualified response to the Respondents’ additional material fact
 paragraph 4, setting forth the regulations and Commission practice behind the Respondents’
 statement. PRDSAMF ¶ 4. The Court included these Commission regulations and practices regarding
 other deponents to be complete and to avoid being misleading.

                                                       67
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 68 of 94                      PageID #: 6177



        Although the Commission’s Revised Policy Statement on Enforcement allows

 written submissions, the Commission’s Revised Policy Statement on Enforcement

 prohibits any oral communications to the Commissioners or their assistants from any

 person concerning an ongoing staff investigation as to which such person is the

 subject. 128 DSAMF ¶ 5; PRDSAMF ¶ 5. The Commission’s Revised Policy Statement

 on Enforcement does not prohibit oral communications to the Commissioners or their

 assistants from a staff member concerning an ongoing staff investigation. DSAMF ¶

 6; PRDSAMF ¶ 6. The Commission’s Statement of Administrative Policy Regarding

 the Process for Assessing Civil Penalties does not require a hearing or discovery for

 entities that choose Option 2 under 16 U.S.C. § 823b(d)(3)(A), but rather only the

 “immediate assessment” of the civil penalty.” DSMAF ¶ 7; PRDSAMF ¶ 7. Although

 the 2006 Policy Statement does not require discovery, respondents to a show cause

 proceeding have the ability to request discovery via motion under the procedural rules

 promulgated by the Commission pursuant to its express delegation of authority by

 Congress under the FPA. 129 Id.


 128     The Petitioner interposes a qualification to the Respondents’ additional material fact
 paragraph 5, reciting the entire paragraph of the Commission’s Revised Policy Statement on
 Enforcement cited by the Respondents. PRDSAMF ¶ 5. The Court declines to place in the statement
 of material facts the entire statement, but it has summarized the fact that the Revised Policy
 Statement allows for written communication in order to be complete and not misleading.
 129     The Petitioner sets forth the following qualification to the Respondents’ statement of
 additional material fact paragraph 7:

                The FPA and the Commission’s regulations promulgated pursuant to its
        statutory authority under the FPA set forth the statutory requirements and
        procedures for assessing civil penalties by order. See, e.g., SUMF (ECF No. 135) ¶¶ 7-
        10, 12-17, 30-39. The Commission’s Statement of Administrative Policy Regarding the
        Process for Assessing Civil Penalties, 117 FERC ¶ 61,317 (2006) (hereinafter, “2006
        Policy Statement”) does not, itself, require anything, and does not supersede any
        statutory requirements; rather, the Statement “outlines the basic procedures to be
        followed” while “retain[ing] the right to modify these procedures to fit the

                                                     68
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 69 of 94                          PageID #: 6178




         circumstances presented by specific cases, while still providing process that meets the
         applicable statutory criteria.” See Statement of Administrative Policy Regarding the
         Process for Assessing Civil Penalties, 117 FERC ¶ 61,317 at P 2 (2006). Even though
         the 2006 Policy Statement refers to an “immediate penalty assessment” by the
         Commission, the FPA does not use such language and requires that the Commission
         “promptly” assess such penalty “by order” after “notice and opportunity for public
         hearing, in accordance with the same provisions as are applicable under section
         823b(d)” after taking into consideration mandatory statutory factors, namely, “the
         seriousness of the violation and the efforts of such person to remedy the violation in a
         timely manner.” See SUMF (ECF No. 135) ¶¶ 13-16; D. Anas Decl. (ECF No. 137) ¶ 11,
         Exs. WW (16 U.S.C. § 825o-1(b) (2012)) & XX (16 U.S.C. § 823b(d) (2012)). Moreover,
         the 2006 Policy Statement articulates that an “immediate penalty assessment by the
         Commission” (as opposed to an Initial Decision by an ALJ that will then be considered
         by the Commission together with any exceptions filed) involves a procedure by which
         the Commission will first determine whether a violation or violations occurred and
         then issue an order setting forth its factual findings and assessment of any penalty
         determined to be appropriate. See Statement of Administrative Policy Regarding the
         Process for Assessing Civil Penalties, 117 FERC ¶ 61,317 at P 5 at 1.b.i (2006)
         (“Immediate Penalty Assessment. If the Commission finds a violation, the Commission
         will issue an order setting forth the material facts that constitute the violations and
         assess any appropriate penalty.”) (bold text in original). Further, although the 2006
         Policy Statement does not “require” a hearing, the 2006 Policy Statement notes the
         Commission’s use of paper hearings in various circumstances, including the procedure
         by which civil penalties are to be assessed under the Natural Gas Act which “draws on
         existing processes for the FPA and [Natural Gas Policy Act of 1978] for the
         administrative process the Commission generally will follow in assessing civil
         penalties under the NGA.” See Statement of Administrative Policy Regarding the
         Process for Assessing Civil Penalties, 117 FERC ¶ 61,317 at PP 6-7 (2006). Finally,
         although the 2006 Policy Statement does not “require” discovery, respondents to a
         show cause proceeding have the ability to request discovery via motion under the
         procedural rules promulgated by the Commission pursuant to its express delegation of
         authority by Congress under the FPA. 12 Under the Commission’s Rules of Practice
         and Procedure codified at 18 C.F.R. Part 385, which apply to show cause proceedings
         (see SUMF (ECF No. 135) ¶¶ 11, 30-31; D. Anas Decl. (ECF No. 137) ¶ 12, Ex. CCC
         (18 C.F.R. § 385.201 (2012) (Applicability); id. (18 C.F.R. § 385.209(a)(2) (2012)
         (authorizing the Commission to initiate “a proceeding . . . by issuing an order to show
         cause”)), a party to a show cause proceeding may file a motion for relief with the
         Commission at any time during the proceeding. See SUMF (ECF No. 135) ¶ 39; D.
         Anas Decl. (ECF No. 137) ¶ 12, Ex. CCC (18 C.F.R. § 385.212 (2012)). The
         Commission’s regulations regarding discovery, moreover, expressly state that the
         provisions apply “to discovery in proceedings set for hearing under subpart E of this
         part [i.e., ALJ hearing], and to such other proceedings as the Commission may order.”
         See D. Anas Opp. Decl. (ECF No. 142) ¶ 11, Ex. CC (18 C.F.R. § 385.401 (2012)
         (Applicability) (emphasis added)).

 PRDSAMF ¶ 7. The Court finds that, in large part, the Petitioner’s qualification adds unnecessary
 detail to the Respondents’ statement. However, the Court does find that the statement “although the
 2006 Policy Statement does not ‘require’ discovery, respondents to the show cause proceeding have the
 ability to request discovery via motion under the procedural rules . . .” should be included as it ensures
 the Respondents’ statement is not misleading. The Court declines to incorporate the remainder of the
 qualification.

                                                        69
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 70 of 94                       PageID #: 6179



 III.   POSITIONS OF THE PARTIES

        A.      The Respondents’ Motion for Summary Judgment

                1.      The Respondents’ Motion

        The Respondents contend that the statute of limitations that governs this suit,

 28 U.S.C. § 2462, prohibits government action concerning alleged wrongdoing that

 occurred more than five years before the government filed suit. Resp’ts’ Mot. at 1-2.

 According to the Respondents, “[b]ecause FERC filed suit in federal court more than

 five years after the alleged wrongdoing ended,” the instant action is time-barred. Id.

 In support, the Respondents rely on Gabelli v. SEC, 568 U.S. 442 (2013) and Kokesh

 v. SEC, 137 S. Ct. 1635 (2017). They further argue that FERC is incorrect in its

 argument that the First Circuit Court of Appeals decision in United States v. Meyer,

 808 F.2d 912 (1st Cir. 1987), controls here, because the Respondents did not receive

 an “adjudicatory administrative proceeding” in light of the lack of due process that

 FERC afforded them, which the Respondents describe in detail. Resp’ts’ Mot. at 2-7.

 To the extent this argument relies on facts, the Respondents submitted those facts in

 their accompanying Statement of Material Facts. (ECF No. 136).

        According      to   the    Respondents,      because      Congress     did    not   delegate

 administrative authority to a specific agent to administer the general federal statute

 of limitations, 28 U.S.C. § 2462, the Court owes no Chevron 130 deference to FERC,

 and the Supreme Court’s interpretation of the statute controls. Id. at 8. As such, in


 130    Chevron, U.S.A., Inc. v. Natural Resources Defense Council, Inc., 467 U.S. 837, 844 (1984) (“We
 have long recognized that considerable weight should be accorded to an executive department’s
 construction of a statutory scheme it is entrusted to administer, and the principle of deference to
 administrative interpretations”).

                                                      70
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 71 of 94         PageID #: 6180



 the Respondents’ view, the Supreme Court’s decision that the statute of limitations

 in § 2462 began to run when the alleged fraud was committed, not when it was

 discovered by the SEC, controls here. Similarly, the Respondents contend that the

 Supreme Court ruled in Kokesh that the SEC “could only seek disgorgement under

 Section 2462 for alleged fraud that occurred within five years of the date the claim

 accrued.” Id. (citing Kokesh, 137 S. Ct. at 1635). The Respondents note that the

 Supreme Court’s rulings in Gabelli and Kokesh are particularly applicable to the case

 at bar because “FERC’s market manipulation statute and . . . anti-manipulation rule

 were specifically patterned on Section 10(b) of the Securities Exchange Act, 15 U.S.C.

 § 78j(b), and SEC’s Rule 10b–5, 17 C.F.R. § 240.10b–5.” Id. at 9.

       The Respondents argue that Gabelli and Kokesh overruled Meyer, which the

 Respondents’ characterize as holding that “the government had five years under

 Section 2462 to commence an ‘adjudicative administrative proceeding’ . . . and then

 after that proceeding ended, the government had another five years under Section

 2462 to file suit in federal court to enforce the judgment awarded in the proceeding.”

 Id. at 9-10. The Respondents ask that the Court “agree with the Barclays court and

 conclude that Meyer is no longer good law in light of Gabelli.” Id. (citing FERC v.

 Barclays Bank PLC, 105 F. Supp. 3d 1121, 1131 (E.D. Cal. 2015) (Barclays I)).

       The Respondents further contend that even if Meyer has not been overruled,

 Meyer does not apply to this case because the “Defendants did not receive any of the

 hallmarks of an adjudicatory administrative proceeding, and FERC’s long wind-up

 should be considered as nothing more than a decision to bring suit against



                                              71
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 72 of 94            PageID #: 6181



 Defendants.” Id. at 10-11. The Respondents distinguish Meyer, noting that unlike in

 the instant case, the defendant in Meyer was afforded the protections of the

 Administrative Procedure Act, and the charges were heard by an administrative law

 judge, who issued a decision subject to appeal. Id. (citing Meyer, 808 F.2d at 913,

 919).    The Respondents argue that “courts have repeatedly held” that defendants

 who select Option 2 under 16 U.S.C. 823b(d)(3) “do not receive any meaningful

 process from FERC.” Id. at 12-13 (citing Powhatan, 2017 WL 6629093, at *12; FERC

 v. Barclays Bank PLC, 247 F. Supp. 3d 1118, 1121 n.7, 1129 (E.D. Cal. 2017)

 (Barclays II).

          According to the Respondents, several facts demonstrate the inadequate due

 process provided by FERC.          First, what is characterized by FERC as the

 “administrative record” did not contain the entire investigative file, but it did contain

 documents that had not been disclosed previously to the Respondents. Id. at 14.

 Second, the Respondents contend that FERC Enforcement engaged in ex parte

 communications concerning the Respondents with FERC Commissioners and their

 staff.    Id.   Third, the Respondents claim that “it does not appear that FERC

 Enforcement even read Defendants’ response to its allegations.” Id. at 15.

          The Respondents also allege that no additional factfinding must occur once a

 party elects to proceed under FERC’s Option 2, and that the decision to charge a party

 with a proposed penalty is conducted without a neutral arbiter. Id. at 16. The

 Respondents claim that they “did not receive any additional process after FERC

 issued the Orders to Show Cause.” Id. at 17. According to the Respondents, “. . . once



                                               72
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 73 of 94            PageID #: 6182



 a party elects Option 2, there is no requirement for FERC to conduct any proceeding,

 only for FERC to “promptly assess such penalty.” Id. (citing § 823b(3)(A)).         The

 Respondents contend that they were not afforded “an adversarial adjudication before

 a neutral decision-maker”, which they state is “the very hallmark of our system of

 prosecution of criminal and civil offenses.” Id. at 17-18 (citing FERC v. Barclays Bank

 PLC, No. 2:13-CV-02093-TLN-DB, 2017 WL 4340258 at *11, 2017 U.S. Dist. LEXIS

 161414, at *33 (E.D. Cal. Sept. 29, 2017) (Barclays III)). The Respondents conclude

 that the process provided by FERC amounted to a prosecutorial determination, not a

 proceeding. Id. at 19.

              2.     FERC’s Opposition

       FERC responds and asks the Court to deny the Respondents’ motion, arguing

 that under the First Circuit’s decision in Meyer, which controls, “the dispositive factor

 for determining whether an administrative assessment proceeding meets the

 requirements of 18 U.S.C. § 2462 is whether ‘assessment of administrative penalty is

 a statutory prerequisite to the bringing of an action judicially to enforce such

 penalty.’” Pl.’s Opp’n at 1 (citing Meyer, 808 F.2d at 922). According to FERC, it

 could only bring an action in district court seeking an order affirming the assessment

 of the civil penalty against the Respondents when they failed to pay; therefore, the

 case “falls squarely within Meyer and the requirements of § 2462.” Id. Finally, FERC

 argues that the Commission’s adjudication constituted a proceeding that met the first

 statute of limitations under Meyer. Id.

       FERC avers that Meyer “was not silently overruled” as the Respondents state,



                                               73
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 74 of 94             PageID #: 6183



 by Gabelli and Kokesh, and that Meyer remains “longstanding precedent in the First

 Circuit that represents the view of a majority of courts; only the Fifth Circuit has

 adopted a different approach.” Id. at 3-4 (citing SEC v. Mohn, 465 F.3d 647 (6th Cir.

 2006); United States v. Godbout-Bandal, 232 F.3d 637 (8th Cir. 2000); 3M Co. v.

 Browner, 17 F.3d 1453 (D.C. Cir. 1994); U. S. Dep’t of Labor v. Old Ben Coal Co., 676

 F.2d 259 (7th Cir. 1982); United States v. Worldwide Indus. Enters., Inc., 220 F. Supp.

 3d 335, 340 (E.D.N.Y. 2016)); United States v. Sacks, Case No. C10- 534RAJ, 2011

 WL 6883740 (W.D. Wash. Dec. 28, 2011); United States v. Great Am. Veal, Inc., 998

 F. Supp. 416 (D.N.J. 1998); Atl. States Legal Found. v. Al Tech Specialty Steel Corp.,

 635 F. Supp. 284 (N.D.N.Y. 1986); In re Donohoo, 243 B.R. 139 (Bankr. M.D. Fla.

 1999). FERC agrees that in Gabelli, the Supreme Court held that “the statute of

 limitations in Section 2462 began to run when the alleged fraud was committed, not

 when the Securities and Exchange Commission (SEC) discovered the fraud.” Id. at 4

 (citing Resp’t’s Mot. at 8-9). But FERC distinguishes Gabelli from Meyer because

 Gabelli “does not consider a statute requiring an agency to assess a penalty through

 an administrative process as a prerequisite to filing in district court . . . and fails to

 address Meyer at all.” Id. at 4. FERC also notes that “Judge Woodlock considered

 and squarely rejected their reliance on Gabelli . . . [because] the fraud discovery rule

 does not extend to SEC actions for civil penalties.” Id. (citing Silkman I, 177 F. Supp.

 3d at 699 (citing Gabelli, 568 U.S. 442 at 1219)).         FERC similarly rejects the

 contention that Kokesh supports the Respondents’ position, arguing that “[b]ecause

 there were no prior administrative proceedings at issue in Kokesh, the Court had no



                                                74
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 75 of 94             PageID #: 6184



 occasion to address the issue presented here and in Meyer regarding the applicability

 of the statute of limitations where an administrative proceeding is a condition

 precedent to filing suit in district court.” Id. (citing Kokesh, 137 S. Ct. at 1635).

       FERC disputes the Respondents’ argument that “the details of a particular

 adversarial agency proceeding” is “the key factor under Meyer and its progeny . . .”

 Id. at 7-8, instead contending that “ it is beyond dispute under the plain language of

 § 2462, FPA § 31(d), and the weight of case law, that the process leading to the

 assessment of such an order is a ‘proceeding’ under Meyer.” Id. at 8. FERC cites

 Worldwide Industrial Enterprises, Incorporated, 220 F. Supp. 3d 335, 344 (E.D.N.Y.

 2016) as “rejecting [the] claim that the nature of the administrative proceeding

 determines if § 2462 has been met” under Meyer. Id. at 9.

       FERC maintains that, under the Administrative Procedure Act — which

 defines “‘adjudication’ as ‘agency process for the formulation of an order” — the show

 cause proceeding “was an agency adjudication and not a mere decision to prosecute,”

 and does not violate due process principles, as the Respondents contend. Id. at 11-12

 (citing 5 U.S.C. §§ 551(12); 551(7)).          According to FERC, “[u]nder enduring

 administrative law principles, agency processes ending in an ‘order’ are both

 ‘adjudications’ and ‘proceedings.’”      Id.     Moreover, FERC contends that the

 “Respondents do not cite any case law in support of the proposition that these

 arguments are relevant to the statute of limitations issue.” Id. at 12 (citing Resp’ts’

 Mot. at 13-15).

       With respect to the contention that FERC did not provide due process, FERC



                                                 75
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 76 of 94          PageID #: 6185



 states that the Respondents were provided notice and an opportunity to be heard, as

 required by the FPA and its regulations. Id. at 12-14. FERC further avers that “due

 process does not require that Respondents receive a live hearing” and notes that the

 “Respondents would have received a live hearing before an ALJ had they allowed the

 show cause proceeding to proceed on the default path; they, however, affirmatively

 chose to waive that hearing in favor of a penalty assessment by the Commission.” Id.

 at 14.

          Finally, FERC argues that the Court should not follow FERC v. Barclays Bank

 PLC because:

          Barclays was not governed by Meyer, is inconsistent with the weight of
          case law, misstates the nature of the Commission’s penalty assessment
          proceedings, does not mention respondents’ right to challenge
          Enforcement staff’s allegations during such proceedings, misconstrues
          the cases on which it relies, denies the Commissioner’s role as neutral
          decision-makers, and was based on an incomplete record.”

 Id. at 15-16 (citing Barclays III).

                3.    Respondents’ Reply

          In reply, the Respondents argue that FERC’s reliance on Meyer is “misplaced”,

 reiterating its position that Meyer was founded in the fact that the defendant in that

 case received an adjudicatory administrative proceeding.      Resp’ts’ Reply at 1. The

 Respondents also highlight that “the Meyer court distinguished the prosecutorial

 determinations made by the FTC and CPSC, which were subject to the five-year

 limitation of 28 U.S.C. § 2462.” Id. at 2. The Respondents also dispute FERC’s

 contention that the SEC proceedings in Gabelli differ from the procedures in this

 case. Id.

                                               76
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 77 of 94             PageID #: 6186



       B.     FERC’s Motion for Partial Summary Judgment

              1.     FERC’s Motion

       FERC filed a separate motion for partial summary judgment on the statute of

 limitations issue. Although in different form, FERC advances several of the same

 arguments it did in response to the Respondents’ motion for summary judgment. See

 Pl.’s Mot at 1-3; Resp’ts’ Mot. In addition, FERC asks that its summary judgment be

 granted on two bases. FERC first contends that because the portion of the penalty

 assessed against the Respondents is based on disgorgement under its remedial

 authority, it is not subject to the statute of limitations under § 2462. Pl.’s Mot. at 17-

 18, n.90. Second, it argues that if the Court accepts the Respondents’ position on the

 statute of limitations, “then Respondents waived this defense by not raising it during

 the Commission’s adjudication.”      Id. at 2-3.    According to FERC, “Respondents’

 statute of limitations defense . . . ripened . . . during the Commission’s show cause

 proceeding, but Respondents failed to raise it at that time as they were required to

 by (a) the Commission’s regulations, (b) the Proposed Penalty Orders, and (c) case

 law.” Id. at 19-20. FERC further contends that “statutes of limitations, when sought

 to be applied against the government, are to be strictly construed in favor of the

 government.” Id. at 10 (citing Badaracco v. Comm’r of Internal Revenue, 464 U.S.

 386, 391 (1984); U.S. v. Commonwealth Energy Sys. and Subsidiary Cos., 235 F.3d

 11, 13-14 (1st Cir. 2000)).

              2.     Respondents’ Opposition

       The Respondents oppose FERC’s motion.            Resp’ts’ Opp’n at 1.    First, the



                                                77
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 78 of 94          PageID #: 6187



 Respondents disagree with the Petitioner’s contention that the statute of limitations

 does not apply in disgorgement actions. Id. They reiterate the arguments set forth

 in their motion for summary judgment, as well as the supporting case law. See

 Resp’ts’ Mot. The Respondents contend that “none of the cited regulations purported

 to provide Defendants with adjudicatory, show cause, administrative, contested, on-

 the-record, or adversarial proceedings. . .. Calling something an adjudicatory, show

 cause administrative, contested, on-the-record, or adversarial proceeding does not

 make it so.” Id. at 13-14. Finally, the Respondents argue that the Court does not

 have jurisdiction to order disgorgement, because FERC cites only dicta in support of

 their position. Id. at 16. Additionally, according to the Respondents, “FERC does not

 cite any authority that this Court has subject matter jurisdiction to order

 disgorgement. In its petition, FERC does not cite 16 U.S.C. § 823h at all, and only

 claims subject matter jurisdiction under 16 U.S.C. § 823b(d)(3)(B),” which does not

 reference disgorgement. Id. (citing FERC Pet. ¶ 16).

              3.     FERC’s Reply

       FERC filed a reply to the Respondents’ opposition, reiterating its previous

 argument that Meyer controls, and refuting the Respondents’ claim that its

 administrative action violated due process. See generally Pl’s Reply at 1-7.

 IV.   LEGAL STANDARD

       Summary judgment is appropriate “if the movant shows that there is no

 genuine dispute as to any material fact and the movant is entitled to judgment as a

 matter of law.” FED. R. CIV. P. 56(a). A fact is “material” if it “has the potential to



                                              78
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 79 of 94             PageID #: 6188



 change the outcome of the suit.” Tropigas de Puerto Rico, Inc. v. Certain Underwriters

 at Lloyd’s of London, 637 F.3d 53, 56 (1st Cir. 2011) (quoting Borges ex rel. S.M.B.W.

 v. Serrano-Isern, 605 F.3d 1, 5 (1st Cir. 2010)). A dispute is “genuine” if “a reasonable

 jury could resolve the point in favor of the nonmoving party.” Id. (quoting McCarthy

 v. Nw. Airlines, Inc., 56 F.3d 313, 315 (1st Cir. 1995)).

       Once this evidence is supplied by the moving party, the nonmovant must

 “produce ‘specific facts, in suitable evidentiary form, to . . . establish the presence of

 a trialworthy issue.’” Triangle Trading Co., Inc. v. Robroy Indus., Inc., 200 F.3d 1, 2

 (1st Cir. 1999) (quoting Morris v. Gov’t Dev. Bank of P.R., 27 F.3d 746, 748 (1st Cir.

 1994)).   In other words, the nonmoving party must “present ‘enough competent

 evidence’ to enable a factfinder to decide in its favor on the disputed claims.” Carroll

 v. Xerox Corp., 294 F.3d 231, 237 (1st Cir. 2002) (quoting Goldman v. First Nat’l Bank

 of Bos., 985 F.2d 1113, 1116 (1st Cir. 1993)). The Court then “views the facts and

 draws all reasonable inferences in favor of the nonmoving party.”            Ophthalmic

 Surgeons, Ltd. v. Paychex, Inc., 632 F.3d 31, 35 (1st Cir. 2011). However, the Court

 “afford[s] no evidentiary weight to ‘conclusory allegations, empty rhetoric,

 unsupported speculation, or evidence which, in the aggregate, is less than

 significantly probative.’” Tropigas, 637 F.3d at 56 (quoting Rogan v. City of Boston,

 267 F.3d 24, 27 (1st Cir. 2001)); accord Sutliffe v. Epping Sch. Dist., 584 F.3d 314,

 325 (1st Cir. 2009).

       Where, as here, the parties have filed cross-motions for summary judgment,

 the court must evaluate each motion independently and “determine whether either



                                                79
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 80 of 94            PageID #: 6189



 of the parties deserves judgment as a matter of law on facts that are not disputed.”

 Matusevich v. Middlesex Mut. Assurance Co., 782 F.3d 56, 59 (1st Cir. 2015) (citing

 Barnes v. Fleet Nat'l Bank, N.A., 370 F.3d 164, 170 (1st Cir. 2004)). As such, for cross-

 motions for summary judgment, the standard of review is applied to each motion

 separately. Gardner, 759 F. Supp. 2d at 221. The presence of cross-motions for

 summary judgment “neither dilutes nor distorts” the summary judgment standard.

 Mandel v. Bos. Phoenix, Inc., 456 F.3d 198, 205 (1st Cir. 2006).

 V.    DISCUSSION

       There are two threshold issues. First, FERC asserts that the Respondents

 waived their statute of limitations defense, contending that the Respondents should

 have raised this defense by February 2013, six months before the Commission issued

 its August 29, 2013 Assessment Orders. Pl.’s Mot. at 19-20; Pl.’s Reply at 6. Judge

 Woodlock squarely addressed this issue in his April 11, 2016 order on the motion to

 dismiss. Silkman I, 177 F. Supp. 3d at 697. Judge Woodlock wrote:

       FERC’s theory produces an absurd result; it would require that a statute
       of limitations defense be raised before it had ripened. Fortunately,
       FERC’s procedural rules avoid such an absurdity by requiring only that
       a Respondent set forth the defenses relied upon “to the extent
       practicable.” 18 C.F.R. § 385.213(c)(2). Requiring a Respondent to
       anticipate and raise defenses that might only have merit at some future
       date and which are dependent upon various contingencies — some of
       which are controlled by the agency itself — is not “practicable.”
       Respondents were not required to raise their statute of limitations
       defense during the administrative proceeding, in advance of the
       expiration of the statute of limitations, in order to now raise the issue.

 Id. The Court agrees with Judge Woodlock and concludes that the Respondents did

 not waive their statute of limitations defense by failing to raise it during the FERC



                                               80
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 81 of 94            PageID #: 6190



 proceeding.

       Second, in response to FERC’s contention that the portion of the penalty

 assessed against the Respondents based on disgorgement falls under its remedial

 authority, and therefore is not subject to the statute of limitations under § 2462, Pl.’s

 Mot. at 17-18, n.90, the Respondents contend that “FERC does not cite any authority

 that this Court has subject matter jurisdiction to order disgorgement.” Resp’ts’ Mot.

 at 16. The Supreme Court in Kokesh held that “SEC disgorgement constitutes a

 penalty within the meaning of § 2462,” based on the fact that “SEC disgorgement is

 imposed by the courts as a consequence for violating public laws” and “for punitive

 purposes” and is “often not compensatory.” 137 S. Ct. 1635, 1643 (2017). The Court

 concludes that the Kokesh holding with regard to SEC penalties applies with equal

 force to FERC penalties. As such, the entire penalties assessed by FERC, including

 disgorgement, are subject to the statute of limitations under § 2462.

       The myriad factual and legal disputes among the parties boil down to one issue:

 whether the five-year statute of limitations for the enforcement of civil penalties, 28

 U.S.C. § 2462, as applied to the civil penalties FERC assessed against the

 Respondents, accrued at the time the Respondents committed the alleged violation or

 at the time FERC assessed the penalty. This issue hinges upon whether the First

 Circuit’s decision in Meyer is superseded or, in the alternative, distinguishable, as the

 Respondents contend.

       A.      Preliminary Discussion

               1.    Statutory Language of 16 U.S.C. § 823b(d)



                                               81
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 82 of 94           PageID #: 6191



       FERC is authorized to assess civil penalties for violations of the FPA “after

 notice and an opportunity for public hearing.” 16 U.S.C. § 823b(c). Before FERC may

 issue “an order assessing a civil penalty against any person,” the FPA requires the

 Commission to “inform such person of his opportunity to elect” one of two procedural

 paths. Id. § 823b(d)(1). The default option (Option 1) is set forth in § 823b(d)(2).

 Under Option 1, an adjudication is required before FERC assesses a penalty:

       [The Commission] shall assess the penalty, by order, after a
       determination of violation has been made on the record after an
       opportunity for an agency hearing ... before an administrative law judge
       . . .. Such assessment order shall include the administrative law judge's
       findings and the basis for such assessment. Any person against whom a
       penalty is assessed under this paragraph may ... institute an action in
       the United States court of appeals for the appropriate judicial circuit for
       judicial review of such order . . .. The court shall have jurisdiction to
       enter a judgment affirming, modifying, or setting aside in whole or in
       [p]art, the order of [the Commission], or the court may remand the
       proceeding to [the Commission] for such further action as the court may
       direct.

 Id. § 823b(d)(2)(A)–(B).

       Here, the Respondents chose to proceed under § 823b(d)(3) (Option 2). Under

 Option 2:

       [The Commission] shall promptly assess such penalty, by order[.] . . . If
       the civil penalty has not been paid within 60 calendar days . . . [the
       Commission] shall institute an action in the appropriate district court
       of the United States for an order affirming the assessment of the civil
       penalty. The court shall have authority to review de novo the law and
       the facts involved, and shall have jurisdiction to enter a judgment
       enforcing, modifying, and enforcing as so modified, or setting aside in
       whole or in [p]art such assessment.

 Id. § 823b(d)(3)(A)–(B). As noted by the Court in its Order Regarding Procedures

 Applicable to Petition for Order Affirming Assessment of Civil Penalties (ECF No.



                                              82
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 83 of 94             PageID #: 6192



 95), § 823b(d)(3) “does not dictate the procedures the Commission should use to assess

 the civil penalties.” Silkman, 233 F. Supp. 3d at 219. “The only statutory directive

 is promptness.” Id. “There is nothing in the language of the statute that requires the

 Commission to provide the targeted parties any procedural protections, such as

 access to discovery, a hearing, or the ability to confront evidence.” Id.

              2.     The Statutory Period under 28 U.S.C. § 2462

       The parties agree that as FERC has not prescribed a time limit within which

 an administrative claim to impose a civil penalty or an action to enforce such a

 penalty; therefore, the general statute of limitations under § 2462 applies. Section

 2462 states that “an action, suit, or proceeding for the enforcement of any civil fine,

 penalty, or forfeiture, pecuniary or otherwise, shall not be entertained unless

 commenced within five years from the date when the claim first accrued.” The correct

 interpretation of the phrase “when the claim first accrued” is disputed by the parties.

 The Court turns to relevant caselaw.

              3.     United States v. Meyer

       In Meyer, the First Circuit addressed when the statute of limitations under §

 2462 accrues. Meyer arose under circumstances similar to the instant case: the

 United States Department of Commerce charged Robert Meyer with “furnishing

 boycott information to Saudi Arabia on three separate occasions . . . and failing to

 report receipt of a request for boycott-related information to the United States

 Department of Commerce. . ..” in violation of regulations under the Export

 Administration Act (EAA). 808 F.2d at 913. On July 21, 1981, the Department of



                                               83
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 84 of 94           PageID #: 6193



 Commerce “initiated administrative enforcement proceedings against Meyer by

 issuing a ‘charging letter’ pursuant to 15 C.F.R. § 388.4(a).” Id. On July 22, the

 administrative law judge assigned to the matter issued an initial decision, finding

 that Mr. Meyer violated the regulations and imposing a civil penalty of $5,000. Id.

 When Mr. Meyer refused to pay the sanctions, “on December 31, 1985—more than

 five years after the infractions themselves occurred, but within five years of the

 assessment of the penalty—the Department brought an enforcement suit in the

 United States District Court for the District of Massachusetts. Id. The district court

 relied on the Fifth Circuit’s opinion in United States v. Core Laboratories, Inc., 759

 F.2d 480 (5th Cir. 1985), in dismissing the action as time-barred under 28 U.S.C. §

 2462. Id. The First Circuit reversed, holding that “§ 2462 affords an additional five-

 year period following final administrative assessment of a civil penalty during which

 the government may sue to enforce the action.” Id. at 914.

       In reaching its decision, the First Circuit first analyzed the plain language of

 the statute. It stated that “the standard definition of the concept of accrual is to the

 effect that ‘[a] cause of action “accrues” when a suit may be maintained thereon.’”

 Id. According the Meyer Court, the language of the statute requires that the

 government “refrain from initiating a civil suit until the appropriate administrative

 authority has imposed a sanction which the respondent has thereafter refused to

 satisfy.” Id. In other words, the claim for the enforcement of a civil penalty cannot

 accrue until the civil penalty has assessed. Id. (“In the case at bar, it is abundantly

 clear that no suit to recover a civil penalty can be mounted under the EAA unless



                                               84
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 85 of 94          PageID #: 6194



 and until the penalty has first been assessed administratively”). The First Circuit

 disagreed with the Fifth Circuit’s approach, which relied heavily on interpretation

 of the Legislature’s intent behind the statute. Id. at 915 (“Where, as here, the

 language of a statute seems clear and unambiguous, courts should be extremely

 hesitant to search for ways to interpose their own notions of Congress’s intent”)

 (citing Yates v. United States, 354 U.S. 298, 305 (1957), Browder v. United States,

 312 U.S. 335, 338 (1941)).

       The Meyer Court also reviewed caselaw “which produces abundant support

 for such a commonsense construction of 28 U.S.C. § 2462,” noting:

       Outside of the Fifth Circuit, no court has ever held that, in a case where
       an antecedent administrative judgment is a statutory prerequisite to the
       maintenance of a civil enforcement action, the limitations period on a
       recovery suit runs from the date of the underlying violation as opposed
       to the date on which the penalty was administratively imposed.

 Id. at 916. The First Circuit quoted Lins v. United States, 688 F.2d 784, 786 (Ct. Cl.

 1982) as stating that “if disputes are subject to mandatory administrative

 proceedings [before judicial action may be taken], then the claim does not accrue until

 their conclusion.” Id. The First Circuit also examined Crown Coat Front Company

 v. United States, 386 U.S. 503 (1967), in which the Supreme Court held that the right

 to resort to the courts in a similar statutory scheme occurred “only upon the making

 of that administrative determination.” Id. at 916-17 (discussing Crown Coat Front,

 386 U.S. at 511-12).    Under this rationale, the First Circuit observed that the

 Supreme Court held that the plaintiff’s action in the courts was not time-barred

 under the relevant statute of limitations despite that the action was brought “more



                                              85
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 86 of 94           PageID #: 6195



 than six years after the occurrence of the events underlying his contract claim, but

 less than six years from the issuance of a final administrative decision on that claim.”

 Id. at 917.

       The Meyer Court also considered the “golden rule of statutory interpretation

 that ‘legislation should be interpreted to avoid . . . unreasonable results whenever

 possible’” to support its holding. Id. at 919 (citing Am. Tobacco Co. v. Patterson, 456

 U.S. 63, 71 (1982)). “The concern that 28 U.S.C § 2462 could pluck an enforcement

 suit from the vine before it had even ripened enough to be brought is by no means

 theoretical.” Id. The First Circuit observed that following the Department’s issuance

 of a charging letter, “the timing of the case is largely beyond the Department’s

 control” due to the requirements of the Administrative Procedure Act and its

 regulations “designed to ensure procedural fairness,” as well as the respondents’ right

 to appeal. Id.

       The First Circuit distinguished other cases relied on by the Fifth Circuit in

 light of fundamental procedural differences. Most of the cases the Fifth Circuit cited

 did not involve “the necessity for allowing an administrative proceeding to run its

 course as a precondition to the commencement of the suit.” Id. at 920. Another group

 of cases the Fifth Circuit cited in Core “involved situations where prosecutorial

 determinations, rather than adjudicatory administrative proceedings, constituted the

 precondition to the suit.” Id. (citing United States v. Athlone Induss., Inc., 746 F.2d

 977 (3d Cir. 1984); United States v. Advance Mach. Co., 547 F. Supp. 1085 (D. Minn.

 1982); F.T.C. v. Lukens Steel Co., 454 F. Supp. 1182 (D. D. C. 1978)). The Meyer Court



                                               86
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 87 of 94            PageID #: 6196



 distinguished these cases that concerned decisions to bring suit, reasoning that

 because they fall entirely within the control of the government, if the statute of

 limitations were to run, the government agency “would only have its own indecision

 to blame.” Id.

              4.     Gabelli v. SEC and Kokesh v. SEC


       The Respondents contend that the United States Supreme Court’s decisions in

 Gabelli and Kokesh overruled Meyer.        In Respondents’ view, under the Gabelli

 interpretation of § 2462, the claims accrued at the time of the violation. Resp’t’s Mot.

 at 8. The statute of limitations governing the action in Gabelli, as in this case, is the

 general statute of limitations that governs many penalty provisions throughout the

 U.S. Code, 28 U.S.C. § 2462. 568 U.S. at 444. The SEC sought civil penalties against

 the petitioners in an action in district court, and the petitioners moved to dismiss,

 arguing that the action was time-barred under § 2462. Id. at 446. The district court

 dismissed the claim. Id. at 446-47. The Second Circuit reversed under the SEC’s

 argument that “because the underlying violations sounded in fraud, the ‘discovery

 rule’ applied, meaning that the statute of limitations did not begin to run until the

 SEC discovered or reasonably could have discovered the fraud.” Id. at 447. The

 Supreme Court granted certiorari and reversed the Second Circuit, holding that “the

 fraud discovery rule has not been extended to Government enforcement actions for

 civil penalties.” Id. In Kokesh, the Supreme Court cited Gabelli as support for the

 proposition that “the 5-year statute of limitations set forth in 28 U.S.C. § 2462 applies

 when the [S.E.C.] seeks monetary penalties.” 137 S. Ct. at 1640. The Kokesh Court


                                               87
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 88 of 94           PageID #: 6197



 held that § 2462 applies to claims for disgorgement in an SEC enforcement action,

 and “any claim for disgorgement . . . must be commenced within five years of the date

 the claim accrued.” Id. at 1645.

        B.     Analysis

        The Respondents first contend that Meyer is no longer good law following the

 Supreme Court’s decisions in Gabelli and Kokesh. The Court disagrees.

        “As a general proposition, an argument that the Supreme Court has implicitly

 overruled one of its earlier decisions is suspect.” United States v. Symonevich, 688

 F.3d 12, 20 (1st Cir. 2012) (citing Agostini v. Felton, 521 U.S. 203, 237 (1997) (“We do

 not acknowledge, and we do not hold, that other courts should conclude our more

 recent cases have, by implication, overruled an earlier precedent. . ..”)). Furthermore,

 “[u]ntil a court of appeals revokes a binding precedent, a district court within the

 circuit is hard put to ignore that precedent unless it has unmistakably been cast into

 disrepute by supervening authority.” Eulitt ex rel. Eulitt v. Maine, Dep't of Educ.,

 386 F.3d 344, 349 (1st Cir. 2004) (citing Sarzen v. Gaughan, 489 F.2d 1076, 1082 (1st

 Cir. 1973) (“When a . . . federal court has spoken, stability and stare decisis require

 that litigants and other courts take its pronouncement at face value until formally

 altered”)).

        The issue in Meyer — whether the claim accrues at the time of the violation,

 or at the time a claim is brought to enforce a penalty order — was not at issue in

 Gabelli or Kokesh. As stated by Judge Woodlock in his order on the Respondents’

 motion to dismiss, “Gabelli did not concern a case in which administrative



                                               88
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 89 of 94           PageID #: 6198



 proceedings preceded an action in federal court; there, the SEC sued directly in

 court.” Silkman I, 177 F. Supp. 3d at 699. The issue in Gabelli—whether the

 discovery rule in fraud actions extends to government enforcement proceedings—is

 also unrelated to the issue decided in Meyer. Furthermore, “Meyer sits on one side of

 a circuit split, yet the Gabelli court did not purport to address or resolve that split.

 Nothing in Gabelli suggests that it is inconsistent or incompatible with Meyer.” Id.

 at 700 n.9 (internal citation omitted).

       For a district court faced with prior circuit authority to change course, the law

 requires that circuit court precedent be “formally altered”, Eulitt, 386 F.3d at 349, or

 “unmistakably . . . cast into disrepute by supervening authority.” Sarzen, 489 F.2d at

 1082. As the Supreme Court’s decisions in Gabelli and Kokesh address different

 issues regarding the application of § 2462 and the First Circuit has not formally

 altered Meyer, the Court disagrees with the Respondents’ contention that either

 Gabelli and Kokesh superseded Meyer. Libertarian Party of N.H. v. Gardner, 843

 F.3d 20, 32-33 (1st Cir. 2016) (“When a . . . federal court has spoken, stability and

 stare decisis require that litigants and other courts take its pronouncement at face

 value until formally altered”) (quoting Sarzen, 489 F.2d at 1082).

       The second argument the Respondents have championed is that even if Meyer

 is still good law, it is distinguishable because the process FERC afforded amounted

 to a decision to prosecute, in contrast to the adjudicatory administrative proceeding

 the FEC afforded the defendants in Meyer, and therefore the FERC process fell

 outside the scope of Meyer’s holding regarding § 2462. Meyer states that “where



                                               89
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 90 of 94             PageID #: 6199



 prosecutorial determinations, rather than adjudicatory administrative proceedings,

 constituted the precondition to suit . . . the limitations period . . . runs from the time

 of the underlying violation rather than from the government’s decision to prosecute

 the charge.” 808 F.2d at 920. The First Circuit notes that for the EAA administrative

 proceedings at issue in Meyer, a prosecutorial determination would be more akin to

 “the Department’s initial issuance of a charging letter” than to “the imposition of a

 statutory penalty by an ALJ after notice, discovery, and hearing.” Id.

       In support of their contention that FERC provided only a prosecutorial

 determination, the Respondents rely on Barclays III from the District Court for the

 Eastern District of California, which commented in an order for judgment on the

 pleadings that the same FERC process constituted a prosecutorial determination

 rather than an adjudicatory administrative proceeding.          Barclays III, 2017 WL

 4340258, at *15. On this basis, the Barclays III Court concluded that FERC’s action

 to enforce six years after the violation occurred was time-barred. Id. at *13. The

 Barclays III Court, in determining whether § 2462 applied to an administrative

 proceeding, looked to caselaw to assess whether FERC held a proceeding, within the

 meaning of § 2462. Id. at 10-12. Relying on 3M Co. (Minnesota Min. & Mfg.) v.

 Browner, 17 F.3d 1453 (D.C. Cir. 1994) and Marshall v. Jerrico, Inc., 446 U.S. 238,

 242 (1980), the district court considered factors such as whether a neutral adjudicator

 was provided and whether the proceeding was adversarial in nature in its

 determination that FERC’s Administrative Penalty Assessment Process did not

 constitute a proceeding, but rather a decision to prosecute. Barclays III, 2017 WL



                                                90
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 91 of 94                         PageID #: 6200



 4340258, at *11-14.

         As a district court within the Ninth Circuit, the Barclays III Court was not

 bound, as this Court is, by First Circuit precedent. Nor did the Barclays III Court

 rely upon caselaw binding in this circuit in making its determination. 131 By contrast,

 this Court must rely on the First Circuit’s teaching in Meyer to decide this issue.

 Although Meyer concerned the enforcement of the Department of Commerce’s

 administrative action aimed at imposing a civil penalty under the EAA, as opposed

 to FERC’s enforcement action for an administrative penalty at issue here, its analysis

 of the applicability of § 2462 governs.

         The Meyer Court’s holding that “§ 2462 affords an additional five year period

 following final administrative assessment of a civil penalty during which the

 government may sue to enforce the action”, 808 F. 2d at 914, is based on four key

 factors: (1) the clear and unambiguous language of the statute, (2) the balance of the

 caselaw, (3) the goal of avoiding a “self-abnegating result,” and (4), the primary

 legislative purpose of enacting statutes of limitations: to ensure fairness to

 defendants. See generally Meyer, 808 F.2d at 912. The First Circuit’s comparison of

 the “mandatory administrative adjudication” at issue in Meyer with the

 “prosecutorial decisionmaking” in Athlone Industries, 746 F.2d 997, Advance



 131     The Barclays III Court relies on the Supreme Court’s statement in Marshall v. Jerrico that
 “[t]he Due Process Clause entitles a person to an impartial and disinterested tribunal in both civil and
 criminal cases,” 446 U.S. at 242, in support of its conclusion that a neutral decision-maker is required
 for the Administrative Penalty Assessment Process to constitute a proceeding. Marshall does not
 involve the definition of “proceeding” as applied to § 2462 but addressed “whether the statutory
 provision requiring that penalties be paid to the agency ‘violates the Due Process Clause of the Fifth
 Amendment by creating an impermissible risk of bias in the Act’s enforcement and administration.,’”
 Id. (quoting Marshall, 446 U.S. at 239).

                                                       91
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 92 of 94                     PageID #: 6201



 Machine, 547 F. Supp. 1085, Ancorp, 516 F.2d 198, and Lukens Steel, 454 F. Supp.

 1182, was not meant to carve out an exclusion to its holding, but to distinguish Meyer

 from several of the cases the Fifth Circuit had relied upon in Core, based on the

 differences in the types of proceeding they govern. Meyer 808 F.2d at 920. As noted

 in Worldwide, “[b]ecause such administrative decisions ‘are not in any sense

 adjudicative . . . [but] comprise nothing more or less than decisions to bring suit,’ they

 differ[] markedly from the EAA's process for imposing a sanction and thus [are] of

 little value on the statute of limitations question.” 220 F. Supp. 3d at 342 (quoting

 Meyer, 808 F.2d at 920).          Under this interpretation of Meyer, the Court finds

 unpersuasive the Respondents’ effort to distinguish Meyer from this case based on

 the alleged procedural inadequacies they suffered.

        However, even taking as true the Respondents’ view that the dispositive issue

 in Meyer was the nature of the proceeding afforded to the defendants and viewing the

 facts in the light most favorable to the Respondents, the Court finds FERC’s

 proceeding closer to the adjudication in Meyer than to a prosecutorial determination

 or charging letter. 132 The Respondents stress that the procedural safeguards the



 132     The Respondents repeatedly compare the FERC procedure leading to an order assessing
 penalties to a prosecutor’s decision leading to a criminal charge, a position the Barclay Court may
 accept. See Barclay III, 2017 U.S. Dist. LEXIS 161414, at *35 (“The Administrative Penalty
 Assessment Process is tantamount to a decision to prosecute rather than a ‘prosecution’”). From the
 Court’s perspective, whether to criminally charge or indict someone is markedly dissimilar to the
 FERC process. For example, a grand jury proceeding, unlike a FERC proceeding, is secret, see United
 States v. Johnson, 319 U.S. 503, 513 (1943), and individuals who violate the secrecy of a grand jury
 may be subject to criminal prosecution under 18 U.S.C. § 1503. See In re Grand Jury Proceedings, 814
 F.2d 61, 70 (1st Cir. 1987). Whatever limitations the FERC procedure imposes on individuals like Dr.
 Silkman and entities like CES, the FERC process is a different order of magnitude from the process
 leading to a grand jury indictment or prosecutorial complaint. Leaving the substantive merits of the
 Respondents’ claims aside about the level of due process FERC should have accorded them, the Court
 found the Respondents’ analogy to criminal prosecution distracting and unhelpful. As with many

                                                     92
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 93 of 94                       PageID #: 6202



 FERC proceeding offered them did not include full discovery or a live hearing before

 an administrative law judge. 133 But this does not transform the FERC proceeding

 into a discretionary decision to prosecute. In Silkman I, Judge Woodlock addressed

 this same issue and observed that “[e]ven if the FERC proceeding contained “less

 formal and . . . fewer of the procedural protections than some adjudications under the

 APA — or even the adjudication in Meyer — . . . it was significantly more than a

 prosecutorial determination.” Silkman I, 177 F. Supp. 3d at 700. Judge Woodlock

 concluded the following in an earlier order in this case, and the Respondents

 presented no facts to the contrary on summary judgment:

        The Commission made extensive findings of facts and applied the law to
        those facts. It did not merely suggest penalties to be sought later; it
        ordered Respondents to pay those penalties to the United States
        Treasury. . . FERC did more than decide to bring suit. It conducted an
        adjudication.

 Id. In sum, the Court concludes that pursuant to the First Circuit’s holding in Meyer,

 the claim in this case accrued when FERC brought an action in court to enforce the

 penalties it assessed against the Respondents; therefore, FERC’s enforcement action

 is not time-barred.

 VI.    CONCLUSION

        The Court DENIES Respondents’ Motion for Summary Judgment (ECF No.



 analogies, the legitimacy of the point is lost in significant differences between the case at hand and
 the purported example.
 133     The Respondents themselves have written that “irony is no stranger to the law.” DRSAMF ¶
 2. Here, the fewer procedural protections, in part, were by choice of the Respondents, who opted out
 of FERC’s default procedure for the assessment of penalties, which provides “an opportunity for an
 agency hearing before an administrative law judge,” in favor of a prompt assessment of penalty with
 the opportunity for de novo review of the law and facts involved in FERC’s assessment by the district
 court. 16 U.S.C. §§ 823b(d)(2)(A)–(B), 823b(d)(3).

                                                      93
Case 1:16-cv-00205-JAW Document 155 Filed 01/04/19 Page 94 of 94   PageID #: 6203



 133) and GRANTS the Defendants’ Partial Motion for Summary Judgment (ECF No.

 134).

         SO ORDERED.


                                        /s/ John A. Woodcock, Jr.
                                        JOHN A. WOODCOCK, JR.
                                        UNITED STATES DISTRICT JUDGE

         Dated this 4th day of January, 2019




                                               94
